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                            UNITED ST APTES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.
      SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,

      V.

      RISH! KAPOOR; et al


                              Defendants.
      - - - - - - - - - - - - -I



      Emergency Ex Parte Motion for Asset Freeze and Other
             Relief Against Defendant Rishi Kapoor




                            EXHIBIT 6
                        Declaration of Eduardo Muller
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                                DECLARATION OF EDUARDO MULLER

       Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

       l.     My name is Eduardo Muller. I am over the age of twenty-one (21) and I have personal
              knowledge of the matters set forth herein.

       2.     I am a resident of Florida and at all relevant times resided in Miami-Dade County, FL.

       3.     I am a manager ofVieden Grove Oz, LLC ("VG"), a Delaware limited liability company
              formed in February 2022 with its principal place of business in Coral Gables, Florida.
              VG was formed for the sole purpose of investing in URBIN Coconut Grove Partners,
              LLC ("URBIN Grove"), a real estate investment opportunity in Coconut Grove, Florida.
              VG is owned by myself and two other family members.

       4.     URBIN Grove is managed by URBIN, LLC ( 'URBIN''), a Florida limited liability
              company that was managed by Rishi Kapoor until approximately August 14, 2023. The
              purpose ofURBIN Grove includes, among other things, acquiring, developing, leasing,
              and selling certain real property on Commodore Plaza in Coconut Grove, Florida.

       5.     I was introduced to Kapoor in late 2021 by a friend who was the largest investor in
              URBIN Grove at the time. As a result of that introduction, Kapoor pitched to me the
              opportunity to invest in the URBIN Grove project. Kapoor represented he was looking
              for investors to invest along with him. He stated he owned approximately one-third of
              URBIN Grove and was looking for investors to invest in the equity part of the project.
              Kapoor stated he had already acquired three properties for the project and was looking to
              develop the three properties into: (1) a work site consisting of co-working space with
              ground floor retail; (2) a live site consisting of co-living and extended stay operations;
              and (3) a live site consisting of a ground floor retail operation with co-living and
              extended stay operations on the remaining floors. Kapoor stated the investment had tax
              advantages as an opportunity zone investment. He also represented the URBIN Grove
              project would take two to three years to complete. Kapoor represented to me he already
              had permits for construction of the URBIN Grove project. Kapoor also represented he
              had construction financing with a company called Trez Capital that would close after
              receipt of the capital he was trying to raise at that time. Kapoor emphasized he needed to
              get all of the investment capital up front so as not to delay the closing of the construction
              financing.

       6.     Kapoor, URBIN, and URBIN Grove provided me with several documents concerning the
              investment opportunity. I received and reviewed the URBIN Grove Operating
              Agreement and budget, some general presentations as well as the Sponsor Resume for
              Location Ventures. Don' t recall receiving the Offering Memorandum for URBIN Grove.
              True and correct copies of the URBIN Grove Operating Agreement and budget, and
              Sponsor Resume for Location Ventures are attached as Exhibits A, B, and C,
              respectively. URBIN, URBIN Grove, and Kapoor represented in the URBIN Grove
              Operating Agreement, among other things, that URBIN Grove investor approval was
                                                                   EXHIBIT

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              required for all "Major Decisions," which includes decisions to borrow money or to enter
              into any financing for URBIN Grove. URBIN, URBIN Grove, and Kapoor also
              represented in the URBIN Grove Operating Agreement that URBIN would provide the
              Members with an. internal financial report at specified periods.

       7.     After reviewing the documents Kapoor, URBIN, and URBIN Grove provided and based
              on Kapoor's representations, VG decided to participate in the capital raise, electing to
              invest $1.1 million in URBIN Grove. In exchange, VG received I, 100,000 Membership
              Units in URBIN Grove, which equated to a 9.167% ownership interest in ORBIN Grove.
              VG decided to invest in the URBIN Grove project based on Kapoor's representations
              concerning the opportunity zone tax benefits associated with the investment, the location
              of the project, the voting rights investors had with respect to "Major Decisions," the
              promise to provide periodic financial reports for the project, and the estimated two to
              three year schedule to complete the project.

       8.     Shortly after investing, I concluded a number ofKapoor' s representations made were
              false. For example, after VG invested, Kapoor stated the construction financing could
              not close until he obtained all of the permits and that he was using his contacts to secure
              the necessary permits for the URBIN Grove development. I also soon learned the
              promise to provide timely periodic financial reports was false when Kapoor and URBIN
              did not provide the internal financial reports as promised. This occurred on multiple
              occaSions.

       9.     I subsequently also learned Kapoor had entered into debt or financing arrangements
              resulting in URBIN Grove incurring significant new debt, all of which was done without
              getting URBIN Grove member approval. Kapoor and URBIN did not disclose to me or
              VG that Kapoor was using the proceeds ofthis debt to partially buy out an investor in
              Location Ventures, LLC ("Location Ventures"), and who had not invested in URBIN or
              in URBIN Grove.

       10.    I am concerned about VG' s investment and the status of the URBIN Grove project. I
              understand Kapoor is no longer serving as Manager of ORBIN or the URBIN Grove
              project, but I have not been included in the decisions leading up to and following
              Kapoor' s removal. At no time has anyone from Location Ventures or URBIN contacted
              me concerning Kapoor' s removal as manager of Location Ventures or URBIN, and
              whether it impacts VG ' s URBIN Grove investment. Nor has anyone contacted me
              concerning the status of and plans for the URBIN Grove project going forward or how
              GV' s investment could be impacted.

               I declare under the penalty of perjury that the foregoing is true, correc , and   ade in good
       faith. Executed on this 9 day of0cober2023.                      )

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                             AMENDED AND RESTATED OPERA TING AGREEMENT
                                OF URBIN COCONUT GROVE PARTNERS, LLC

               This Operating Agreement (this "Agreement") is the operating agreement of URBIN
       Coconut Grove Partners LLC, a Florida limited liability company ("the Company"), effective as
       of January 1, 2022 (the "Effective Date"), and is made by and among the Company, URBIN,
       LLC, a Florida limited liability company (the "Sponsor"), and those other members identified on
       Exhibit A (each a "Non-Voting Member" and collectively with the Sponsor, the "Members").
       The Members ' addresses are set forth in Exhibit A. Capitalized terms used in this Agreement and
       not elsewhere defined shall have the meanings set forth in Exhibit B, the provisions of which are
       incorporated herein by reference.

                                                   R EC I TALS

              A.     The Company was organized as a limited liability company under Florida law on
       or about August 16, 2018 , in accordance with the Act;

               B.    The Members have entered into this Agreement for the purpose of memorializing
       their agreements regarding the management, operation and governance of the Company; and

                C.     The Company is intended to constitute a "qualified opportunity zone business"
       ("OOZB") pursuant to Section l400Z-2(d)(3) of the Code, and the interest of any Member that is
       itself a "qualified opportunity fund" pursuant to Section 1400Z-2(d) of the Code (a "OOF") is
       intended to constitute a "qualified opportunity zone partnership interest" ("OOZPI") under
       Section l 400Z-2(d)(2)(C) of the Code;.

               NOW, THEREFORE, in consideration of the covenants set forth below, and intending to
       be legally bound, the parties agree that this Agreement shall be the sole and exclusive "operating
       agreement" of the Company for purposes of the Act, and shall revoke and replace any previously
       existing agreement between the Members, oral or written.

                                                 ARTICLE 1
                                            FORMATION OF COMPANY

                1.1    Recitals. The recitals set forth above are true, correct and complete and are hereby
       ratified, confirmed, and hereby incorporated by reference.

             1.2    Formation. The Company has been organized as a Florida limited liability
       company pursuant to the Act.

                       1.3   Name. The name of the Company is "URBIN Coconut Grove Partners, LLC. "

               1.4   Office. The address of the Company' s office as of the Effective Date is 299
       Alhambra Circle, Suite 510, Coral Gables, Florida 33134. The Manager may change the
       Company's registered address and/or office address from time to time. In addition, the Company
       may maintain other offices or places of business as the Manager deems advisable for the conduct
       of the Company's business. As of the Effective Date, the registered agent of the Company is Romy
                                                        EXHIBIT

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       K. Kapoor, Esq., 299 Alhambra Circle, Suite 510, Coral Gables, Florida 33134. The Manager may
       change the registered agent as it deems appropriate.

              1.5     Term . The term of the Company shall be perpetual, unless the Company is earlier
       dissolved in accordance with the provisions of this Agreement.

               1.6     No State-Law Partnership. This Agreement shall not create a partnership or joint
       venture for state-law purposes, and no Member will be considered an agent, partner or joint
       venturer of any other Member. It is intended that the Company will be deemed a partnership for
       federal tax purposes, and each Member shall file all tax returns and shall otherwise take all tax and
       financial reporting positions in a manner consistent with such treatment. The Members will be
       considered partners for tax purposes only.

               1.7    Agreement; Effect of Inconsistencies with the Act. The terms and conditions of
       this Agreement are intended to be the sole and exclusive "operating agreement" of the Company
       for purposes of the Act, and may from time to time be amended, supplemented, or restated in
       accordance with this Agreement. The Members intend that this Agreement shall be the sole source
       of the terms and conditions of the relationship among the parties and, except to the extent a
       provision of this Agreement expressly incorporates other laws (such as federal income tax rules
       by reference to applicable federal income tax laws) or is expressly prohibited or ineffective under
       the Act, this Agreement shall govern, even when inconsistent with the Act or any other law. To
       the extent any provision of this Agreement is prohibited or ineffective under the Act, this
       Agreement shall be considered amended (in the most minimal manner possible) in order to make
       such provision effective under the Act. This Agreement revokes and supersedes all prior operating
       agreements of the Company.

              1.8     Maintenance of Records at Company's Principal Office. The Company shall
       keep at its principal office those records required by the Act. The Company will provide the
       Members and their agents, representatives and attorneys reasonable access to its records at the
       Company ' s principal office.

                                           ARTICLE 2
                                PURPOSES AND POWERS OF COMPANY;
                                    SCOPE OF THIS AGREEMENT

               2.1    Purposes . The purpose of the Company is to engage in any lawful act or activity
       and to exercise any powers that are permitted to limited liability companies organized under the
       Act. Nevertheless, and without limiting the foregoing, the Members expect that the sole business
       of the Company will be to own 100% of the interests in a to be formed entity (the "Mezz Entity"),
       that will own I 00% of the interests in URBIN Commodore SPE, LLC, URBIN Commodore
       Restaurant SPE, LLC, URBIN Commodore Residential SPE, LLC and other to be formed single
       purpose entities, all of which will do or will own various parcels of real estate on Commodore
       Plaza in Coconut Grove, Florida (the "Owners"), which entity is expected to acquire, finance,
       demolish, develop, re-develop, operate, lease and sell (the "Business") all such Commodore Plaza
       parcels (the "Property"), all while engaged in a QOZB. All Properties owned as of the Effective
       Date are described on Exhibit C to this Agreement. For the avoidance of doubt, the foregoing
       purposes shall be carried out in an effort that the Company shall at all times qualify as a QOZB,



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       and the QOZB in which the Company intends to engage is the Development, construction and
       management of the Property, which is in a QOZ. Without in any way limiting the Manager's
       authority, it is agreed that the Manager shall have the right to create an operating agreement for
       Owners and the Mezz Entity and amend such operating agreements as it deems appropriate from
       time to time.

               2.2    Title. All assets acquired with Company funds or to effectuate the purposes of the
       Company shall be titled exclusively in the name of the Company or Owners. The Manager shall
       execute and file in all appropriate locations such documents, if any, as may be necessary to reflect
       the Company's ownership of any of its assets requiring public filings or other evidence of
       ownership. All assets owned by the Company, whether real or personal, tangible or intangible or
       mixed, shall be deemed to be owned exclusively by the Company as an entity, and no Member
       shall have any ownership interest in such assets.

               2.3    Powers. In carrying out the purposes of the Company, but subject to all other
       provisions of this Agreement, the Company shall have all powers and rights of a limited liability
       company organized under the Act and shall exercise such powers and rights in furtherance of and
       in compliance with the QOZ rules.

              2.4    Limitations on Authority of Members and Others. Except for the authority
       expressly granted or delegated in accordance with this Agreement, no Member, Manager,
       employee, or other agent of the Company shall have any authority to bind or act for the Company
       or any other Member.

                   2.5   Compliance with QOZ Rules.

                        (a)     General. The Company is intended to operate as a QOZB and in a manner
       that will facilitate the ability of any Members that are QOFs to continue to treat their interests in
       the Company as QOZPis (collectively, the "OOZ Compliance Requirements"). In furtherance
       of the foregoing, the Manager shall use reasonable best efforts to cause the Company to continue
       to qualify as a QOZB, and shall provide any QOF Member with any information reasonably
       requested by such Member, including any information necessary for any such Member to properly
       complete an IRS Form 8996. Accordingly, the Members acknowledge that the Manager, in
       consultation with QOZ legal counsel and with the consent of the QOF Members, may implement
       such amendments as are necessary in order to further this objective, subject to the applicable terms
       of Section 12.10 and so long as such amendments do not adversely affect the rights, obligations or
       interests of any Member that does not approve of same.

                        (b)    Working Capital Safe Harbor. The Company shall maintain (and each
       Member shall cooperate with reasonable requests for factual information regarding) a written
       schedule (the "WCSH Schedule"), updated from time to time in compliance with the QOZ Rules
       and attached hereto as Exhibit E, (i) setting forth the amount of working capital held by the
       Company and any of its subsidiaries (which may be a reasonable good faith approximation) (the
       "Working Capital Reserve"); (ii) designating such Working Capital Reserve for use in
       connection with the Property; and (iii) containing a written schedule consistent with the ordinary
       start-up of a trade or business for the expenditure of such Working Capital Reserve in connection
       with the Property, which schedule shall provide that the initial Working Capital Reserve will be



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       spent within thirty-one (31) months of the receipt thereof (or by the end of the subsequent safe
       harbor period described in the following clause), and that any subsequent cash infusions will
       similarly be spent within thirty-one (31) months of the receipt thereof, and will form an integral
       part of the working capital safe harbor plan that covered the initial Working Capital Reserve. The
       WCSH Schedule shall be consistent with the initial Approved Budget. The Working Capital
       Reserve shall be held in an interest-bearing account The schedule contemplated by this Section
       2.6(b) is intended to comply with Treasury Regulations Section 1.1400Z2(d)-l(d)(3)(v) and (vi)
       and shall be interpreted in a manner consistent with such intent, and the schedule may reflect
       successive applications of the working capital safe harbor as permitted under Treasury Regulations
       Section 1.1400Z2(d)- l(d)(3)(v)(E). The Manager shall track the deployment of funds from the
       Working Capital Reserve, as well as any interest or other investment gains or losses earned on
       such Working Capital Reserve, and shall provide any QOF Members with a reasonably detailed
       report on the use of such funds and the interest earned thereon upon reasonable request

                      (c)    Caveat. Notwithstanding anything to the contrary in this Agreement, the
       -        Member may, in its sole discretion, cause the Company or the Manager, as applicable, to
       take (or refrain from taking) any action that it reasonably determ~          s necessary for the
       Company to qualify as a QOZB, (ii) will facilitate the ability of the -      Member to comply
       with (and qualify under) the QOZ Rules, and (iii) is otherwise necessary to preserve the benefits
       that each QOF Member or its constituent members or equity holders are or may be entitled to under
       the QOZ Rules.

                                            ARTICLE 3
                                 ADMISSION OF MEMBERS; INTERESTS

               3.1      Classes and Issuance of Interests. The Company is initially authorized to issue
       three classes of Membership Units for a total of twelve (12) million Membership Units available
       for issuance to Members. The Manager shall have the discretion to issue the twelve (12) million
       Membership Units as either Class A or Class B Membership Units. All Membership Units shall
       be issued at one unit for each dollar invested by the Member in question in the Company, regardless
       of the class of the unit being issued. Only Class A Membership Units include voting rights.
       Otherwise, except to the extent (if any) required by the Act or set forth in Section 6.5(c) below,
       the owners of Class B Membership Units (the "Non-Voting Members"): (i) have absolutely no
       right to vote on or consent or object to any Company matter; (ii) have absolutely no appraisal or
       dissenter' s rights (and hereby waive all similar rights to the fullest extent permitted by applicable
       law) ; and (iii) agree to execute all future amendments of this Agreement that are reasonably
       required by a prospective lender to the Company or Owners and which do not materially and
       adversely affect the economic interests of the Non-Voting Members, subject to the provisions of
       Section 2.5 above. The names, addresses, Membership Units issued to and initial Capital
       Contribution of each Member as of the Effective Date is reflected on the attached Exhibit A, which
       shall be amended from time to time by the Manager to reflect any changes to the Percentage
       Interests, Capital Contributions, or names and addresses of the Members.

               3.2   Issuance of Additional Membership Interests. At any time the Manager deems
       appropriate and as approved by Member Approval, and after complying with the Preemptive
       Rights of the Members set forth in Section 3.4 below, the Company may authorize and issue
       additional Membership Units and additional classes of Membership Units, without limitation. The


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       Company shall not sell or issue any Membership Units to new Members without such new
       Members executing this Agreement.

               3.3     Percentage Interests. The Percentage Interests of the Members is expected to
       fluctuate over time. Initially, Class B Members will have a Percentage Interest that corresponds to
       the number of Membership Units issued to each such Member out of the total of twelve (12)
       million authorized Membership Units pursuant to Section 3.1. However, so long as no more than
       twelve (12) million Membership Units have been issued, the Class A Member' s Percentage
       Interest will be calculated as the difference between one hundred percent (100%) and the total of
       the Percentage Interests collectively of all Class B Members. If and when the total Membership
       Units issued exceed twelve (12) million, then the Percentage Interests of all Members will be
       calculated as the total of such Member's Membership Units of any class divided by the total of all
       issued and outstanding Membership Units of any class.

               3.4     Preemptive Rights. All Class A and Class B Members shall have the preemptive
       rights described in this section (the "Preemptive Rights"). The Preemptive Rights shall apply to
       the following offerings: (i) any offering of any Membership Units of any class after the issuance
       of the initial twelve (12) million Membership Units authorized by Section 3.1 above. In any
       situation in which the Preemptive Rights apply, all Membership Units the Company intends to
       offer to anyone must first be made available to all existing Class A and Class B Members, pro rata
       based on their Percentage Interests. Thereafter, to the extent the proposed new Membership Units
       are not all acquired by existing Class A and Class B Members within ten (10) days of being offered,
       such unacquired Membership Units shall be offered again in writing to those existing Class A and
       Class B Members who did elect to acquire new Membership Units, also pro rata, with seven (7)
       days to accept same. Thereafter, to the extent any such new Membership Units are still available,
       they may be offered by the Manager to others as the Manager deems appropriate, but only on the
       exact same terms they were offered to the existing Members in accordance with this section. If the
       Manager wishes to deviate from the terms on which the new Membership Units were offered to
       the existing Members pursuant to this section, the Manager must commence the process again
       from the beginning.

                                             ARTICLE4
                             CAPITAL; CAPITAL ACCOUNTS; MEMBER LOANS;
                          ALLOCATIONS OF PROFITS, LOSSES AND DISTRIBUTIONS

               4.1    Initial Capital Contributions. The minimum initial capital required by the
       Company to engage in the Business at the Property is Twelve Million Dollars ($12,000,000) (the
       "Initial Capital"). All Initial Capital shall be priced at One Dollar ($1 .00) per Membership Unit.
       As of the Effective Date, each of the Members has already contributed and is committed to
       contribute the amounts set forth on Exhibit A to this Agreement as Capital Contributions to the
       Company. The Capital Contributions of the Members shall be set forth on Exhibit A, which shall
       be amended from time to time by the Manager to reflect any additional Capital Contributions made
       or committed to be made by the Members.

                    4.2    Additional Capital Contributions.




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                       (a)    In addition to the Initial Capital Contributions, if it is determined by the
       Manager that the Company requires additional capital for any purpose, then the Manager, in its
       sole discretion, may cause the Company to do any or all of the following : (i) offer additional
       Membership Units in accordance with Section 3.2 above but subject to the Preemptive Rights; (ii)
       borrow money from the Sponsor or its Affiliates in the form of an unsecured demand loan bearing
       interest at the rate of six percent (6%) per annum, which loan(s) must be repaid before any
       Distributions are made to any Members (a "Member Loan"); or (iii) make a call for
       Uncontrollable Capital Contributions in accordance with Section 4.2(b) below.

                       (b)    The Class A and Class B Members shall make all additional Capital
       Contributions that the Manager reasonably determines are required by the Company to pay for
       expenditures needed: (i) by reason of a bona fide emergency situation affecting the Property, which
       jeopardizes the development of the Property or the Property itself, and requires the immediate
       attention of the Company, including the cost of essential repairs to the Property in response to an
       imminent life-threatening need or risk of Property damage, or (ii) for any payments required to be
       made by the Company for (A) real estate taxes, utilities, insurance premiums or similar obligations
       the cost of which is mandated and fixed by applicable laws, code compliance and regulations or
       by the terms of any construction loan or any financings to which the Company or any of the Owners
       are bound, or (B) any interest or principal payment or other sum or charge due under any mortgage
       loan to the Company or the Owners (collectively, "Uncontrollable Capital Contributions"). The
       Uncontrollable Capital Contributions required by this section shall be made within ten ( 10) days
       of the Manager's written notification that such funds are needed as set forth above, and shall be in
       available U.S. cash funds , equal to the product of the total amount of such Uncontrollable Capital
       Contribution multiplied by such Member's Percentage Interest (as of the date on which it is
       determined that the Uncontrollable Capital Contribution is required).

                       (c)    The Company shall reasonably accommodate any request by a QOF
       Member that seeks to make an advance contribution of any amounts to the Company that such
       Member determines is necessary in order for such Member to continue to qualify as a QOF;
       provided that, no such additional capital contribution shall earn any return, change the Percentage
       Interests of the Members or in any way alter the economic rights of the Members under this
       Agreement.

                        (d)     If a Member fails to make all or part of an Uncontrollable Capital
       Contribution required under Section 4.2(b), on or before the date required, and such failure is not
       remedied within ten (10) days following receipt of written notice from the Company or another
       Member (a "Defaulting Member"), then the other Member, if it timely made its Additional
       Capital Contribution or Uncontrollable Capital Contribution (a "Contributing Member"), may,
       at its sole option, pay the Company the amount of any such deficiency on behalf of the Defaulting
       Member. The amount so advanced by the Contributing Member shall be treated as a loan by the
       Contributing Member to the Defaulting Member and a capital contribution by such Defaulting
       Member (a "Deficiency Loan") bearing interest, compounding annually and computed on a 365-
       day basis, from the date advanced until repaid, at the lower of ten percent ( 10%) per year or the
       highest rate permitted under applicable usury laws. Deficiency Loans shall be demand loans,
       payable on thirty (30) days ' notice, and all Distributions payable to the Defaulting Member under
       this Agreement shall be first paid, instead, to the Contributing Member until the Deficiency Loan
       has been repaid (but shall, for all other purposes of this Agreement, be treated as having been


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     distributed to such Defaulting Member). The Contributing Member shall have all remedies
     available to it under applicable law with regard to collection of amounts due on Deficiency Loans.
     In the event that the Defaulting Member fails to repay the Deficiency Loan and all accrued and
     outstanding interest after a thirty (30) day written demand for same, then the Contributing Member
     may elect, at its sole discretion, to dilute the Defaulting Member's Membership Interest, as the
     Contributing Member' s sole remedy and in full satisfaction of the applicable Deficiency Loan, on
     a two to one (2: 1) basis, meaning that the Defaulting Member's interests with respect to its Capital
     Account and Percentage Interest shall be diluted by Two Dollars ($2 .00) for every One Dollar
     ($1.00) contributed by the Contributing Member and the Capital Account and Percentage Interests
     in question will be deemed transferred to the Contri~Member; provided, however, if the
     "Defaulting Member" is the -             Member and the -         Member' s share of Uncontrollable
     Capital Contributions of the Company during any twelve ( 12) month period exceeds Two Hundred
     and Fifty Thousand Dollars ($250,000.00), in ~egate, then with respect to such excess, the
     Capital Account and Percentage Interest ofthe -          i Member will only be diluted ifthe -
     Member fails to repay the Deficiency Loan for such excess attributable to the -             Member
     within one hundred and eighty (180) days after the Deficiency Loan is advanced by a Contributing
     Member, and in such event, the rate of dilution will be One Dol~0) for every One Dollar
     ($1 .00) contributed by the Contributing Member on behalf of the -           Member.

                 4.3        Intentionally Omitted.

              4.4     No Third-Party Beneficiary. Except as otherwise provided in this Agreement, no
      provision of this Agreement is intended to be for the benefit of any creditor or other Person (other
      than a Member in its capacity as a Member) to whom any debts, liabilities or obligations are owed
      by (or who otherwise has any claim against) the Company or any of the Members; and, no such
      creditor or other Person shall obtain any right under this Agreement or shall by reason of this
      Agreement make any claim in respect to any debt, liability or obligation (or otherwise) against the
      Company or any of the Members or their Membership Interests.

             4.5     Capital Accounts. The Company shall maintain a separate capital account
      ("Capital Account") for each Member and such Member' s legal representatives, successors and
      permitted assigns.

                             (a)    The Capital Account of each Member shall be maintained in accordance
                     with Section 1. 704-1 (b) and Section 1. 704-2 of the Regulations as in effect on the date of
                     this Agreement and shall be interpreted and applied in a manner consistent with such
                     Regulations and shall also be maintained and adjusted pursuant to the provisions of
                     Regulations Section l.704-l(b)(2)(iv)(f). If the Managers reasonably determine that it is
                     prudent to modify the manner in which the Capital Accounts, or any debits or credits
                     thereto, are computed in order to comply with Regulation Section 1.704-1 (b) and Section
                     1.704-2, the Managers will make such modifications.

                         (b)      The Capital Account of each Member shall be as set forth herein and
                 increased by allocations of Profits pursuant to Section 4.6, and additional cash contribu-
                 tions and contributions of property to the extent of the fair market value of such property
                 (net of liabilities secured by such property assumed by the Company or subject to which
                 the Company takes the property), and decreased by allocations of Losses pursuant to


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                   Section 4.6, and by distributions and withdrawals of cash and property (to the extent of the
                   fair market value thereof, net of liabilities secured by such property assumed by the
                   Member or subject to which the Member takes the property).

                           (c)      In the event of a Transfer of an Interest or any portion thereof in accordance
                   with the terms of this Agreement, whether or not the purchaser, assignee or successor-in-
                   interest is then a Member, the Person so acquiring such Interest or any portion thereof shall
                   acquire the Capital Account or portion thereof of the Member formerly owning such
                   Interest, adjusted for distributions made pursuant to Section 5.1 and allocations of Profits
                   and Losses made pursuant to Section 4.6.


                   4.6     Profits and Losses.

                           (a)    Generally.

                                   (i)     The Profits and Losses of the Company shall be determined for each
                           Fiscal Year in accordance with the accounting method followed by the Company
                           for federal income tax purposes. Except as otherwise provided herein, whenever a
                           proportionate part of the Profit or Loss is credited or charged to a Member's Capital
                           Account, every item of income, gain, loss, deduction or credit entering into the
                           computation of such Profit or Loss shall be considered either credited or charged,
                           as the case may be, in the same proportion to such Member's Capital Account, and
                           every item of credit or tax preference related to such Profit or Loss, and applicable
                           to the period during which such Profit or Loss was realized, shall be allocated to
                           such Member in the same proportion.

                                   (ii)     Except as otherwise provided in this Agreement, Profits and Losses
                           shall be allocated to the Members in accordance with Section 4.6(b), as amended
                           from time to time, and for this purpose, at the end of the month (the "PL Effective
                           Date") that includes the date on which a new Member is admitted (or deemed
                           admitted) into the Company or a valid transfer of all or part of a Member's Interest
                           is effected (or deemed to be effected), the books of the Company shall be closed in
                           accordance with Section 706(d) of the Code, and consistent therewith: (A) items of
                           income, deduction, gain, loss and/or credit of the Company that are recognized prior
                           to the PL Effective Date shall be allocated among those Persons who were Members
                           in the Company prior to the Effective Date in accordance with their respective
                           Interests prior to the Effective Date; and (B) items of income, deduction, gain, loss
                           and/or credit of the Company that are recognized after the PL Effective Date shall
                           be allocated among the Persons who were Members after the PL Effective Date in
                           accordance with their respective Interests after the Effective Date.

                           (b)     Allocation of Profits and Losses.

                                   (i)      Subject to any allocation required under Section 4.6(c) or Section
                           4.6(d), Profits during each of the Company' s taxable years shall be allocated among
                           the Members as follows:



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                                       first, to the extent of cumulative Losses, net of Profits, allocated to
                               the respective Members, in the reverse order that Losses were previously
                               allocated to the respective Members; and

                                       thereafter, to the Members pro rata in accordance with their
                               respective Percentage Interests, adjusted in the discretion of the Manager to
                               account for the actual receipt of Distributable Cash Flow for the period in
                               question, provided that all distributions are made in accordance with the
                               Members' respective Percentage Interests.

                                (ii)   Subject to any allocation required under Section 4.6(c) or Section
                        4.6(d), Losses during each of the Company' s taxable years shall be allocated as
                        follows :

                                      (A)      first, to the Members in the amounts and proportions
                               necessary to bring the respective Capital Account balances of the Members
                               in proportion to their respective Percentage Interests;

                                       (B)     next, to the extent of cumulative Profits, net of Losses,
                               allocated to the respective Members, in the reverse order that Profits were
                               allocated to the respective Members; and

                                       (C)     thereafter, to the Members pro rata in accordance with their
                               respective Percentage Interests; provided, that Losses will be allocated first
                               to Members with positive Capital Accounts and after all Members ' Capital
                               Accounts are zero, then additional Losses will be allocated in accordance
                               with their respective Percentage Interests.

                        (c)    Special Allocation Provisions.

                                (i)     General Limitation. Notwithstanding anything to the contrary
                        contained in this Section 4.6, no allocation shall be made to a Member which would
                        cause such Member to have a deficit balance in his, her or its Capital Account which
                        exceeds the sum of such Member' s share (if any) of the recourse debt of the
                        Company, such Member' s share of Company Minimum Gain (as defined in Section
                        4.6(c)(iv)) and such Member' s share of Member Nonrecourse Debt Minimum Gain
                        (as defined in Section 4.6(c)(v)). If the limitation contained in the preceding
                        sentence would apply to cause an item of loss or deduction to be unavailable for
                        allocation to all Members, then such item of loss or deduction shall be allocated
                        between or among the Members in accordance with the Members ' respective
                        "interests in the Company" within the meaning of Section 1. 704-1 (b )(3) of the
                        Regulations.

                                (ii)   Qualified Income Offset. In the event any Member unexpectedly
                        receives an adjustment, allocation or distribution described in clauses (4), (5) or (6)
                        of Regulation Section 1.704-l(b)(2)(ii)(d) that results in such Member having a
                        negative balance in its Capital Account in excess of the amount it is obligated to
                        restore under this Agreement or is deemed obligated to restore pursuant to the


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                     penultimate sentences of Sections l.704-2(g)(l) and 1.704-2(i)(5) of the
                     Regulations on a liquidation of the Company (or of the Member' s Interest in the
                     Company), then such Member shall be allocated income and gain in an amount and
                     manner sufficient to eliminate such excess as quickly as possible. To the extent
                     permitted by the Code and the Regulations, any special items of income or gain
                     allocated pursuant to this Section 4.6(c)(ii) shall be taken into account in computing
                     subsequent allocations of Profits and Losses pursuant to this Section 4.6, so that the
                     net amount of any items so allocated and the subsequent Profits and Losses
                     allocated to the Members pursuant to this Section 4.6(c)(ii) shall, to the extent
                     possible, be equal to the net amounts that would have been allocated to each such
                     Member pursuant to the provisions of this Section 4.6(c)(ii) if such unexpected
                     adjustments, allocations or distributions had not occurred.

                             (iii)   Member Nonrecourse Deductions. Notwithstanding anything to the
                     contrary contained in this Section 4.6, all items of loss and deduction and all
                     expenditures described in Section 705(a)(2)(B) of the Code (or treated as
                     expenditures so described pursuant to Section 1.704-l(b)(2)(iv)(i) of the
                     Regulations) (collectively, "Member Nonrecourse Deductions") that are (in
                     accordance with the principles set forth in Section 1.704-2(i)(2) of the Regulations)
                     attributable to Member Nonrecourse Debt (as such term is defined in Section 1.704-
                     2(b )(4) of the Regulations) shall be allocated to the Member that bears the
                     Economic Risk of Loss pursuant to Section 1. 752-2(b)-U) of the Regulations for
                     such Member Nonrecourse Debt. If more than one Member bears such Economic
                     Risk of Loss, such Member Nonrecourse Deductions shall be allocated between or
                     among such Members in accordance with the ratios in which they share such
                     Economic Risk of Loss. If more than one Member bears such Economic Risk of
                     Loss for different portions of a Member Nonrecourse Debt, each such portion shall
                     be treated as a separate Member Nonrecourse Debt.

                             (iv)    Company Minimum Gain. Except to the extent provided in Sections
                     1.704-2(f)(2), (3), (4) and (5) of the Regulations, if there is, for any Fiscal Year of
                     the Company, a net decrease in Company Minimum Gain (as such term is defined
                     in Sections 1. 704-2(b )(2) and (d) of the Regulations, as the same may be modified
                     in the context of limited liability companies), there shall be allocated to each
                     Member, before any other allocation under this Section 4.6 is made under Section
                     704(b) of the Code of Company items for such Fiscal Year, items of income and
                     gain for such Year (and, if necessary, for subsequent years) equal to such Member' s
                     share of the net decrease in Company Minimum Gain. A Member' s share of the net
                     decrease in Company Minimum Gain is the amount of such total net decrease
                     multiplied by the Member's percentage share of the Company Minimum Gain at
                     the end of the immediately preceding taxable year, determined in accordance with
                     Section 1.704-2(g)(l) of the Regulations. Items of income and gain to be allocated
                     under the foregoing provisions of this Section 4.6(c)(iv) shall consist first of gains
                     recognized from the disposition of items of Company property subject to one or
                     more Nonrecourse Liabilities (as defined in Section 1.704-2(b)(3) of the
                     Regulations) of the Company, and then of a pro-rata portion of the other items of
                     Company income and gain for that year.


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                              (v)     Member Nonrecourse Debt Minimum Gain. Except to the extent
                      provided in Section 1.704-2(i)(4) of the Regulations, if there is, for any Fiscal Year
                      of the Company, a net decrease in Member Nonrecourse Debt Minimum Gain (as
                      defined in Section 1. 704-2(i)(2) of the Regulations, as the same may be modified
                      in the context of limited liability companies), there shall be allocated to each
                      Member that has a share of Member Nonrecourse Debt Minimum Gain at the
                      beginning of such Fiscal Year before any other allocation under this Section 4.6
                      (other than an allocation required under Section 4.6(c)(iv)) is made under Section
                      704(b) of the Code of Company items for such Fiscal Year, items of income and
                      gain for such year (and, if necessary, for subsequent years) equal to such Member' s
                      share of the net decrease in the Member Nonrecourse Debt Minimum Gain. The
                      determination of a Member' s share of the net decrease in Member Nonrecourse
                      Debt Minimum Gain shall be made in a manner consistent with the principles
                      contained in Section 1. 704-2(g)(l) of the Regulations. The determination of which
                      items of income and gain to be allocated pursuant to the foregoing provisions of
                      this Section 4.6(c)(v) shall be made in a manner that is consistent with the principles
                      contained in Section 1.704-2(f)(6) of the Regulations .

                               (vi)    Gross Income Allocation. If any Member has a deficit Capital
                      Account at the end of any Fiscal Year which is in excess of the sum of the amount
                      such Member is obligated to restore under this Agreement or is deemed obligated
                      to restore pursuant to the penultimate sentences of Sections I. 704-2(g)( 1) and 1. 704-
                      2(i)( 5) of the Regulations, each such Member shall be specially allocated items of
                      Company income and gain in the amount of such excess as quickly as possible,
                      provided that an allocation under this Section 4.6(c)(vi) shall be made only if and
                      to the extent that such Member would have a deficit Capital Account in excess of
                      such sum after all other allocations provided for in this Section 4.6 have been made
                      as if Section 4.6( c)(ii) and this Section 4.6(c)(vi) were not in this Agreement.

                                (vii) Curative Allocations. The allocations set forth in Section 4.6(c)(i),
                      (ii), (iii), (iv), (v) and (vi) (collectively, the "Regulatory Allocations") are
                      intended to comply with certain requirements of the Regulations . It is the intent of
                      the Members that, to the extent possible, all Regulatory Allocations shall be offset
                      either with other Regulatory Allocations or with special allocations of other items
                      of Company income, gain, loss or deduction under this Section 4.6(c)(vi).
                      Therefore, notwithstanding any other provisions of this Article 4 (other than the
                      Regulatory Allocations), the Manager shall make such offsetting special allocations
                      of Company income, gain, loss or deduction in whatever manner it determines
                      appropriate so that, after such offsetting allocations are made, each Member' s
                      Capital Account balance is, to the extent possible, equal to the Capital Account
                      balance such Member would have had if the Regulatory Allocations were not part
                      of the Agreement and all Company items were allocated under Section 4.6(b).

                      (d)    Tax Allocations.




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                                (i)     Except as otherwise provided herein, all tax items of the Company
                        shall be allocated among the Members in the same manner as they share the
                        correlative items of Profits and Losses.

                                (ii)    Any item of Company income, gain, loss, deduction or credit
                        attributable to property contributed to the Company, solely for tax purposes, shall
                        be allocated among the Members in accordance with the principles set forth in
                        Section 704( c) of the Code so as to take account of any variation between the
                        adjusted basis of such property to the Company for federal income tax purposes
                        and its fair market value at the time such property was contributed to the Company.

                                (iii)    As permitted by Section l.752-3(a)(3) of the Regulations, the
                        Members hereby specify that solely for purposes of determining their respective
                        interests in the Nonrecourse Liabilities of the Company for purposes of Section 752
                        of the Code, such interests shall be equal to their respective Percentage Interests.

                                (iv)     The Manager shall have the reasonable discretion (consistent with
                        its fiduciary duty to all Members) to deviate from the foregoing provisions of this
                        Section 4. 7 to equitable allocate Profits and Losses to (i) reflect as nearly as possible
                        the actual flow of cash, and (ii) ensure Losses are utilized as fully as possible.

                 4. 7   Guaranties.

                         (a)     It is acknowledged that the lender(s) to the Company and Owners may
                 require various types of guaranties from Affiliates of the Company, including but not
                 limited completion guaranties, environmental guaranties and bad-boy carve-outs
                 (collectively, the "Guaranties," and each, individually, a "Guaranty"). The Sponsor
                 agrees to cause Rishi Kapoor and Daniel Motha to serve as guarantors on the Guaranties
                 (each person executing one or more Guaranties will be a "Guarantor," and collectively
                 the "Guarantors").

                         (b)     Notwithstanding any other provision of this Agreement or the Act, it is
                 agreed that if the Company is in default under a mortgage loan secured by all or any part
                 of the Property, and as a result, one or more Guarantors incurs obligations under a Guaranty
                 in any material respect, then any one of those Guarantors (or their Affiliated Members if
                 the Guarantors are not a Member) shall have the absolute right to cause the Company to
                 either cure such default, or if such default cannot be cured by the Company, provide a deed
                 in lieu of foreclosure, consent to foreclosure, convey all assets of the Company or take
                 similar actions required to mitigate the Guarantors ' exposure or loss. Notwithstanding the
                 foregoing, this Section 4.7(b) shall not apply to actions constituting fraud, bad faith, willful
                 misconduct or gross negligence by the applicable Guarantor or Guarantors or involving a
                 material breach of the Guaranty by or through the direct actions or inactions of such
                 Guarantor or Guarantors which results in liability under the Guaranty, such as failure of
                 such Guarantor or Guarantors to timely provide its financial statements to a lender (to the
                 extent required by the terms of a Guaranty). In addition, all Guarantors are entitled to
                 indemnification pursuant to Section 8.2 below for any liability they have under any
                 Guaranty.


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     4.8      Use of -         Member Fu nds.       Notwithstanding any contrary prov1s10n in this
     Agreement, the Manager agrees that any Initial Capital or Additional Capital Contributions made
     by the -       Member shall only be used to pay items in the initial Approved Budget attached to
     this Agreement as Exhibit D and, by way of clarification and not limitation, shall not be used to
     re-pay any debt owed to any other Class B Member, Sponsor, or any Affiliate of the Sponsor, nor
     to refund any Capital Contribution made by the Sponsor or any other Class B Member; provided
     that, this Section 4.8 shall have no effect once the construction loan(s) for the following
     projects have closed 3120, 3138, 3162, 3166, and 3170 Commodore Plaza, in Miami, Florida, and
     the lender has commenced funding of construction draws for construction of the new
     improvements to be built upon 3120 and 313 8 Commodore Plaza, in Miami, Florida.


                                                    ARTICLE 5
                                                  DISTRIBUTIONS

            5.1     Distributions. Subject to the repayment of all Member Loans in accordance with
     Section 4.2, the Members shall be entitled to Distributions of Distributable Cash Flow and net
     proceeds from the liquidation and winding up of the Company, in accordance with the following
     prov1s10ns:

                          (a)  Non-Liquidating Distributions. Distributable Cash Flow shall be distributed
                  to the Members at such times as determined by the Manager to be in the best interests of
                  the Company and the Members. All Distributable Cash Flow shall be distributed to the
                  Class A and Class B Members, pro rata, based on their then respective Percentage
                  Interests.

                          (b)     Liquidating Distributions. Upon a Capital Transaction or upon the
                  dissolution and liquidation of the Company, and after payment for or provision for the
                  debts and obligations of the Company and the Owners, the net proceeds from such event
                  shall be distributed to the Class A and Class B Members, pro rata, based on their then
                  respective Percentage Interests.

                          (c)     Distributions In Kind. If any proceeds available for distribution consist of
                  items other than cash as determined by the Manager, the Members shall be entitled to their
                  respective shares of each such asset, in accordance with the aggregate amount of proceeds
                  due them, respectively, under Sections 5.l(a) or (b) . In determining the Capital Accounts
                  of the Members for purposes of Section 4.5, the amount by which the fair market value of
                  any property to be distributed in kind to the Members exceeds or is less than the tax basis
                  of such assets, to the extent not otherwise recognized by the Company, shall be taken into
                  account as if such gain or loss were recognized by the Company. A Member has no right
                  to demand and receive any distribution from the Company in a form other than cash.

                          (d)     Tax Distributions. Not later than March 15 th of each year, the Manager shall
                  use its best efforts to cause the Company to make a "Tax Distribution" to each Member
                  of an amount of cash equal to the excess of (i) the amount of such Member's Presumed



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                  Tax Liability (defined below) for the previous calendar year, over (ii) the amount of
                  Distributions received by the Member since March 15 th of the prior year. A Member's
                  "Presumed Tax Liability" for any calendar year is equal to the product of (a) the highest
                  federal individual income tax rate for such calendar year times (b) the amount of Profits
                  allocated to the Member for that calendar year. If the federal income tax return for the
                  Company for a calendar year has not been prepared prior to March 15 th of the following
                  year, then the Manager shall estimate the Members' Presumed Tax Liability in order to
                  make a timely Tax Distribution, and shall make an adjustment in future Distributions, if
                  necessary.

                         (e)    Distributions Generally.

                                 (i)     Incorrect Distributions. To the extent any Distributions pursuant to
                         this Agreement were incorrectly made, as reasonably determined by the Managers,
                         the recipients shall promptly repay all incorrect payments and the Company shall
                         have the right to set off any such incorrectly paid amount against any current or
                         future sums owing to such recipients.

                                 (ii)    Withholding. Ifrequired by the Code or by state or local law, or with
                         respect to any tax payments made by the Company in connection with any
                         composite, or similar partnership tax return filed by the Company with any State or
                         local tax authority, the Company shall withhold any required amount from
                         Distributions to a Member for payment to the appropriate taxing authority. Any
                         amount so withheld from a Member will be treated as a distribution by the
                         Company to such Member. Each Member agrees to timely file any document that
                         is required by any taxing authority in order to avoid or reduce any withholding
                         obligation that would otherwise be imposed on the Company. To the extent any
                         amount is required to be withheld with respect to a Member and paid over to an
                         appropriate taxing authority which amount is in excess of the amounts distributed
                         to such Member in respect of such withholding, the amounts paid to the taxing
                         authority in respect of such withholding shall be treated as a distribut.ion to such
                         Member and a corresponding distribution shall be made to each other Member in
                         proportion to the Capital Account registered on the Company' s books in such
                         Member's name. To the extent that cash is not available to make any of the
                         Distributions required under this Section 5.l(e)(ii), such distribution shall be
                         delayed and paid out of the next Distributable Cash Flow.

                                (iii)    Compliance with QOZ Rules. For the avoidance of doubt, the
                         Manager may, in its reasonable discretion, elect to hold back one or more
                         Distributions due to the Members if it determines, after consulting with the
                         applicable Member, that such distribution (or portion thereof) would have an
                         adverse effect on the benefits available to such Member under the QOZ Rules.
                         Each Member may elect to receive any such distribution despite the Manager's
                         determination described in this Section 5. 1(e) and failure by the Manager to make
                         such distribution shall not constitute a breach of or default under this Agreement
                         by the Manager.



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            5.2     Nonrecourse; Deficit Capital Account. Each Member shall look solely to the
     assets of the Company for the repayment of any Distributions owed to such Member by the
     Company and for any loans made by such Member to the Company and no Member shall have
     any recourse, upon dissolution or otherwise, against any other Member for the payment thereof.
     No Member shall be obligated to return the Capital Contributions made by any other Member,
     upon dissolution or otherwise. No Member shall be obligated to restore any deficit in its Capital
     Account that may exist as of the date of the Company' s dissolution and liquidation.

                  5.3       Limitation Upon Distributions. No Distributions shall be made in violation of the
     Act.

                                                  ARTICLE 6
                                        RIGHTS AND DUTIES OF MEMBERS

           6.1     Member Approval Not Required. Except as otherwise expressly set forth in this
     Agreement or as required by the Act, all decisions of the Company for itself and Owners and the
     Mezz Entity shall be made by the Manager.

             6.2     Limitations on Powers of Members. Except as expressly set forth elsewhere in
     this Agreement, no Member shall have the right, directly or indirectly, to (i) resign, retire, or
     withdraw from the Company, (ii) dissolve, terminate, or liquidate the Company, (iii) petition a
     court for the dissolution, termination, or liquidation of the Company, or (iv) cause any property of
     the Company to be subject to the authority of any court, trustee, or receiver (including suits for
     partition and Bankruptcy, insolvency, and similar proceedings).

             6.3   Prohibition Against Partition . Each Member irrevocably waives any and all
     rights the Member may have to maintain an action for partition with respect to any property of the
     Company.

                  6.4       Meetings of the Members.

                             (a)     The annual meeting of the Members shall be held in Miami-Dade County,
                      Florida at the time designated by the Manager. Special meetings of the Members, for any
                      purpose, shall be held when directed by the Manager, or when requested in writing by any
                      Member. A meeting requested by a Member shall be called for a day not less than two (2)
                      nor more than thirty (30) days after the request is made, unless such Member designates
                      a later date. The call for the meeting shall be issued by the Manager, unless a Member
                      requesting a meeting designates another person to do so. Meetings of the Members shall
                      be at the principal office of the Company or at such other location within Miami-Dade
                      County, Florida as the Manager selects. The Manager shall determine the order of business
                      and the procedure at the meeting, including the conduct of discussion, and shall keep a
                      record of any action taken at the meeting. At the discretion of the Manager, any meeting
                      may be held via video or voice conference call.

                             (b)    Written notice stating the place, day and hour of the meeting and the
                      purpose or purposes for which the meeting is called shall be delivered not less than two
                      (2) nor more than thirty (30) days before the date of the meeting, either personally or by
                      mail, by or at the direction of the Manager or the Member calling the meeting, to each


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                      Member entitled to vote at such meeting. When any notice is required to be given to any
                      Member, a written waiver thereof by the Person entitled to such notice, whether before or
                      after the time stated therein, shall be equivalent to the giving of such notice.

                             (c)     Any Member may participate in a meeting of the Members by means of
                      conference telephone or similar communications equipment by which all persons
                      participating in the meeting can hear and speak to one another, and participation in the
                      meeting by means of such equipment shall constitute presence in person at such meeting.
                      Participation by communications equipment shall constitute presence at the meeting,
                      unless a Member is participating in the meeting for the express purpose of objecting to the
                      transaction of any business on the ground the meeting is not lawfully called or convened
                      and expressly states such grounds at the inception of such meeting.

                  6.5       Voting.

                           (a)    If any matter shall require a vote of the Members, then except as otherwise
                  expressly provided in this Agreement, the Members shall be entitled to vote on such matter
                  in accordance with their Percentage Interests. A Member's right to vote shall not be
                  assigned, delegated or otherwise granted to any other Person, except that a Member shall
                  be permitted to give a proxy to another Member to vote his or her interests in his or her
                  absence, which proxy shall be in writing, signed by the Member and valid for no more than
                  thirty (30) days out of each calendar year. No Member shall be permitted to grant proxies
                  valid for more than sixty (60) days during any twelve (12)-month period.

                          (b)    Action required or permitted to be taken by a vote of the Members or at a
                  meeting of Members may also be taken without a vote of a meeting if the action is
                  evidenced by one or more written consents describing the action taken, signed by the
                  requisite number of Members whose vote or approval is required for such action to be
                  taken. If such a written consent is not signed by all Members, then a copy of the signed
                  consent shall be provided within a reasonable time to any Member who did not sign it.
                  Affirmation by email shall constitute a signed consent.

                         (c)     Notwithstanding anything implied to the contrary in this Section 6.5, except
                  as required by the Act and except for the rights of Class B Members to vote on a Major
                  Decision, the Non-Voting Members have absolutely no right to vote on or consent or object
                  to any Company matter.

              6.6     Limitation on Authority of Members. No Member is an agent of the Company
      solely by virtue of being a Member, and no Member has the authority to act for the Company
      solely by virtue of being a Member.

                                                ARTICLE 7
                               RIGHTS, POWERS, AND DUTIES OF THE MANAGER

                  7.1       Management and Control of Business; Appointment of Managers.




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                        (a)     The Company shall be "manager-managed" and the Sponsor shall have the
                 exclusive right to appoint the manager and change the manager from time to time (the
                 "Manager"). Initially, the Sponsor appoints itself as the Manager.

                         (b)     Subject to the requirements of the Act, and unless expressly stated to the
                 contrary elsewhere in this Agreement, the Manager shall have the full, exclusive and
                 complete discretion, right, power, and authority to manage, control and make all decisions
                 affecting the Business, the Property, Owners, the Mezz Entity and the affairs of the
                 Company (including such decisions for Owners) and their assets. All acts of the Manager
                 within the scope of its authority and not inconsistent with this Agreement shall bind the
                 Company. The Manager shall devote such time to the affairs of the Company as may be
                 necessary, in the reasonable discretion of the Manager, for the proper performance of its
                 duties hereunder.

             7.2     Signing of Documents . The Manager shall, after obtaining the approval required
     by this Agreement, if any, have the authority, in the name and on behalf of the Company, to sign
     and deliver all contracts, agreements, leases, notes, mortgages, and other documents and
     instruments which are necessary, appropriate, or convenient for the conduct of the Company 's
     affairs within the scope of its business. The Manager may from time to time delegate certain of the
     management and administrative duties or other functions to other Persons, including its respective
     Affiliates and employees of those Affiliates, and any officer of the Company that may be appointed
     in accordance with Section 7.4. Any Person dealing with the Company or the Manager may rely
     upon a certificate signed by the Manager as to:

                        (a)     the identity of the Manager;

                         (b)    the existence or non-existence of any fact or facts which constitute a
                 condition precedent to acts by the Manager or in any other manner germane to the affairs
                 of the Company;

                        (c)     the Persons who have been duly authorized by the Members or the Manager
                 to execute and deliver any instrument or document of, or on behalf of, the Company; or

                        (d)     any act or failure to act by the Company or as to any other matter whatsoever
                 involving the Company, the Manager or any Member.

              7.3    Right to Rely on Authority of Managers. No Person dealing with the Manager
      shall be required to determine the Manager's authority to take any undertaking on behalf of the
      Company, or to determine any fact or circumstance bearing upon the existence of the Manager' s
      authority.

              7.4     Officers of Company. The Manager may, but shall not be obligated to, appoint
      one or more individuals as officers of the Company, which may consist of a president, a treasurer
      and a secretary, and such vice presidents, assistant vice presidents, assistant treasurers, assistant
      secretaries or other officers or agents. The Manager shall have the authority to remove any officer
      with or without cause at any time. Any two or more offices may be held by the same individual.
      Each officer shall act in the name of the Company and shall have such duties and responsibilities
      as may be assigned to him or her by the Manager. Each officer shall hold office until his or her


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     successor shall have been duly elected and shall have qualified or until his or her death or until he
     or she shall resign or shall have been removed by the Manager. The appointment as an officer or
     agent shall not create any contractual rights or entitlements for the individual holding such
     position.

            7.5      Compensation of the Managers and Officers; Contracting with Affiliates. The
     Manager and the officers of the Company shall be compensated by the Company and Owners. The
     Manager may, on behalf of the Company or Owners, contract with Affiliates of the Members to
     provide services to the Company or Owners. Notwithstanding the foregoing , the following fees
     payable to either the Sponsor or its designees or Affiliates are deemed reasonable, pre-approved,
     within the Sponsor' s sole discretion and do not require the consent of any other Member: (i) a
     developer' s fee of Two Million Seven Hundred And Fifty Thousand Dollars ($2,750,000) paid pro
     rata monthly over no less than twenty four (24) months; (ii) an acquisition fee equal to Four
     Hundred Thousand Dollars ($400,000) paid at closing; (iii) a marketing fee of Two Hundred And
     Eighty Two Thousand Dollars ($282,000) paid as billed for services; (iv) a loan guarantor fee to
     be determined on any recourse loan for acquisition, construction, and or permanent financing not
     to exceed three percent (3%) of the guaranteed amount; and (v) a property management fee of four
     percent (4%) of gross revenue.

              7.6    Removal of Manager. At a meeting called expressly for that purpose, a Manager
     may be removed, by the affirmative vote of all Members (excluding the Sponsor), but only in the
     event of any of the following (each a "Removal Action"): (i) a material breach of this Agreement
     (but expressly excluding failure to make an Additional Capital Contribution) on the part of such
     Manager (either as a Manager or as a Member), which breach shall continue uncured for thirty
     (30) calendar days after the giving of written notice thereof to such Manager by a Member
     specifying the nature of such breach or, if more than thirty (30) days is reasonably required to cure
     such breach and if the defaulting Manager commences to cure within the original thirty (30) day
     cure period and diligently continues to cure such breach, such additional time as is reasonably
     necessary to cure the breach not to exceed an additional thirty (30) days; (ii) fraud, gross
     negligence or willful misconduct on the part of such Manager in management of the business or
     affairs of the Company; (iii) Bankruptcy of such Manager; (iv) willful misappropriation of
     Company funds by the Manager; (v) the transfer of a Membership Interest or a direct or indirect
     ownership interest in the Manager in violation of this Agreement and which results in a declared
     default by the Company pursuant to any loan agreement or similar document by which the
     Company is bound. The removal of a Manager who is also a Member shall not affect the
     Manager' s rights as a Member and shall not constitute a withdrawal of the Manager as a Member.
     In the event that the Manager is removed, a new Manager shall be chosen by the majority vote of
     all Members. The Member affiliated with the Manager potentially being removed shall have the
     right to vote on removal and on the selection of a new Manager notwithstanding its affiliation with
     the Manager.




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                                           ARTICLE 8
                            LIMITED LIABILITY AND INDEMNIFICATION

              8.1     Limited Liability. Except as may otherwise be required by applicable law and as
      expressly set forth in this Agreement, no Member shall have any personal liability whatsoever in
      such Member's capacity as a Member of the Company, whether to the Company, to any other
      Member, to the creditors of the Company or to any other third party, for the debts, liabilities,
      commitments or any other obligations of the Company or for any losses of the Company, except
      to the extent such Member affirmatively obligates itself in a valid written instrument to be a
      guarantor or similar accommodation party for such debts or obligations. No Member shall be
      obligated to make Capital Contributions or any other payments to or for the benefit of the Company
      except as expressly required by this Agreement. The failure of the Company to observe any
      formalities or requirements relating to the exercise of its powers or the management of its business
      or affairs under this Agreement or the Act shall not be grounds for imposing personal liability on
      the Members for liabilities or obligations of the Company. Except as otherwise expressly required
      by law, each Member, in such Member' s capacity as such, shall have no liability in excess of (a)
      the amount of such Member' s net Capital Contributions, (b) such Member' s share of any assets
      and undistributed profits of the Company and (c) the amount of any distributions required by the
      Act.

               8.2     Indemnification. Subject to the limitations and conditions as provided in this
      Article 8, each Person ("Indemnitee") who is made a party or is threatened to be made a party to
      or is involved in any threatened, pending or completed claim, action, suit or proceeding, whether
      civil, criminal, administrative or arbitrative (a "Proceeding"), or any appeal in such a Proceeding
      or any inquiry or investigation that could lead to such a Proceeding, by reason of the fact that the
      Indemnitee was, at the time of the incident giving rise to the Proceeding, a Member, Manager or
      Guarantor of the Company, shall be indemnified by the Company against judgments, penalties
      (including without limitation excise and similar taxes and punitive damages, but not including
      penalties and taxes imposed on responsible persons for failure to deposit withheld taxes unless
      such responsible person acted in good faith with respect to such failure) , fines , settlements and
      reasonable expenses (including, without limitation, attorneys ' fees) actually incurred by the
      Indemnitee in connection with such Proceeding; provided that the Indemnitee acted in good faith
      and in a manner the Indemnitee reasonably believed to be in or not opposed to the best interests of
      the Company (and, with respect to any criminal action or proceeding, had no reasonable cause to
      believe the conduct in question was illegal); and, provided further, that such conduct does not
      constitute fraud, gross negligence or willful misconduct. The Company' s indemnification
      obligations under this Article 8 shall continue as to a Person who has ceased to serve in the capacity
      that initially entitled such Person to be considered an Indemnitee. No amendment, modification or
      repeal of this Article 8 shall have the effect of limiting or denying any such rights with respect to
      actions taken or Proceedings arising prior to any amendment, modification or repeal. In the event
      of any claim with respect to which the Company is obligated to indemnify a Member, Manager or
      officer under this Section 8.2, the Indemnitee must give the Company prompt written notice of all
      such claims and tender the defense thereof to the Company, to be managed and resolved as the
      Company determines appropriate, except that no settlement thereof can constitute an admission of
      liability by the Indemnitee without such Person's written consent, which may not be unreasonably
      withheld, conditioned, denied or delayed.



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             8.3     Advancing Expense Payments. Reasonable expenses (including reasonable legal
     fees and court costs) incurred by an Indemnitee in connection with a Proceeding, including those
     incurred in attempting to challenge, dispute or settle a claim or charge prior to the commencement
     of any formal proceedings, shall be advanced by the Company prior to the final disposition of the
     Proceeding; provided that the Indemnitee and the Company shall first enter into an agreement
     containing a commitment by the Indemnitee to immediately repay such amount if it shall be
     determined that the Indemnitee was not entitled to be indemnified as authorized in Section 8.2.

             8.4      Non-exclusivity of Rights. The right to indemnification and the advancement and
      payment of any reasonable expenses conferred in this Article 8 shall not be exclusive of any other
      right which a Member, Manager, officer or other Person indemnified under this Article 8 may have
      or hereafter acquire from any other source.

              8.5    Insurance. The Manager may cause the Company to purchase and maintain
      reasonable amounts of insurance, at the Company' s expense, to protect any Person who is entitled
      to be indemnified under this Article 8.

             8.6     Savings Clause. If this Article 8 or any portion hereof shall be invalidated on any
      ground by any court of competent jurisdiction, the indemnity obligations set forth in any applicable
      portion of this Article 8 that shall not have been invalidated shall apply to the fullest extent
      permitted by applicable law.

                                    ARTICLE 9
            BOOKS OF ACCOUNT AND REPORTS; ACCESS TO RECORDS; REPORTING
                                  REQUIREMENTS

             9.1     Books and Records. The Manager shall keep, or cause to be kept, at the principal
     office of the Company, true and correct books of account, in which shall be entered fully and
     accurately each and every transaction of the Company. Such books and records shall be maintained
     in accordance with sound usual business practices. Each Member or its designated agent shall have
     access at any time to inspect the Company ' s books of account at any time and for any purpose,
     and all other information concerning the Company and to make copies thereof at such Member' s
     expense.

             9.2     Banking. All funds of the Company shall be deposited in its name in such federally
     insured commercial banks or in such federally insured saving and loan account or accounts, in
     such U.S. Treasury obligations, or in such bank certificates of deposit, as the Manager selects. All
     funds of the Company shall only be used for Company purposes as provided in this Agreement
     and in accordance with the terms hereof. All Capital Contributions, advances and loans made to
     the Company by the Members, and all other receipts, refunds and payments to or credits for the
     benefit of the Company whatsoever, shall be deposited into the Company' s accounts. All checks
     written on said account will be signed by duly authorized agents designated by the Manager.

              9.3     Reporting Requirements . The Manager shall cause the Company to provide the
      Members within one hundred twenty ( 120) days after the end of each Fiscal Year, and within forty-
      five (45) days after each calendar quarter, an internal financial report, which shall include a balance




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     sheet dated as of the end of such period and the related statements of operations and changes in
     financial position for the period then ended.

             9.4     Appointment of Partnership Representative. The Sponsor shall have the sole
     authority to act on behalf of the Company as the "Partnership Representative" under subchapter C
     of Chapter 65 of subtitle A of the Code or in such other operative role as set forth by the Code
     ("Partnership Representative"). The Partnership Representative shall keep the Members
     informed of all administrative and judicial proceedings and shall furnish to each Member that
     requests in writing, a copy of each notice or other communications received by the Partnership
     Representative from the IRS . The Partnership Representative shall make a timely election provided
     by Section 6226 of the Code with respect to any notice of final partnership adjustment and each
     Member agrees to take such Member' s adjustment into account in accordance with the provisions
     of Section 6226 of the Code. All references in this section to the Code are as amended by the
     Bipartisan Budget Act of 2015. All costs and expenses incurred by the Partnership Representative
     in the performance of its duties and privileges set forth in this Section 9.4 shall be borne by the
     Company.

             9.5     Member Returns. Each Member shall file tax returns consistent with the
      partnership tax characterization of the Company.

                                                ARTICLE 10
                                                TRANSFERS

             10. 1 No Right to Transfer. Each Member agrees that it will not, directly or indirectly
     and whether by operation of law or otherwise, Transfer all or any part of its Membership Interest
     without the Manager' s written approval, not to be unreasonably withheld, conditioned or delayed .
     Any Transfer of direct or indirect majority ownership or effective control over a Member shall be
     treated as a Transfer of a Membership Interest under this section. Any Transfer or attempt to
     Transfer in violation of this Section 10.1 shall be null and void and of no force or effect whatsoever.
     Each Member acknowledges that access to capital, market knowledge and reputation are material
     to the business and purposes of the Company, and that an unauthorized Transfer of Membership
     Interests could create a substantial hardship for the other Member and the Company. The Members
     agree that the restrictions upon Transfer are not intended as a penalty, but as a method to protect
     and preserve the relationship of the Members and to protect the Company' s ability to continue to
     operate in the manner contemplated by the Members. Each Member acknowledges the
     reasonableness of the restrictions on Transfer imposed by this Agreement in view of the Company
     purposes and the relationship of the Members. Accordingly, the restrictions on Transfer contained
     in this Section 10.1 shall be specifically enforceable, without any requirement to post a bond or
     other security. Each Member further agrees to hold the Company and each Member (and each
     Member' s successors and assigns) wholly and completely harmless from any cost, liability, or
     damage (including, without limitation, liabilities for income taxes and costs of enforcing this
     indemnity) incurred by any of such indemnified Persons as a result of a Transfer or an attempted
     Transfer in violation of this Agreement. Without in any way limiting the foregoing, in the event
     of a Transfer in violation of this Section, all voting rights appurtenant to any Transferred
     Membership Interest shall be suspended until such time as the Transferred Membership Interest is
     once again owned by a Member who is a party to this Agreement or a permitted transferee under
     this Agreement. Notwithstanding any contrary provision herein, any Transfer of Membership


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      Interests held by URBIN, LLC which would result in URBIN, LLC holding less than thirty-five
      (35%) percent of all outstanding Percentage Interests in the Company must be approved by an
      affirmative vote of Members holding at least seventy (70%) percent of all outstanding
      Percentage Interests in the Company.


                  10.2   Permitted Transfers to Certain Affiliates.

                         (a)      Notwithstanding Section 10.1 , a Member shall have the right to voluntarily
               Transfer its Membership Interests, without the Manager' s approval, if such transfer is (i)
               pursuant to a good faith plan designed to accomplish legitimate tax planning, estate planning
               or asset protection goals and to an Affiliate of the transferring Member and those individuals
               with control over the Member prior to the Transfer have control over the transferee after the
               Transfer, or (ii) to one or more of the other Members or an Affiliate of a Member.

                         (b)    Notwithstanding the foregoing, no Transfer shall be permitted if: (i) the
               effect thereof would be to cause the termination of the Company for income tax purposes or
               violate any covenants to which the Company or the Owners are bound; or (ii) such Transfer
               would prevent any Member from qualifying under the QOZ Rules or would be reasonably
               expected to result in a failure to comply with QOZ Compliance Requirements.

                         (c)    As a further condition of any such Transfer, any such permitted Transferee
               shall sign a counterpart of this Agreement and affirmatively agree to be bound by the terms
               and conditions hereof. Any Transfer of an Interest permitted under this Agreement shall
               entitle the Transferee to be only an "assignee" within the meaning of the Act, and such
               Transferee shall have none of the rights and privileges of a Member under this Agreement or
               the Act, and shall have no right to participate in any Member votes. The Transferee may
               become a substituted member of the Company with respect to the Interest only with the
               Manager' s approval and after satisfying such other terms and conditions as may be
               established by the Manager.

                         (d)     Transfer of direct or indirect majority ownership or control of a Member
               shall be treated as transfer of a Membership Interest under this section.

                                            ARTICLE 11
                              CORPORA TE OPPORTUNITIES; DISSOLUTION

              11.1 Corporate Opportunities . Because the Company ' s business is limited to the
      Property and the Business, it is agreed that the Company has no other business opportunities. It is
      further agreed that any Member or Manager is free to pursue any other business opportunities that
      arise, even if they compete with the Property or the Business.

                  11.2   Dissolution.

                         (a)    The Company shall be dissolved only upon the occurrence of any of the
                  following events:




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                                    (i)     the sale, transfer or other disposition of all or substantially all of the
                            assets of the Company;

                                    (ii)   at any time there are no Members; provided, however, the Company
                            will not be dissolved if one or more successor Members are admitted into the
                            Company within the time period and according to the other terms provided in the
                            Act for continuing the Company in such an event; or

                                    (iii)   judicial dissolution in accordance with the Act.

                         (b)     Notwithstanding the dissolution of the Company, prior to the complete
                 winding up and termination of the Company' s existence, the business of the Company and
                 the affairs of the Members shall continue to be governed by this Agreement in order to
                 wind-up and liquidate the Company' s business and affairs in compliance with the Act.

                     11.3   Winding Up, Liquidation and Distribution of Assets.

                       (a)    A Person selected by the Manager shall wind-up the Company ' s affairs (a
                 "Liquidating Trustee").

                          (b)    Upon dissolution, an accounting shall be made of the Company' s assets,
                 liabilities and operations, from the date of the last previous accounting until the date of
                 dissolution. The Liquidating Trustee shall immediately proceed to wind-up the affairs of
                 the Company.

                        (c)    If the Company 1s dissolved and its affairs are to be wound up, the
                 Liquidating Trustee shall:

                                    (i)    sell or otherwise liquidate all of the Company's assets as promptly
                            as practicable (except to the extent the Manager may determine to distribute any
                            assets to the Members in kind) ;

                                    (ii)  allocate any Profit or Loss resulting from such sales to the Members'
                            Capital Accounts in accordance with the provisions of this Agreement;

                                    (iii)  discharge all liabilities of the Company, including liabilities to
                            Members who are creditors of the Company to the extent permitted by law, and
                            establish any necessary Reserves; and

                                   (iv)      distribute the remaining assets to the Members in accordance with
                            Section 5.1(b ).

                      (d)    Notwithstanding anything to the contrary in this Agreement, if any Member
      has a deficit balance in its Capital Account (after giving effect to all contributions, distributions,
      allocations and other Capital Account adjustments for all taxable years, including the year during
      which such liquidation occurs), such Member shall have no obligation to make any Capital
      Contribution, and the deficit balance shall not be considered a debt owed by such Member to the
      Company or to any other Person for any purpose whatsoever.


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                                (e)    Upon completion of the winding up, liquidation and distribution of the
                        assets of the Company, the Company shall be deemed terminated.

                                 (f)   The Liquidating Trustee shall comply with all requirements of applicable
                        law pertaining to the winding up of the affairs of the Company and the final distribution of
                        its assets.

              11.4 Articles of Dissolution ; Post Dissolution Actions. Articles of Dissolution shall be
      executed by one or more authorized Persons as provided by the Act, and filed with the Department
      of State of Florida, at such time the Liquidating Trustee determines is required under the Act. The
      Liquidating Trustee shall have authority to distribute any Company property discovered after
      dissolution, convey real estate and take such other action as may be necessary on behalf of and in
      the name of the Company, in the manner provided in the Act.

              11.5 Other Company Obligations; Nonrecourse to Other Members. Each Member
      shall look solely to the assets of the Company for payments due under this Agreement upon the
      dissolution and liquidation of the Company, including fees and other compensation payable by the
      Company hereunder. If the Company property remaining after the payment or discharge of the
      debts and liabilities of the Company is insufficient to make such payments, the Members so
      affected shall have no recourse against any other Member.

                                                        ARTICLE 12
                                                      MISCELLANEOUS

             12.1 Successor Agencies, Laws . Any reference in this Agreement, by name or number,
      to a governmental department, agency, statute, law, regulation, program or forum shall include
      any successor or similar department, agency, statute, regulation, program or forum.

              12.2 Notices. All notices, demands or other communications to be given or delivered
      under or by reason of this Agreement shall be in writing and shall be deemed to have been given
      when delivered personally to the recipient, or when sent to the recipient by reputable overnight
      courier service with a reliable delivery tracking system (charges prepaid). Such notices, demands
      and other communications shall be sent to the Company at its principal offices, and to each
      Member at the address set forth in Exhibit A for such Member or such other address as such
      Member or the Company may hereafter specify by notice to the others delivered in accordance
      with the provisions of this Section 12.2. All approvals under this Agreement shall be given in
      writing.

               12.3 Governing Law. All questions concerning the internal affairs of the Company, the
      liabilities and obligations of the Members and Manager, the construction, validity, and
      interpretation of this Agreement, and the performance of the obligations imposed by this
      Agreement, shall in each case be governed by the Act and any other applicable substantive laws
      of the State of Florida, without regard to any of its choice of law provisions to the contrary.

             12.4 Successors. Except as herein otherwise specifically provided, this Agreement shall
      be binding upon and inure to the benefit of the parties hereto and their heirs, personal
      representatives, successors and assigns.



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              12.5 Usage. Wherever from the context it appears appropriate, each term stated in either
      the singular or the plural shall include the singular and the plural, and pronouns stated in either the
      masculine, the feminine or the neuter gender shall include the masculine, feminine and neuter.

              12.6 Captions Not Part of Agreement. Captions contained in this Agreement are
      inserted only as a matter of convenience and in no way define, limit or extend the scope or intent
      of this Agreement or any provisions hereof.

              12.7 Severability. If any provision of this Agreement or the application of such
      provision to any Person or circumstances shall be held invalid, the remainder of the Agreement,
      or the application of such provision to Persons or circumstances other than those to which it is held
      invalid, shall not be affected thereby.

              12.8 Counterparts. This Agreement may be executed in several counterparts (including
      by means of electronic signature pages), each of which shall be deemed an original and all of which
      shall constitute one and the same instrument.

             12.9 Exhibits. All exhibits attached to this Agreement and referred to herein are hereby
      incorporated by reference as if fully set forth herein.

              12.10 Entire Agreement and Amendment. This Agreement constitutes the entire
      agreement ,among the parties pertaining to the subject matter hereof and supersedes all prior
      agreements and understandings pertaining thereto . No covenant, representation or condition not
      expressed in this Agreement shall affect or be deemed to interpret, change or restrict the expressed
      provisions hereof. This Agreement constitutes the sole and exclusive "operating agreement" of the
      Company for purposes of the Act. The Manager shall have the right to make non-material
      amendments this Agreement without Member consent in order to implement the reasonable
      requirements of a lender, provided that such amendments do not materially or adversely impact
      the rights of the Members, but all other amendments must be approved by all Members .

              12.11 Further Assurances. Each Member shall execute and deliver all certificates and
      other documents and shall do all such filing , recording, publishing and other acts as the Manager
      deems appropriate to comply with the requirements of law for the formation and operation of the
      Company and to comply with any laws, rules, and regulations relating to the acquisition, operation,
      or holding of the property of the Company. Each Member shall execute and deliver any and all
      such other and additional instruments and documents and do any and all such other acts and things
      as may be reasonably necessary or expedient to more fully effectuate this Agreement and carry on
      the business contemplated hereunder.

              12.12 No Third-Party Rights. Except as expressly provided in this Agreement, the
      provisions of this Agreement are for the exclusive benefit of the Company and the Members, and
      no other Person (including, without limitation, any creditor of the Company) shall have any right
      or claim against the Company or any Member by reason of those provisions or be entitled to
      enforce any of those provisions against the Company or any Member.

             12.13 Construction. The parties have participated jointly in the negotiation on drafting
      this Agreement. In the event an ambiguity or question of intent or interpretation arises, this
      Agreement shall be construed as if drafted jointly by the parties and no presumption or burden of


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      proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
      provisions of this Agreement. There shall be no presumption that this Agreement was drafted by
      or on behalf of any one Member and, therefore, ambiguities shall not be construed against any
      particular Member.

              12.14 Waivers. No failure by any party to insist upon the strict performance, duty,
      agreement, or condition hereof or to exercise any right or remedy upon breach thereof shall
      constitute a waiver of any such breach of such or any other covenant, agreement, term or condition.
      Any party hereto, by notice pursuant to this Agreement, may, but shall be under no obligation to,
      waive any of its rights or any conditions to its obligations hereunder, or any duty, obligation or
      covenant with any other party. No waiver shall affect or alter the remainder of this Agreement but
      each and every covenant, agreement, term and condition hereof shall continue in full force and
      effect with respect to any other then existing or subsequent breach.

             12.15 Authority. Each Person signing this Agreement in the capacity as an agent of a
      business organization or other entity represents to the others and to the Company that he or she,
      and such organization and entity, has been duly authorized to execute and deliver this Agreement
      by and through such signing Person.

              12.16 Litigation . In the event of Litigation, the parties (a) agree that suit must be
      exclusively brought in the federal or state court courts situated in Miami-Dade County, Florida;
      (b) irrevocably and unconditionally consent to the exclusive jurisdiction of each such court in any
      such suit, action or proceeding; (c) waive any objection which any party may have to the laying of
      venue of any such suit, action or proceeding in any of such courts; (d) agree that service of any
      court paper may be effected on a party by mail, as provided in Section 12.2 hereof, or in such other
      manner as may be provided under applicable laws or court rules; (e) AGREE THAT THERE
      SHALL BE NO RIGHT TO AND NO PARTY SHALL MAKE DEMAND FOR TRIAL BY
      JURY, ALL RIGHTS THERETO BEING IRREVOCABLY WAIVED BY THE PARTIES; (f)
      recognize that irreparable injury will result from a breach of any provision of this Agreement and
      that money damages may not be an adequate remedy, as a result of which, the parties agree that
      the court shall liberally grant injunctive relief and specific performance where appropriate and
      hereby waive any right they may have to seek or require the moving party to post a bond or
      security; and (g) agree that Prevailing Party Attorney ' s Fees shall be awarded by the court against
      all non-prevailing parties. In no event shall any Member initiate Litigation against the Company
      or the Manager or any of the Manager' s Affiliates without first making a demand upon all Persons
      it intends to join as parties to such Litigation to participate in non-binding mediation before a
      Person certified in such mediation under Florida law. All parties to this Agreement agree to
      participate in any such mediation, if and when demanded, on a prompt basis and in good faith,
      failing which, the Person refusing to do so shall be precluded from asserting any claim or defense
      in the Litigation.

             12.17 Legal Counsel. Legal counsel for a Member or one of its Affiliates may be selected
      by the Manager to represent the Company in connection with future matters. Each Member
      recognizes and acknowledges that any such counsel will be acting as legal counsel for the
      Company with respect to each such matter and not acting as the legal counsel of any individual
      Members. Each Member acknowledges that in the event of any future dispute or litigation between
      or among the Members and/or between any of the Members and the Company, such counsel may


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      continue to represent its Member client, notwithstanding any such dispute and its representation
      of the Company.

               12.18 Additional Members. As a condition precedent to any Person being admitted as a
      substitute, additional or successor Member of the Company, the Person must execute a counterpart
      to this Agreement (as amended) in form acceptable to the Manager and agree to be bound by all
      of the terms and provisions hereof; provided, however, that no such counterpart shall be binding
      until the provisions of Article 10, as applicable, shall have been satisfied.

              12.19 Confidentiality. Except as required in the normal conduct of a Member' s or
      Manager' s business or by law or court process, no Member or Manager, without the written
      approval of the other Members, during continuance of the Company or after its termination shall
      at any time during the term of this Agreement or thereafter divulge to any person not a Member or
      Manager, other than its attorneys, accountants, employees and professional advisers, any
      information concerning the business of the Company or the content of this Agreement or any other
      contract or agreement entered into by the Company. A Member or Manager may, however,
      disclose to third parties the existence of the Company and the names of the Members.

             12.20 Accredited Investor, KYC and Related Representations. All Non-Voting
      Members hereby represent that they are an "accredited investor," as defined in Rule 50l(a) of
      Regulation D promulgated under the Securities Act, and further represent the following, all of
      which may also be specifically relied upon by any lender to the Company:

             (a)    Such Member is acquiring its Membership Units for its own account for, and for
      investment purposes only and not with a view to or for sale in connection with any distribution of
      such Membership Units;

              (b)      Such Member understands that the Membership Units have not been registered
      under any federal and state securities laws, in part based on representations made by such Member,
      and such Membership Unit cannot be resold, transferred or otherwise disposed of unless it is
      registered as required by federal law and all applicable state laws, or an exemption from
      registration is available therefrom;

             (c)     Such Member understands that the Company is not obligated to register the
      Membership Units for resale under the Securities Act or applicable federal or state securities laws
      and that the Company is not obligated to supply such Member with information or assistance in
      complying with any exemption under the Securities Act or applicable federal or state securities
      Laws;

              (d)    Such Member, by reason of its business or financial experience, has the capacity to
      protect its own interest in connection with the transaction and to evaluate the merits and risks of
      the proposed investment;

              (e)    Such Member (i) has received all information that such Member deems necessary
      to make an informed investment decision with respect to an investment in Membership Units ; (ii)
      has had the unrestricted opportunity to make such investigation as such member desires pertaining
      to the Company and an investment in Membership Units and to verify any information furnished



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     to such Member; and (iii) has had the opportunity to ask questions of representatives of the
     Company concerning the Company and such Membership Units;

             (f)     Such Member is financially able to bear the economic risk of the investment in
      Membership Units for an indefinite period of time and has no need for liquidity in this investment.
      Furthermore, the financial capacity of such Member is of such a proportion that the total costs of
      such Member's investment in Membership Units is not material when compared with such
      Member's total financial capacity; and

              (g)      Such Member acknowledges that the Company is not registered as an investment
      company under the Investment Company Act. Therefore, such Member represents and warrants as
      follows: (i) it has provided and will continue to provide the Manager with any and all information
      the Manager requested to assist the Manager in determining the number of beneficial owners of
      such Member's Membership Units; (ii) shareholders, members, and other holders of equity or
      beneficial interests in such Member, if applicable, are not able to individually decide whether to
      participate or the extent of their participation in such Member's investment in the Company (i.e.,
      such shareholders, members, and other holders of equity or beneficial interests cannot determine
      whether their capital will form part of the capital invested by such Member in the Company); (iii)
      if such Member is Controlled by or under common Control with any other member or believes that
      such a relationship exists, such Member has identified or will inform the Manager of such
      relationship; (iv) such Member is not exempt from registration as an investment company pursuant
      to Sections 3(c)(l) or 3(c)(7) of the Investment Company Act; and (v) if any Person will have a
      beneficial interest in the Membership Units to be acquired hereunder other than such Member
      (other than as shareholder, member, or other holder of equity or beneficial interests therein), such
      Member has provided or will provide to the Manager any and all information the Manager requests
      relating to the owner of such beneficial interest.

            (h)     Neither the applicable Member nor any of its investors, subsidiaries, affiliates,
      owners, shareholders, partners, members, indernnitors, guarantors or related persons or entities:

                     l)   is a Sanctioned Person (as defined below);
                     2)   has more than fifteen percent (15%) of its assets in Sanctioned Countries (as
                          defined below); or
                     3)   derives more than fifteen percent (15%) of its operating income from
                          investments m, or transactions with Sanctioned Persons or Sanctioned
                          Countries.

               For purposes of the foregoing, a "Sanctioned Person" shall mean (i) a person named on the
      list of "specially designated nationals" or "blocked persons" maintained by the U.S. Office of
      Foreign Assets Control ("OF AC") at http://www.treasury.gov/resource-center/sanctions/SDN-
      List/Pages/default.aspx, or as otherwise published from time to time, or (ii) an agency of the
      government of a Sanctioned Country, an organization controlled by a Sanctioned Country, or a
      person residing in a Sanctioned Country, to the extent subject to a sanctions program administered
      by OF AC. A "Sanctioned Country" shall mean a country subject to a sanctions program identified
      on the list maintained by OFAC and available at http ://www.treasury.gov/resource-
      center/sanctions/SDN-List/Pages/default.aspx, or as otherwise published from time to time.




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               (i)    In addition to the foregoing representations, upon the request of any financial
      institution with which the Company or its Affiliates are seeking to establish a banking relationship
      of any kind, the applicable Member agrees to promptly provide identification and all other
      information reasonably related to such institution's "know your customer" policies

            IN WITNESS WHEREOF, the undersigned Members have executed this Operating
      Agreement ofURBIN Coconut Grove Partners, LLC:

                                           [signatures on next page]




                                                                                                             /




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                      [signature page for Operating Agreement of URBIN Coconut Grove Partners, LLCJ



         COMPANY :

         URBIN Coconut Grove Partners, LLC:

            URBIN, LLC:



               By:~ # : :
               Name: Rishi Kapoor
               Title: Manager



         SPONSOR:


         URBIN, LLC:



         By: _ ~
         Name:  Rishi Kapoor
         Title: Manager




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             URBrN, LL :



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         URBI              LL



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                      [signatun page for Operating A.greement of URBIN Coconur Grove Partners. UC)



      COMPANY:

      URBlN Coconut Grove 'Partners, LLC:

         URBIN_. LLC:



            By: _ _ _ _ _ _ _ _ _ __
            Nam~----------
            Title:
                      ----------
      SPONSOR:


      URBIN,LLC:



      By: _ _ _ _ _ _ _ _ _ __
      Name:
      Title:          ----------
                ----------




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              [signature page for Operating Agreement of URBJN Coconut Grove Partners, LLC]




      COMPANY :

      Urbin Coconut Grove Partners, LLC:

        Urbin, LLC:



         By:-----------
         Name:
                 ----------
         Tit le: - - - - - - - - - - -


      SPONSOR:


      Urbin, LLC:



      By: _ _ _ _ _ _ _ _ __
      Name: - - - - - - - - - -
      Tit Ie: - - - - - - - - - -
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                COMPA

                 rbin oconut Grove Partners, LLC:

                 Urbio. LL :



                   By: _ __ _ _ __ __
                    arne: _ _ _ _ _ _ _ __
                   Title: _ _ __ __ _ _ _




                UrbLn, LLC:



                By: _ _ __ _ __ _ _
                Name: _ __ _ _ _ __ _
                Tit lc: _ _ _ __ __ __
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               [signature page for Operating Agreement of URBIN Coconut Grove Partners, LLC]



       COMPANY:

       Urbin Coconut Grove Partners, LLC:

        Urbin, LLC:



          By:-----------
          Name: - - - - - - - - - - -
          Title: - - - - - - - - - - -


       SPONSOR:


       Urbin, LLC:



       By: _ _ _ _ _ _ _ _ __
       Name: - - - - - - - - - -
       Tit Ie:
            ----------
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                       [signature page for Operating Agreement of URBJN Coconut Grove Partners, LLC]




             COMPANY:

             Urbin Coconut Grove Partners, LLC:

                Urbin, LLC:



                 By:
                       ------------
                 Name: - - - - - - - - - - -
                 Title:
                        -----------

             SPONSOR:


             Urbin, LLC:



             By: - -- - - - - - - - --
             Name:
                    -----------
             Title:
                    -----------
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                                                 EXHIBIT A

                                            Schedule of Members
                                          (as of the Effective Date)



           Name/ Address of Member        Initial Capital ($US)    Membership Units   Percentage Interest




       Urbin, LLC
       299 A Iham bra Circle, Suite 510
       Coral Gables, FL 33 134                $4,200,000               4,200,000             35%
       Email: rkapoor@location.ventures




                                              $4,3 00,000              4,300,000           35 .833%




                                               $500,000                500,000              4.67%




                                               $300,000                300,000               2.5%




                                               $250,000                 250,000             2.083%




                                                                                            3.75%
                                               $450,000                 450,000
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                                   $300,000          300,000           2.5%




       Vieden Grove OZ, LLC
       5501 Hammock Drive                                             9.167%
       Coral Gables, FL 33156     $1 , 100,000      1, 100,000




                                                                       5%
                                   $600,000          600,000
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                                          EXHIBIT B - DEFINITIONS

             The following terms used in this Agreement shall have the following meanings (unless
      otherwise expressly provided in this Agreement), with the understanding that the Agreement may
      contain defined terms that are not included in the below list:

              "Act" means the Revised Limited Liability Company Act, Florida Statutes, Chapter 605 ,
      as the same may be amended.

              "Affiliate" means as to any Person, any other Person that is in Control of, is Controlled by,
      or is under common Control with such Person and/or is a Managers, officer or director of such
      Person or of an Affiliate of such Person, and/or is related by blood, adoption or marriage to any
      such Person or is a trust for the benefit only of one or more of such relatives .

             "Agreement" means the Operating Agreement to which this Exhibit is attached, as the
      Operating Agreement may be amended from time to time.

             "Approved Budget" refers to any budget for the Company or its subsidiaries that has been
      approved as a Major Decision or otherwise amended by the Manager as permitted pursuant to this
      Agreement. The initial Approved Budget is attached to this Agreement as Exhibit D.

              "Bankruptcy" means with respect to any Person: (a) an assignment by such Person for the
      benefit of creditors or an admission in writing by such Person of an inability to pay its debts
      generally as they become due: (b) the entry of an order, judgment or decree adjudicating such
      Person bankrupt or insolvent; (c) the petition or application by such Person to any tribunal for the
      appointment of a custodian, trustee, receiver or liquidator of such Person or of any substantial part
      of its assets; (d) the commencement of any proceeding (or the entry of any order for relief) with
      respect to such Person or its debts under any bankruptcy, reorganization, arrangement, insolvency,
      readjustment of debt, dissolution or liquidation law of any jurisdiction; or (e) the filing of any such
      petition or application or the commencement of any such proceeding against such Person and
      either (i) such Person by any act indicates its approval thereof, consent thereto or acquiescence
      therein or (ii) such petition, application or proceeding is not dismissed within sixty (60) days.

                 "Business" has the meaning set forth in Section 2.1.

           "Capital Account" means the amount calculated and maintained by the Company for each
      Member pursuant to Section 4.1.

             "Capital Contribution" means any contributions made to the capital of the Company
      pursuant to Article 4 by the Members or any class of Members or any one Member, as the case
      may be (or the predecessor holders of the Interests of such Members).

              "Capital Transaction" means any transaction not in the ordinary course of business which
      results in the Company' s receipt of cash or other consideration (other than Capital Contributions
      or Member Loans or loan proceeds intended for a specific purpose, as determined by the Manager),
      including, without limitation, proceeds of sales or exchanges or other dispositions of property not
      in the ordinary course of business, financings, refinancings, condemnations, recoveries of damage
      awards, and insurance proceeds.


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                 "Class A Member" is a Member that owns Class A Membership Units.

                 "Class B Member" is a Member that owns Class B Membership Units.

                     "Class A Membership Units" have the meaning set forth in Section 3.1 .

                 "Class B Membership Units" have the meaning set forth in Section 3 .1.

               "Code" shall mean the Internal Revenue Code of 1986, as amended and as it may be
      further amended from time to time, together with the Regulations promulgated thereunder.

             "Company" has the meaning given in the heading to this Agreement. A copy of the current
      organizational chart of the Company is attached hereto as Exhibit F.

                 "Company Minimum Gain" has the meaning set forth in Section 4.6(c)(iv).

                 "Contributing Member" has the meaning set forth in Section 4.2( d) .

              "Control" and its derivatives means the possession, directly or indirectly, of the power to
      direct or cause the direction of management, policies or activities of any Person, whether through
      ownership of voting securities, by contract or otherwise.

                 "Defaulting Member" has the meaning set forth in Section 4.2(d).

                 "Deficiency Loan" has the meaning set forth in Section 4.2( d).

              "Distributable Cash Flow" means, for any specified period, an amount equal to the gross
      cash receipts of the Company from all sources whatsoever, less all operating expenses,
      expenditures and other payments in cash actually made by the Company during such period
      (including debt service for and repayment of Member Loans), and less any Reserves set aside by
      the Company in such period. Gross cash receipts shall include cash released during such period
      from any previously established Reserves during such period. The determination of what is
      available as Distributable Cash Flow shall be made by the Manager.

                 "Distributions" refers to any payments to Members pursuant to Sections 5. l(a-d).

                 "Effective Date" has the meaning set forth in the heading of this Agreement.

            "Fiscal Year" means the calendar year or such other annual accounting period selected by
      the Manager for use by the Company.

                 "Guaranties" has the meaning set forth in Section 4.7(a).

                 "Guarantor" has the meaning set forth in Section 4.7(a).

                 "Guaranty" has the meaning set forth in Section 4.7(a).

                 "lndemnitee" has the meaning set forth in Section 8.2.



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                  "Initial Capital" has the meaning set forth in Section 4.1.

             "IRR" means internal rate of return and shall be computed in accordance with the "XIRR
      Function" of Microsoft Excel. In computing IRR, principal funded and interest received on
      Member Loans shall be disregarded.

                  "Liquidating Trustee" has the meaning set forth in Section 11 .3.

             "Litigation" means any civitproceeding that arises out of this Agreement, is related to this
      Agreement, or is related to the rights or obligations of any party or parties to this Agreement in
      connection with matters related to the Company or the Act.

              "Losses" means, with respect to any fiscal period of the Company, the net losses of the
      Company for such period for federal income tax purposes, including, as appropriate, each item of
      income, loss, deduction or credit entering into such determination, and including treating as
      deductions items of expenditures defined in Section 705(a)(2)(B) of the Code (or which are treated
      as Section 705(a)(2)(B) expenditures under Regulation Section 1. 704- I (b )(2)(iv)( i)).

      "Major Decisions" refers to any decision by the Company to take any of the following acts, all
      of which acts shall require Member Approval:

                  (i)     materially expand the Business of the Company;

                  (ii)    pay any fees or other compensation to any Affiliate of the Sponsor, other than those
                          fees and reimbursements expressly approved in this Agreement;

                  (iii)   engage in a sale of all or substantially all of the Company 's assets or a transaction
                          that involves a sale of substantially all of the equity interests in the Company; or

            (iv)    take any action or make any election that would be reasonably likely to prevent the
      Company from qualifying as a QOZB or would prevent a QOF Member (or its direct or indirect
      owners) from achieving the benefits of the QOZ Rules.

              (v)    Acquire any real or personal property or interest therein on behalf of the Company
      other than the Property, Commodore Plaza real estate already under contract as of the Effective
      Date and any personal property in the ordinary course of business.

             (vi)   Borrow money, issue evidences of indebtedness, or grant any mortgages or other
      encumbrances on or security interests in the assets of the Company, including without limitation,
      any financing or refinancing of the Property or any portion thereof, or modify, extend, renew,
      change, or prepay in whole or in part any borrowing, financing, or refinancing, or make any
      commitments to borrow funds or give any consideration to obtain a commitment for the loan of
      funds.

              (vii) Enter into or amend, modify, or terminate any agreement pertaining to the sale,
      conveyance, exchange, or other transfer of any assets of the Company, or sell, convey, exchange,
      or otherwise transfer any assets of the Company, including, without limitation, all or any portion



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     of the Property or any interest therein, other than non-material transfers of personal, tangible, or
     intangible property in the ordinary course of business.

            (viii) Enter into or amend, modify, or terminate any contract for the construction,
     development, improvement, or rehabilitation of the Property, unless with respect to any new
     contract or modification of an existing contract, no Member Approval is needed because there is
     no change to any Approved Budget that requires Member Approval.

            (ix)    Make a payment on any Member Loan or a distribution of any Distributable Cash
     Flow or distribute proceeds from a Capital Transaction to Members which, in any case, is
     inconsistent with the current Approved Budget or otherwise in contravention of this Agreement.

             (x)     Establish and Approved Budget or deviate from any Approved Budget; provided
     that, deviations from an Approved Budget will not be a Major Decision if: (i) they are collectively
     less than ten percent (10%) of Approved Budget, or (ii) they consist of allocating savings on any
     one line item to other items of Approved Budget.

             (xi)   Institution of any legal proceedings in the name of Owners, the settlement of any
     legal proceedings against Owners, or the confession of any judgment against Owners or any
     property of Owners to the extent that: (i) such legal proceedings are not in the ordinary course of
     business for Owners; (ii) either Member reasonably believes that such legal proceedings may have
     a material adverse effect upon the reputation of the Company or such Member; or (iii) the amount
     in qmtroversy, or sought by Owners or the plaintiff, is at least one hundred thousand ($100,000.00)
     Dollars.

            (xii) Make decisions or take other actions relating to litigation or tax-related matters not
     included in an Approved Operating Budget; provided that undertaking the defense of any litigation
     matter which is fully insured (other than a deductible) with a claim of less than One Hundred
     Thousand Dollars ($100,000.00) shall not be a Major Decision.

              (xiii) Establish, increase, replenish, or decrease the amount of reserves held by the
      Company, except in accordance with the applicable Budget unless required by law or pursuant to
      the terms of any financing approved by the Members.

              (xiv) Permit the Transfer of any Member's interest in the Company or admit any
      additional Members, except for Transfers permitted under Article 10.

                     (xv)   Dissolve the Company.

             (xvi) Effect a merger, conversion, consolidation, or other reorganization of the Company
      or Owners or modify or amend this Agreeme~t, any operating agreement, by-laws, articles of
      organization, or other governance documents.

              (xvii) Initiate any so called "buy/sell" or "forced sale" provision under any agreement
      (other than this Agreement) to which the Company or Owners is a party or commit on behalf of
      the Company or Owners to acquire any partnership or membership interest owned by a third party.




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             (xviii) File any voluntary petition for the Company or Owners under the United States
      Code, the Bankruptcy Act, or seek the protection of any other Federal or State bankruptcy or
      insolvency law or debtor relief statute.

             (xix) Guaranty the payment of any money, or debt of another Person, or guaranty the
      performance of any other obligation of another Person.

           (xx) Agree to any material change to accounting and related matters material to the
      Company or Owners or any material changes to accounting practices or policies.

                  (xxi)   The appointment or designation of a new Sponsor.
                  (xxii) Do any act in contravention of this Agreement.

                  "Manager" has the meaning set forth in Section 7.1.

             "Member Approval" refers to approval by Members holding at least seventy (70%)
      percent of all outstanding Percentage Interests in the Company.

             "Members" means all Persons admitted to the Company as a Member as provided herein,
      so long as they remain Members.

                  "Member Loan" has the meaning set forth in Section 4.2(a).

                  "Member Nonrecourse Deductions" has the meaning set forth in Section 4.6(c)(iii).

              "Membership Interest" means a Member's entire interest in the Company, together with
      the (i) right to inspect the Company's books and records and (ii) the right to participate in the
      management of the business and affairs of the Company, including the right to vote on, consent
      to, or otherwise participate in any decision or action of or by the Members that may granted
      pursuant to this Agreement (and the Act to the extent such voting rights are required by the Act) .
      In the case of each Member holding a Membership Interest, the quantum of such Member's
      Membership Interest relative to all other Members holding Membership Interests, including for
      purposes of voting and otherwise providing Member Approval hereunder, shall be equivalent to
      the Percentage Interest assigned to such Member in accordance with this Agreement.

             "Membership Unit" refers to a single unit of equity in the Company. As of the Effective
      Date, the Members own the number of Membership Units reflected on Exhibit A to this
      Agreement.

                  "Mezz Entity" has the meaning set forth in Section 2.1 .

                  "Nonrecourse Liabilities" has the meaning set forth in Section 4.6(c)(iv).

             "Non-Voting Members" refers to the Members that own Class B Membership Interests,
      but no Class A Membership Interests. As a matter of clarification, if a Member owns both Class
      Band Class A Membership Units, it is a Non-Voting Member only as to the Class B Membership
      Units.



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                   "Owners" has the meaning set forth in Section 2.1.

                   "Percentage Interest" has the meaning set forth in Section 3.3.

                   "Partnership Representative" has the meaning set forth in Section 9.4.

              "Person" means any individual, general partnership, limited partnership, limited liability
      partnership, limited liability company, limited liability limited partnership, corporation, joint
      venture, business trust, real estate investment trust, common law trust, or other trust, business trust,
      cooperative, association, foreign trust, foreign business organization or other enterprise (which
      term includes employee benefit plans), and their heirs, personal and legal representatives,
      successors and assigns where the context so permits.

                   "Preemptive Rights" has the meaning set forth in Section 3.4.

              "Prevailing Party Attorney's Fees" refers to the right of a prevailing party in Litigation
     to recover from the non-prevailing parties in such Litigation all "Attorneys' Fees" and all "Costs"
     actually incurred at all levels of litigation and in all courts, whether for pre-litigation, litigation,
     mediation, settlement discussions, investigation of facts and law and in all courts, including post-
     judgment, bankruptcy and those incurred establishing an entitlement to or the amount of
     Attorneys ' Fees or Costs to which the prevailing party is entitled. All Attorneys ' Fees and Costs
     actually incurred by the prevailing party (and the hourly rates charged) shall be deemed reasonable
     absent clear and convincing evidence to the contrary presented by the party opposing any award.
     There shall be no reduction in the award for Attorneys ' Fees incurred for (i) office conferences
     involving multiple attorneys (it being recognized that such conferences are necessary to coordinate
     positions taken in litigation), (ii) timesheet descriptions that are lacking in specificity, unless the
     descriptions are so vague that they cannot reasonably be determined to have been incurred in
     connection with the litigation (it being recognized that attorney billing practices are not always
     sufficiently specific to allow someone to understand exactly what was being done years later), or
     (iii) travel time (in being recognized that attorneys must travel to attend court, depositions,
     mediation and the like). In connection with the foregoing , (a) "Attorneys' Fees" shall include all
     attorneys, paralegals, law clerks and overtime charges for non-professional staff, and (ii) "Costs"
     shall include all charges for court reporters, transcripts, expert witnesses (testifying and
     consulting), travel, parking and other charges typically imposed by attorneys on their clients, none
     of which shall be limited by any uniform guidelines.

                   "Proceeding" has the meaning set forth in Section 8.2.

              "Profits" means, with respect to any fiscal period of the Company, the net profits of the
      Company for such period for federal income tax purposes including, as appropriate, each item of
      income, gain, loss, deduction or credit entering into such determination, as determined by the
      regular accountants of the Company and including income exempt from tax as described in Section
      705(a)(l)(B) of the Code.

                   "Property" has the meaning set forth in Section 2.1 .

                   "QOF" has the meaning set forth in the Recitals hereto.



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                 "QOZ" means a "qualified opportunity zone" as defined in Section 1400Z-l(a) of the
      Code.

                 "QOZ Compliance Requirements" shall have the meaning specified in Section 2.5(a).

             "QOZ Regulations" means (i) the proposed Regulations (REG-115420-18) issued by the
      IRS and United States Department of the Treasury on Oct. 19, 2018; (ii) the proposed Regulations
      (REG-120186-18) issued by the IRS and the United States Department of Treasury on April 17,
      2019, and (iii) the final Regulations (RIN 1545-BP04) issued by the IRS and the United States
      Department of the Treasury on December 19, 2019, in each case, under Section 1400Z-2 of the
      Code.

             "QOZ Rules" shall mean Sections l 400Z-1 and l 400Z-2 of the Code, and any QOZ
      Regulations promulgated thereunder, including for the avoidance of doubt the final regulations
      (TD 9889) issued on December 19, 2019.

                 "QOZB" has the meaning set forth in the Recitals hereto.

                 "QOZPI" has the meaning set forth in the Recitals hereto.

              "Regulations" means the Treasury Regulations promulgated under the Code as such
      regulations may be amended from time to time ( including the corresponding provisions of
      succeeding regulations).

                 "Regulatory Allocations" has the meaning set forth in Section 4.6(c)(vii).

             "Reserves" means payments made or amounts reasonably allocated by the Manager for
      working capital consistent with any then budget or the ordinary course of the Company and the
      Owners ' business, and to pay taxes, insurance, debt service, repairs, replacements or renewals,
      warranties, or other costs and expenses, incident to the ownership, management and operation of
      the Company and such other reasonable reserves as the Manager shall deem appropriate, including
      without limitation amounts allocated to future contingent expenditures as reasonably determined
      by the Manager.

              "Transfer" means, when used as a noun, any voluntary or involuntary sale, hypothecation,
      pledge, mortgage, encumbrance, assignment, attachment, or other transfer, or otherwise disposed
      of, and when used as a verb, means voluntarily to sell, hypothecate, pledge, mortgage, assign,
      attach, or otherwise transfer, or otherwise dispose of. "Transferred," "Transferring," "Transferor"
      and "Transferee" shall have meanings corresponding thereto .

                 "Uncontrollable Capital Contribution" has the meaning set forth in Section 4.2(b ).

                 "Working Capital Reserve" has the meaning set forth in Section 2.5(b).

                 '-        Member" refers to -              a Class B Member.




      (W0570503.2}
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                                    EXHIBIT C - THE PROPERTY

        •   3138 Commodore Plaza - Folio 01-4121-047-0130
        •   3120 Commodore Plaza - Folio 0 1-4121-047-0120
        •   3166 Commodore Plaza - Folio 01-4121-047-0070 (currently under contract)
        •   3170 Commodore Plaza - Folio 01 -4121-047-0060 (currently under contract)
        •   Condominium Property
               o Units 1C, 11, IJ, 1K, 3A, 38, 3C, 3D, 4A, 5A, 6E, 48, 4C, 4D, 4E, 4F, 4G, 4H, 58, 5C,
                   5E, 5F, 6A, 6C, 6D, 6F, 6H and 5D in the Commodore Centre Condominium
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                      EXHIBIT D - INITIAL APPROVED BUDGET
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Development Budget                                          Gross Square Footage (GSF)                 29,842
Live Site 1                                                 Rentable SF (RSF)                          23,490
URBIN Coconut Grove                                         Bedrooms/Ext. Stay Suites                   62.00

Miami, FL 33133                                             Project Length (Years)
                                 Items                                  Variables                    PerGSF          Total
Total Land Purchase Price                                   $                            88.72 $       274.78    $     8,200,000
Acquisition Fee                                                                          2.00% $         5.50    $       164,000
Ground Lease (Through Development)
Marketing & Renders                                                                      1.25% $         1.56    $           46 ,627
Builders Risk                                                                            1.00% $         1.25    $           37 ,302
Flood Insurance
General Liability Insurance                                                              1.00% $         1.25    $        37,302
Hard Cost (Blended parking/living area)                     $                           125.00 $       125.00    $     3,730 ,190
Sustainability Program                                                                           $       6.70    $       200 ,000
Hard Cost Contingency                                                                   10.00% $        12.50    $       373,019
Soft Cost Contingency                                                                    5.00% $         3.70    $       110,522
Sales Office / Model                                                                             $        -      $              -
FF&E (Common ; Units; Pool Area)                                                                 $      16.69    $       498 ,000
Developer Administration ; Project Mgt                                                           $      23 .46   $       700,000
Impact Fees                                                                                      $       3.35    $       100,000
Water & Sewer Fees                                                                               $       3.35    $       100,000
Architect; MEP & Structural Engineering                                                  4.00%   $      10.72    $       320,000
Home Technology & Lighting Design                                                                $       1.68    $        50,000
Landscape Architect                                                                              $       0.66    $        19,800
Interior Designer                                                                                $       5.03    $       150,000
Civil Engineer                                                                                   $       1.01    $        30,000
Appraisal - Loans                                                                                $       0.34    $        10,000
Real Estate Taxes (until construction complete)                                          2.00%   $       8.79    $       262 ,400
Phase 1 Environmental                                                                            $       0.17    $         5,000
Phase 2 Environmental                                                                            $        -
Soils                                                                                            $        -
Surveys (Acquisition)                                                                            $       0.34    $           10,000
Surveys (Construction)                                                                           $       1.01    $           30,000
Septic Tank - Pumpout HRS                                                                        $        -
Inspections & Testing (Third Parties+ Construction Admin)                                        $       7.44    $       222,000
Permits (City of Miami Process)                                                                  $       2.51    $        75,000
Permit Runner                                                                                    $       0.17    $         5,000
Accounting I Audits                                                                              $        -      $              -
Miscellaneous / Admin                                                                            $       0.17    $         5,000
Utilities (through development)                                                                  $       0.84    $        25,000
Purchase Title & Recording                                                               1.50%   $       4.12    $       123,000
Loan Origination Fee/Exit Fee                                                            1.75%   $      15.60    $       465,495
Legal Acquisition & Loan Closing                                                         0.30%   $       1.33    $        39 ,804
Construction Loan Interest                                                               8.00%   $      35 .09   $     1,047,279
Debt Fund Interest (In lieu of equity)                                                  15.00%   $        -      $            -
Acquisition Loan Interest (then rolled up)                                              10.00%   $      47 .17   $     1,407,552
Purchaser Interest Reserve                                                                       $      11.90    $       354,990
Total Cost                                                                                       $     635.16    $    18,954,281
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Development Budget                                                   Gross Square Footage (GSF)        48,931
Residential Site                                                     Rentable SF (RSF)                 26,930
URBIN Coconut Grove                                                  Bedrooms                           50.00
Miami, FL 33133                                                      Project Length (Years)         2.00
                            Items                                            Variables           PerGSF             Total
Total Land Purchase Price (. GF Purchase Price. Pm!. in Liew of Rent}* $                  51 .63 $ 97.52        $    4,772 ,000
Acquisition Fee                                                                           2.00% $   1.95        $       95,440
Ground Lease (Through Development)
Marketing & Renders                                                                       1.25% $        1.88   $       91 ,746
Builders Risk                                                                             1.00% $        1.50   $       73,397
Flood Insurance
General Liability Insurance                                                               1.00% $   1.50        $       73,397
Hard Cost                                                              $                 150.00 $ 150.00        $    7,339,698
Sustainability Program                                                                          $    -          $          -
Hard Cost Contingency                                                                    10.00% $ 15.00         $      733,970
Soft Cost Contingency                                                                     5.00% $   2.70        $      132,189
Sales Office / Model                                                                               $      -     $           -
FF&E (Common ; Units ; Pool Area)                                                                  $    12.77   $      625 ,000
Developer Administration ; Project Mgt                                                             $    20.44   $    1,000,000
Impact Fees (Coconut Grove Fee?)                                                                   $     2.55   $      125,000
Water & Sewer Fees                                                                                 $     2.04   $      100,000
Architect; MEP & Structural Engineering                                                            $     6.54   $      320 ,000
Home Technology & Lighting Design                                                                  $     2.35   $      115,000
Landscape Architect                                                                                $     0.40   $       19,800
Interior Designer (Gym + Common Areas + Pool Deck)                                                 $     1.53   $       75 ,000
Civil Engineer                                                                                     $     0.72   $       35,000
Appraisal - Loans                                                                                  $     0.20   $       10,000
Real Estate Taxes (until construction complete)                                           2.00%    $     2.42   $      118,447
Phase 1 Environmental                                                                              $     0.10   $        5,000
Phase 2 Environmental                                                                              $      -     $           -
Soils                                                                                              $      -     $          -
Surveys (Acquisition)                                                                              $     0.20   $       10,000
Surveys (Construction)                                                                             $     0.61   $       30,000
Septic Tank - Pumpout HRS                                                                          $      -     $          -
Inspections & Testing (Third Parties + Construction Adm in)                                        $     4.54   $     222,000
Permits (City of Miami Process)                                                                    $     3.07   $     150,000
Permit Runner                                                                                      $     1.02   $      50,000
Accounting/ Audits                                                                                 $     0.41   $      20 ,000
Miscellaneous/ Admin                                                                               $      -     $          -
Utilities (through development)                                                                    $      -     $          -
Purchase Title & Recording                                                                1.50%    $     1.46   $      71 ,580
Loan Origination Fee                                                                      1.75%    $     7.12   $     348,585
Legal Acquisition & Loan Closing                                                          0.75 %   $     1.94   $      95 ,069
Construction Loan Interest                                                                8.00%    $    15.94   $     780 ,126
Debt Fund Interest (In lieu of equity)                                                   15.00%    $      -     $          -
Acquisition Loan Interest (then rolled up)                                               10.00%    $   2.35     $      114,800
Purchaser Interest Reserve                                                                         $   7.28     $      356,048
Total Cost                                                                                         $ 370.08     $   18,108,292
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Development Budget                             Gross Square Footage (GSF)                      125,320
Office Site                                    Rentable SF (RSF)                                68,179
URBIN Coconut Grove                            Desks                                            874.00
Miami, FL 33133                                Project Length (Years)                                3.00
                    Items                                   Variables                      Per GSF              Total
Total Land Purchase Price                        $                            85 .38 $           85.38      $   10,700,000
Acquisition Fee                                                               2.00% $             1.71      $      214,000
Ground Lease (Through Development)                                                     $         13.79      $    1,728 ,182
Marketing & Renders                                                           1.25% $             2.69      $      336,798
Builders Risk                                                                 1.00% $             2.15      $      269,438
Flood Insurance                                                                        $           -        $            -
General Liability Insurance                                                  1.00% $              2.15      $      269,438
Hard Cost                                        $                          215.00 $            215 .00     $   26,943,800
Sustainability Program                                                                 $          7.98      $    1,000,000
Hard Cost Contingency                                                       10.00% $             21.50      $    2,694,380
Soft Cost Contingency                                                        5.00% $              2.59      $      324,945
Leasing Office / Model                                                                 $           -        $           -
FF&E (Common ; Units; Pool Area)                 $                      500 ,000 .00   $         19.95      $    2,500,000
Developer Administration ; Project Mgt                                                 $         19.95      $    2,500,000
Impact Fees                                                                            $          1.99      $      250 ,000
Water & Sewer Fees                                                                     $          1.99      $      250 ,000
Architect; MEP & Structural Engineering                                       4.00%    $          9.78      $    1,225 ,527
Home Technology & Lighting Design                                                      $          0.40      $       50 ,000
Landscape Architect                                                                    $          0.16      $       20 ,000
Interior Designer                                                                      $          1.60      $      200,000
Civil Engineer                                                                         $          0.16      $       20,000
Appraisal - Loans                                                                      $          0.08      $       10,000
Real Estate Taxes (until construction complete)                               2.00%    $          4.35      $      545,700
Phase 1 Environmental                                                                  $          0.04      $        5,000
Phase 2 Environmental                                                                  $             -      $              -
Soils                                                                                  $             -      $              -
Surveys (Acquisition)                                                                  $             0.04   $            5,000
Surveys (Construction)                                                                 $             0.08   $           10,000
Septic Tank - Pumpout HRS                                                              $             -      $              -
Inspections & Testing (Third Parties+ Construction Admin)                              $          1.97      $       247 ,000
Permits (City of Miami Process)                                                        $          1.99      $       250,000
Permit Runner                                                                          $          0.04      $         5,000
Accounting I Audits                                                                    $          0.24      $        30,000
Miscellaneous/ Admin                                                                   $          0.24      $        30 ,000
Utilities (through development)                                                        $          1.60      $       200 ,000
Purchase Title & Recording                                                   1.50%     $          1.28      $       160,500
Loan Origination Fee/Exit Fee                                                1.75%     $         11 .09     $     1,389 ,812
Legal Acquisition & Loan Closing                                             0.30%     $          1.03      $       129,280
Construction Loan Interest                                                   8.00%     $         24.60      $     3,082 ,519
Debt Fund Interest (In lieu of equity)                                      15.00%     $             -      $              -
Acquisition Loan Interest (then rolled up)                                  10.00%     $         21 .66     $    2,714,469
Purchaser Interest Reserve                                                             $          9.98      $    1,250 ,896
Total Cost                                                                             $        491.24      $   61,561,683
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                           EXHIBIT E - WCSH SCHEDULE
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LIVE SITE 1

MONTHLY SCHEDULE




INTEREST+ LOAN FEES                                           $3,27S,31S                    $U8,1S4                                                                                               $S6,302                $308, 214
ACQUISITION LOAN ORtGI NATtON FEE                                $100,625     $ 100,62 5    $ 100,625                                                                                                   so                     so
ACQUISITION LOAN INTEREST                                     $ 1,407,552    $1,407,SS2     $788,229      $56,302    $56,302   $56,302   $56,302     $56,302    $56,302    $56,302    $56,302     $56,302     $56,302     $56,302
CONSTRUCTION LOAN ORIGI NATIO N FEE/ EXIT FEE                  5364,870       $364,870              $0         so         so        so         $0         so         so         so         so           $0         so    $232, 190
CONSTRUCTION LOAN INTEREST                                    $1,047,279     $1,047,279             so         so         $0        so         $0         so         so         $0         so           $0         so          so
DEBT FUND INTEREST (IN LIEU OF EQUITV)                                so            $0
PURCHASER INTEREST RESERVE                                     $354,990       $354,990              $0         so        so         $0         so         $0         so         so         so           $0         $0     $19,722

ACQUISITION/ LANO PURCHASE                                    $8,581,804     $8,581,804    $7,783,070          so        so         so         so         so         so         so         so          so    $798, 734         So
LANO PURCHASE                                                 $8,200,000     $8,200,000    $7,450,000          so        so         $0         so         $0         so         so         $0          so    $750,000          so
ACQUISITION FEE                                                 5 164,000      $164,000      $ 149,000         so        so         so         $0         so         so         so         so          so     $ 15,000         so
PU RCHASE TITLE & RECORDING                                     5 123,000      $ 123,000     $ 111,7 50        so        so         so         $0         so         so         so         So          $0     511,250          $0
LEGAL ACQUISITION & LOA N CLOSI NG                               539,804        539,804       $2 2,350         so        $0         so         so         so         so         so         so          so     $ 17,454         $0
ACQUISITION DUE DILIGENCE COSTS                                  SSS,000        sss,ooo       $49,970          so        so         so         so         $0         so         so         so          so       SS,030         So
GROUND LEASE (TH ROUGH OEVELOPM ENn                                   so             so             so         so        so         so         $0         so         so         so         so          so          so          so
HARO COST                                                     $4,103,209     $4,103,209             so         so        so         so         so         so         so         so         so          so          so     $23,333
HARD COST                                                     $3,730, 190    $3,730, 190            so         so        so         $0         so         so         so         so         so          so          so      $2,610
HARO COST CONTINGE NCY ( 10%)                                   $373,019       $373,019             so         so        so         so         so         so         $0         so         so          so          so     $20,723

SOFT COST                                                     $2,993,953     $2,993,953     $638,284      $22,236    $23,569   $23,569   $30,979     $30,979    $42,439    $42,439   $109,314    $109,314    $104,604    $200,284
ARCHITECT; M EP & STRUCTU RAL ENGINEERING                      $320,000        $320,000     $ 192,000      $4,571     $4,571    $4,571    $4,571      $4,57 1    $4,571     $4,571     $4,571      54,571      $4,571      $4,571
HOM E TECHNOLOGY & LIGHTING DESIGN                              $50,000         sso.ooo             so         so        so         so         so         so         so         so         so          so          so          so
LANDSCAPE ARCHITECT                                             519,800         $ 19,800            so         so        so         So         so         so     $3,960     $3,960     53,960      $3,960          $0          so
INTERIOR DES IGNER (GYM • COMMON AREAS• POOL DECkl             $150,000       $150,000              so         so        so         so         so         so     $7, 500    $7,500     $7,500      $7,500      $7,500      $7,500
CIVIL ENGINEER                                                  $30,000        $30,000         $6,000          so     $1,333    $1,333    $1,333      $1,333     $1,333     51,333     $1,333      $1,333      51,333      $1,333
IN SPECTIONS & TESTING {THIRD PARTIES+ CONSTRUCTION ADMIN)     $222,000       $222,000        $55,500          so        so         so    $6,660      56,660     $6,660     $6,660     $6,660      $6,660      $6,660      $6,660
SOILS                                                                 so             so            $0
PER MITS                                                         $75,000        $75,000        $7,500          so        so        so          $0         so         so         so    $ 16,875    $16,875     $16,875     $16,875
PER M IT RUNNER                                                   ss,ooo        SS,000           ssoo          so        so        so       $750        $750       5750      S750        $750        S750          so          $0
IMPACT FEES                                                    $100,000       $100,000              $0         so        so        so         so          so         so        $0     $2S,OOO     S2s,ooo     $25,000     $2S,OOO
WATER & SEWE R FEES                                            $ 100,000      5100,000              so         $0        so        so         so          so         so        so     $25,000     $25,000     $2S,OOO     $25,000
FF&E (COMMON; UNITS; POOL AREA)                                $498,000       $498,000              so         so        so        so         so          so         so        so          so          so          so          so
DEVELOPER ADMI NISTRATIO N; PROJECT MGT                        $700,000       $700,000      $272,222      Sl S,278   SIS,278   $15,278   $ 15,278    $15,2 78   $15,278    $15,278    $15,278     $15,278     $15,278     $15,278
MARKETING & RENDERS                                              $46,627        $46,627       $4,663       $ 1,499    $1,499    $1,499     $ 1,499    $1,499     $ 1,499    $1,499     $1,499      $ 1,499     $ 1,499     $1,499
SEPTIC TANK - PUMPOUT HRS                                             so             $0             so         so        so        so          $0         so         so        so          so          so          so          $0
ACCOU NTING / AUDITS                                                  so             so             $0         so        so        so          so         $0         so        $0          so          so          so          so
MISCELLANEOUS / AOMI N                                           SS,000          SS,000             so         so        so        so          So         $0         so        $0          so          so          so          so
UTILITIES (THROUGH DEVELOPMENT)                                 $25,000        $2S,OOO              $0         so        so        $0          so         so         so        $0          so          so          so          so
SUSTAINABILITV PROGRAM                                         $200,000       5200,000              so         $0        so        $0          so         so         so        $0          so          so          $0          so
SALES OFFICE / MODEL                                                  so             so             so         so        so         so         $0         so         so        so          so          so          so          $0
BUI LD ERS RISK                                                  $37,302        $37,302             so         so        so         So         $0         so         so        so          so          so          so      $2,072
FLOOD IN SURANCE                                                      $0             so             so         so        so        so          so         so         so        so          so          so          so          so
GENERAL LIABILITV INSURANCE                                      $37,302        $37,302       $12,433        $888      $888      $888       $888        $888       $888      $888        $888        $888        $888        $888
REAL ESTATE TAXES (UNTIL CONSTRUCTION COMPLETE!                $262,400       $262,400        $87,467          so        so        so          so         $0         so        so          so          $0          $0     $87,467
SOFT COST CONTINGE NCY                                         $110,522       Sl lO,S22             so         $0        so        so          so         so         $0        so          $0          so          so      $6,140


TOTAL CONSTRUCTION COSTS - PRE-INTEREST RESERVE & FEES       SlS,678,966    $1S,67B,966    $8,421,354     $22,236    $23,S69   $23,S69   $30,979     $30,979    $42,439    $42,439   $109,314    $109,314    $903,339    $223,617




TOT Al CONSTRUCTION COSTS                                    $18,9S4,281    $18,9S4,281    $9,310,208     $78,538    $79,872   $79,872   $87,282     $87,282    $98,742    $98,742   $16S,617    $165,617    $959,641    $531,830
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                                                                                                                       so                                                                                       so
       so                                                                         so          so           so          $0                                   so           so                         so   $132,680
 $40,380      $41,372     $42,478     $43,828      $45,632     $48, 139     $51,531      $55, 783    $60, 586     $65,41 2    $69,748     $73,872     $77,12S      $79,761      $81,97 1     $83,908      $85,752

 $19, 722     $ 19,722    $19,722     $19,722      $19,722     $19,722      $19,72 2     $19,722     $19,722      $19,722     $19,722     $19,722     $19,722      $19,722      $19,722      $19,722      $19,722

       $0          $0           so          $0          $0           $0           $0          $0           $0          $0           $0         $0           $0           $0           $0           So           $0
       $0          so           $0          $0          $0           $0           $0          so           so          so           $0         so           $0           so           so           $0           so
       $0          $0           $0          $0          $0           $0           $0          $0           $0          so           $0         so           $0           $0           $0           $0           $0
       $0          $0           $0          $0          $0           $0           $0          so           $0          $0           $0         $0           $0           $0           $0           $0           $0
       $0          $0          $0           so          $0           $0           $0          $0           so          $0           $0         $0           $0           $0           $0           so           $0
       $0          $0          $0           $0          $0           $0           $0          $0           $0          $0           $0         $0           $0           $0           $0           $0           $0
       $0          $0          $0           $0          so           so           $0          so           so          so           so         $0           so           $0           so           so           so
 $29,345      $45,254     $80,828    $147,556     $251,228    $381,517     $507,102     $S8S,441    $585,441     $507,102    $381,517    $251,228    $147, 556     $80,828      $45,254      $29,345      $23,333
  $8,622      $24,530     $60, 105   $126,833     $230,505    $360,793     $486,379     $564,718    $S64,718     $486,379    $360,793    $230, 505   $126,833      $60, 105     $24,530       $8,622       $2,610
 $20,723      $20,723     $20,723     $20,723      $20,723     $20,723      $20,723      $20,723     $20,723      SZ0,723     $20,723     $20,723     $20,723      $20,723      $20,723      $20,723      $20,7.B

 $59,471      $59,471     $59,471     $59,471      $59,471     $59,471      $59,471      $59,471     $58, 138     $58,138    $147,585    $143, 118   $151, 138    $151,138     $143,638     $143,638     $143,638
  $4,571       54,571      $4,57 1     $4,57 1      $4,571      $4,57 1      $4 ,571      $4,571      $4,571       $4,57 1     $4,571      $4,571      $4,57 1      $4,57 1      $4,57 1      $4,571       $4,571
       so          so          $0           so          $0           so           so          $0           $0          $0          so          so     $10,000      $10,CXX)     $ 10,000     $ 10,000     $10,CXX)
       $0          so          so           so          so           $0           so          $0           so          so      $1,980      $ 1,980          so           so           $0           so           so
  $7,500       $7,500      $7,500      $7,500       $7,500      $7, 500      $7,500       $7,500      $7,500       $7,500      $7,500      $7,500      $7,500       57,500            so           so           $0
  $1,333       $1,333      $),333      $1,333       $1,333      $ 1,333      $ 1,333      $1,333           so          $0          so          so           so           $0           so           $0           so
  $6,660       $6,660      $6,660      $6,660       $6,660      $6,660       $6,660       $6,660      $6,660       $6,660      $6,660      $6,660      $6,660       $6,660       $6,660       S6,660       $6,660

       so          $0          $0           $0          $0           so           $0          so           $0          $0          $0          $0           $0            $0          so           so           $0
       $0          so          so           so          so           $0           so          so           $0          $0          so          $0           $0            $0          $0           so           $0
       $0          $0          so           $0          so           so           so          so           $0          so          $0          so           so            $0          so           $0           $0
       so          so          so           so          $0           so           $0          $0           $0          $0          so          so           so            $0         $0            $0           $0
       $0          so          so           so          $0            $0          so          so           so          $0           $0    $83,000     $83,000      $83,000      $83,000      $83,000      $83,000
 $ 15,278     $ 15,278    $15,278     $ 15,278     $15,278     $ 15,278     $15,278      $ 15,278    $15,2 78     $15,278     $15,278     $15,278     $ 15,278     $15,278      $15,278      $ 15,278     $ 15,278
  $ 1,499       $1,499     S 1,499      $ 1,499     $1,499       $ 1,499      $1,499      $ 1,499      $1,499      $1,499      $ 1,499     $ 1,499      $1,499      S t ,499     $1,499       $1,499       $ 1,499
       so           $0          $0          $0          so            $0           $0         so            $0         so           $0         so           so           so           so           $0          so
       so          so           $0         $0            $0           $0          $0          so           $0          $0           $0          $0           $0          $0           $0           so          $0
     $294         $294       $294        $294         $294         $294         S294        $294        S294         $294        S294         $294        $294         $294         S294         S294        $294
  $ 1,47 1     $ 1,471     $ 1,471     $1,471       $1,471       $ 1,471     $ 1,4 71     $1,471      $ 1,4 71     $ 1,471     $1,47 1     $ 1,471     $ 1,4 71     S1,471       $ 1,4 71     $1,471       $1,471
 $ 11,765     S 11,765    $11,765     $11,765      $11 ,765    $ 11,765     $ 11,765     $11,765     $ 11,765     $11,765     $11,765     $ 11,765    $ 11,765     $ 11,765     $11,765      5 11 ,765    $11,765
       $0          so           $0          so           $0           $0          so          $0           so           $0         $0          so           so           so            $0          so          $0
  $2 ,072      $2,072      $2 ,072     $2,072       $2,072       $2,072      $2,072       $2,072      $2,072       $2,072      $2 ,072     $2,072      $2,072       $2,072       $2,072       $2,072       $2,072
       $0           $0         so           so          so            $0          $0          so           $0          so          so          $0           so           $0            $0          $0          so
     $888       S888         $888        S888         $888         $888        $888         $888        $888         $888        $888        $888        $888         $888         $888         $888         $888
       so           $0          $0          so          so           so           $0           $0          $0           $0    $87,467          $0           so           $0            $0          $0           $0
  $6, 140      $6, 140     $6, 140     $6, 140      $6, 140     $6, 140      $6, 140      $6, 140     $6, 140      $6, 140     $6, 140     $6, 140     $6, 140      $6, 140      $6, 140      $6, 140      $6, 140

 $88,816     $104,725    $140,300    $207,028     $310,699    $440,988     $566,573     $644,913    $643,579     $565,240    $529,101    $394,346    $298,694     $231,966     $ 188,892    $172,983     $166,971




$148,918     $165,819    $202, 499   $270,577     $376,053    $508,848     $637,826     $720,418    $723,887     $650,374    $618,571    $487,939    $395,541     $331,449     $290,584     $276,613     $405, 125
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LIVE SITE 2

MONTHLY 5CHEQULE




INTEREST + LOAN FEES                                              $1,599,559    $1,599,559
ACQUISITION LOAN ORIGINATION FEE                                         so             so          so          so         so         so        so         so         so           so         so         so          so         so            so         so
ACQUISITION LOAN INTEREST                                          $114,800      $114,800           so          so         so         so        so         so         so           so         so         so          so         so            so    $19,133   $19,133
CONSTRUCTION LOAN ORIGINATION FEE/EXIT FEE                         $3 48,585     $348,585           so          so         so         so        so         so         so           so         so         so          so         so            so         so        so
!CONSTRUCTION LOAN INTEREST                                        $780,126      $780,126           so          so         so         so        so         so         so           so         so         so          so         so            so         so        so
DEBT FUND INTEREST jlN LIEU OF EQUITY)                                   so             so          so
PURCHASER INTEREST RESERVE                                         $356,048      $356,048                       so         so        so         so         so         so           so         so         so          so         so        S4, n6     $5,268    $5,815


!ACQUISITION/ LAND PURCHASE                                       $5,019,089    $5,089,019    $262,llO    $140, 760   $10,200    $10,200   $10,200    $10, 200   $10,200      $10, 200   $10,200    $10,200     $10,200    $10,200    $4,514,149         so        so
LANO PURCH ASE                                                    $4,772,000    $4, 772,000   $234,000    $138,000    $ 10,000   $10,000   $10,000    $10,000    $10,000      $10,000    $10,000    $10,000     $10,000    $10,000    $4,300,000         so        so
ACQUISITION FEE                                                     $95,440        $95,440      $4,680      $2,760       s200      S200       s200       S200       s200         S200       S200       S200       S200       S200       $86,000          so        so
PURCH ASE TITLE & RECORDING                                         $71,580        $71,580          so          so         so        so         so         so         so           so         so         so          so        so        $71,580         so        so
LEGAL ACQUISITION & LOAN CLOSING                                    595,069        S95,069      $8, 500         so         so        so         so         so         so           so         so         so          so         so       S86,569         so        so
ACQUISI TION DUE DILIGENCE COSTS                                    $55,000        $55,000     $15,000          so         so         so        so         so         so           so         so         so          so         so      $40,000          so        so
GROU ND LEASE (TH ROUGH DEVELOPM ENT)                                    so             so          so          so         so         so        so         so         so           so         so         so          so         so            so         so        so

HARD COST                                                         $8,073,668    $8,073, 668         so          so         so         $0        so         so         so           $0         so         so          so         so            so         $0        $0
HARD COST                                                         $7,339,698    57,339,698          so          so         so         so        so         so         so           so         so         so          so         so            so         so        so
HAR O COST CONTIN GENCY ( 10%)                                     S733,970      $733,970           so          so         so        so         so         so         so           so         so         so          so         so            so         so        so
SOFT COST                                                        $3,345,977     $3,345,977    $124,120     $40,417    $40,417    $40,417   $40,417    $40,417    $51, 277     $60,999    $60,999    $64,051     $99, 580   $60,098       $68, 664   $68,664   $68, 664
ARCHITECT; M EP & STRUCTURAL ENGINEERING                           S320,000      S320,000      $36,000      58,114     58,114     58,114    58,114     58,114     58,114       58,11 4    SB,114     $8,114      $8,114     58,114        58, 114    $8,114    $8,114
HOME TECHNOLOGY & LIGHTING DESIGN                                  5115,000      $115,000           so          so         so        so         so         so         so           so         so         so          so         so            so         so        so
LANDSCAPE ARCHITECT                                                 $19,800        519,800          so          so         so        so         so         so     $3,960       $3,960     $3,960     $3,960          so         so            so         so        so
INTERIOR DESIGNER !GYM+- COMMON AREAS .. POOL DECK)                 $7S,OOO        $75,000          so          so         so        so         so         so         so       $4,167     $4,167     54, 167     $4,167     $4,167        $4, 167    $4,167    $4,167
CIVIL ENGI NEER                                                     $3S,OOO       $3S,OOO           so      $2, 333    $2, 333    $2,333    $2,333     $2,333     $2,333       $2,333     $2, 333    $2, 333     $2,333     $2,333        52,333     52,333    52,333
IN SPECTIONS & TESTING (THIRD PAR TI ES .. CONSTRUCTION ADMIN)     5222,000      5222,000      $15,000          so         so        so         so         so     $6,900       $6,900     $6,900     56,900      $6,900     $6,900        56,900     $6,900    $6,900
SOILS                                                                    so             so          so
PERM ITS (CITY OF MIAM I PROCESS)                                  Sl SD,000     $150,000           so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
PE RMIT RUNNER                                                      SSD,000       $50,000           so          so         so        so         so         so         so       $5,556     $5, 556    $5, 556     $5,556     55,556        $5,556     $5,556    $5,556
IM PACT FEES ! COCONUT GROVE FEE?)                                 $125,000      $125,000           so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
WATER & SEWER FEES                                                 $100,000      $100,000           so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
FF& E (COMMON; UNITS; POOL AR EA)                                  5625,000      $625,000           so          so         so         so        so         so         so           so         so         so          so         so            so         so        so
DEVELOPER ADMINISTRATION; PROJECT MGT                             51.000,000    $1,000,000          so     $28,57 1   $28,571    528,571   $28, 571   $28, 571   $28,571      528, 571   $28,S71    $28,571     S28,S71    $28,571      $28, S71    $28,571   $28, 571
MARKETI NG & RENDERS                                                $91,746        $91,746      $9,175          so         so        so         so         so         so           so         so     $3,DSB      $3,058     $3,058        $3,058     $3,058    $3,058
SEPTIC TANK · PUMPOUT HRS                                                so             so          so          so         so        so         so         so         $0           so         so         so          so         so            so        so         so
ACCOU N TING / AUDITS                                               $20,000       $20,000           so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
M ISCELLANEOUS/ AOMI N                                                   so             so          so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
UTILITIES (TH ROUGH DEVELOPM ENn                                         so             so          so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
SUSTAINABILITY PROGRAM                                                   so             so          so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
:SALES OFFICE / MODEL                                                    so             so          so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
1BUILDERS RISK                                                      $73,397       $73,397           so          so         so        so         so         so         so           so         so         so          so         so       $3,058     $3,058     $3,058
 LOOO INSURANCE                                                          so             so          so          so         so        so         so         so         so           so         so         so          so         so            so        so         so
 iEN ERAL LIABILITY INSURANCE                                       $73,397       $73,397     $24,463       $1, 398   $1, 398    $1,398     $1, 398   51,398      51,398       Sl,398    $1,398     $1 ,398      $1, 398   $ 1, 398      $1,398     Sl,398     51,398
IREAL ESTATE TAXES IUNTIL CONSTRUCTION COMPLElEI                   $118,447      $118,447     $39,482           so         so        so         so         so         so           so         so         so    $39,482          so            so        so         so
 on COST CONTINGENCY                                               $132,189      $132, 189          so          so         so        so         so         so         so           so         so         so          so         so       ss,sos     $5,508    $5,SOB



"OTAL ( ONSJRUCTION COSTS PRE -INTEREST RESERVE & FEES           $16,508,733   $16,508,733    $316,300    $111,177    $50,617    $50,617   $50,617    $50,617    $61,477      $71, 199   $71,199    $74,lSS    $109,710    $70,298    $4,652,812    $61,664   $68,664




TOTAL CONSTRUCTION COSTS                                         $11,108,292   $18,108,292    $316, 300   $181,177    $50,617    $50,617   $50,617    $50,617    $61,477_ _   $71,199    $71,199    $74,258    $109,780    $70,298    $4,657,538    $93,066   $93,612
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                                     $252,655                                                        $37,957     $40,5111                    $53,621      $62,043       $70,521         $711,0211     $113,937       $111,172     $92,632     $95,543     $911,006    $227,035
                                           $0                                                             $0          so                          $0           $0             so              $0            $0            so           so          so           $0           so
  $19,133     $19,133     $19,133     S19,133         $0           so            so           $0          $0          $0             $0           SO           $0             so              $0            $0            $0           so          so          $0            so
       $0          $0          $0    S221,827         $0           $0            so          $0           $0          $0             $0           $0           $0             $0              so           so             so           so          so          so     5126,758
      so           $0          $0          $0     $19,133     $19,133      $19,133      S19,133      $19,133     $21,764        $27,452      $34,797      $43,219       $51,697        $59,204        $65,114        S70,048      $73,809     $76,719     $79,182      $81,453

   57,097      $8,341      $9,592    511,695      $12,578     $13,650      $15,150      S17,429      $18,824     $18,824        $18,824      $18,824      $18,824       518,824        S18,824        S18,824        518,824      $18,824     $18,824     $18,824      $18,824

      so           $0         $0           $0         SD           $0           so            SD          so          SD             $0           $0           $0             so             so            SD             SD          so           SD          so            SD
      $0           $0         so           so         $0           so           so            $0          $0          $0             $0           $0           $0             so             so            $0             so          so          so           so            so
      so           $0         $0           so         $0           $0           $0            $0          so          $0             $0           $0           $0            $0              so            so             $0          so          so           so            $0
      so           $0         so           so         $0           so           so            so         $0           so             $0           $0           $0            so              so            so             so          so          $0           $0            so
      so           $0         so           so         $0           $0           so            so         $0           $0             $0           $0           $0            $0              so            so             $0          so           so          so            $0
      so           $0         $0           $0         $0           so           $0            $0         so           $0             $0           $0           $0            so              so            so             $0          $0          $0           $0            $0
      $0           $0         $0           $0         $0           $0           so            $0         $0           so             $0           $0           $0            $0              so            so             so          so          so           $0            so
      $0           $0         $0     $45,911     $57,741     $89,043      $159,041    $290,339     $494,3211   $750,690       $997,798    $1,151,942   $1,151,942      $997,7911      $750,690      $494,3211      $290,339     $159,041     $89,043     $57,741       $45,911
      $0           $0         $0      SS,135     $16,965     $48,267      S118,265    $249,563     S453,552    $709,914       $957,022    Sl,111,166   $1,111, 166     $957,022       $709,914      $453,552       $249,563     $118, 265    $48,267     $16,965        SS,135
      $0           $0         so     $40,776     $40,776     $40,776       $40,776     $40,776      $40,776     $40,776        S40,776       $40,776      $40,776       $40,776        $40,776       $40,776        $40,776      $40,776     $40,776     $40,776       $40,776

$193,664    $185,775    $115,775     $61,886     $61,116     $61,186       $63,866      $63,866    $101,3611    $61,186        $57,719       $57,719      $57,719       $57,719        $57,719    $161,186    $1114,186         $184,186    $184,186    $1114,186    $114,1116
  $8,114      $8,114      $8,114      $8,114      $8,114      58,114        $8, 114      $8,114      S8.114      $8,114         $8,114        $8,114       SB,114        $8,114         $8,114 8114 285714 8114.28S714            SB,114      $8,114       $8,114      $8,114
      $0          $0          so          so          $0           $0           so            so         $0          $0              so           so           so            $0             so          SO     $23,000           $23,000     $23,000     $23,000      $23,000
      so           so         $0          $0          so          $0        Sl,980       $1,980          $0           so             $0           $0           so            so              so            so             so          $0          so           $0          $0
  $4,167      $4,167      S4,167      $4,167      $4,167      $4,167        $4,167       $4, 167     $4,167       $4,167             so           so           so            $0             SO             $0             so          so          $0          so             so
  52,333          $0          $0          so          $0          $0            so            so         $0           so            $0            so           $0            so             $0             SO            SO           so          so          $0             so
  $6,900      $6,900      $6,900      56,900      $6,900      S6,900        $6,900       $6,900      $6,900       $6,900        $6,900        $6,900       56,900        $6,900         $6,900         $6,900        $6,900       $6,900      56,900      $6,900        $6,900

 $50,000     SS0,000     S50,000          $0          $0           $0           so           $0          $0           so            $0            so           so            $0              $0            $0            $0           so          $0          $0            so
  $5,556          $0          so          so          $0           so           so           $0          $0           so            $0            $0           $0            so              $0            $0            so           so          so          so            so
 $41,667     $41,667     $41,667          $0          $0           so           $0           $0          so           so            $0            so           so            so              $0            so            so           so          $0          so            $0
 $33,333     $33,333     $33,333          so          $0           $0           so           so          $0           $0            $0            so           so            so              so            $0            $0           so          so          $0            so
      $0          $0          $0          so          $0          $0            $0           so          $0           $0            $0            so           so            so              so     S104,167       S104,167     $104,167    5104,167    $104,167     $104,167
 $28,571     $28,571     $28,571     $28,571     $28,571     528,571       528,571     $28,571      S28,571     $28,571        $28,571       $28,571      $28,571       $28,571        S28,571       528,571        $28,571      $28,571     $28,571     $28,571      $28,571
  $3,058      $3,058      $3,058      $3,058      $3,058      53,058        S3,058      S3,058       $3,058      $3,058         $3,058        $3,058       $3,058        $3,058         53,058        $3,058         $3,058       $3,058      $3,058      $3,058       $3,058
      $0          $0          so           $0         $0           so           $0          $0           so          $0             so            so           so            so             $0             so            so           so          $0          so            so
      $0          $0          so      $1, 111     Sl.111      $1,111        $1,lll      $1,111       51,111      S1,111         Sl,111        $1,111       Sl,111        $1,111         $1,111        $1,111         51,111       Sl,111      SI,111      $1,111        $1 ,111
      $0          $0          so          so          $0           $0           so           so          $0          so             so            so           so            so              so            $0            $0           so          so          so             $0
      so          $0          $0          $0          so          $0            $0           so          so          $0             $0            so           so            so              $0            so            $0           so          $0          so            so
      $0          $0          so          $0          $0          $0            so           $0          $0          so             so            $0           so            so             so            so             so           so          $0          $0            so
      $0          $0          $0          so          $0          $0            $0           so          $0          $0             so           so           $0             so             so            so             $0           $0          so          so           $0
  $3,058      53,058      $3,058      $3,058      $3,058      S3,058        S3,058      S3,058       S3,058      $3,058         $3,058       53,058       53,058         S3,058         $3,058        $3,058         $3,058       $3,058      $3,058      $3,058       $3,058
      $0          $0          $0          $0          $0          $0            $0          $0           $0          $0             so           $0           so             so             $0            so             so           so          $0          so           $0
  $1,398      $1,398      $1,398      S1,398      51,398      $1,398        Sl,398      $1,398       S1,398      S1,398         51,398       51,398       51,398         $1,398         $1,398        $1,398         $1,398       51,398      S1,398      $1,398       51,398
      $0          $0          $0          $0          $0          $0           so            so     $39,482          $0             so           so           $0             $0             so            so             $0           so          so          so            so
  SS,508      $5,508      $5,508      55,508      $5,508      $5,508        S5,508      $5,508       55,508      $5,508         Ss,soa       $5,508       SS,508         $5,508         $5,508        $5,508         SS,508       SS,508      $5,508      SS,508       S5,508



$193,664    $185,775    $185,775    $107,797    $119,627    $150,929     $222,907     $ 354, 205   $595,696    $1112,576    $1,055,51 7   $1,209,662   51,209,662    $1,055,517      $808,409       $656, 214     $475, 225     $343,927    $273,929    $242,627     $ 230,79 7




$219,894    $213, 249   $214,501    $360,452    $151,338    $1113,712   _ $257,191    $390, 7611   $633,653    $85_3,164    $1, 101,793_ $1,263,2112   $1,271,704 _ $1,126,038     __ $~86,437      $740,151     _ $564,097     $436,560    $369,472    $340~_14~7,832
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WORK SITE

MONTHLY SCHEQ!,,!l(
                                                                                              SPENT TO DATE




ltf!fREST ♦ LOAN Ff~S                                          $1,437,696      $1,437,696         $1,217,650                           $19,556                             $19,556                                       $19,556     $90,132     $94,558    $97,735    $100,2&7
ACQUISITION LOAN ORIGINATION FEE                                 $204,750        $204,750          $204,750                                 so                                  so          so          so                    so           so         so          so          so
ACQUISITION LOAN INTEREST                                      $2,714,469      $2,714,469         $1,012.900    $89,556     $89,556    $89,556     $89,556     $89,556     $89,556     $89,556     $89,556    $89,556    $89,556     $89,556     $89,556    $89,556     $89, 556
CONSTRUCTION LOAN ORIGINATION FEE/EICIT FEE                    $1,185,062      $1,185,062                so          so          so         so          so          so          so          so          so         so         so           so         so         so          so
CONSTRUCTION LOAN INTEREST                                     $3,082,519      $3,082,519                so          so          so         so          so          so          so          so          so         so         so           so         so         so          so
DEBT FUND INTEREST (IN LIEU OF EQUITY)                                  so              so
PURCHASER INTEREST RESERVE                                     51,250,896      $1,250,896                so          so          so         so          so          so          so          so          so         so         so      $1, 276     $5,002     58,179     $10,730


ACQUISITM)N / LANO PURCHASE                                   $12,961,961     $12,961,961        $11,735,ln     $32, 275    $32,275    $32,275     $32, 275    $32, 275    $32,275     $32, 275    $32,275    $32,275    $32, 275    $32, 275   S129,4S4    $32,275     $32,275
LANO PURCHASE                                                 S10,700,000     S10,700,000        s10,100,000         so          so         so          so          so          so          so          so         so         so           so         so          so          so
ACQUISITION FEE                                                  $214,000        $214,000          $214,000          so          so         so          so          so          so          so          so         so         so           so         so         so          so
PURCHASE TITLE & RECORD ING                                      S160,soo        $160,500          $160,500          so          so         so          so          so          so          so          so         so         so           so         so         so          so
LEGAL ACQUISITION & LOAN CLOSING                                 S129,280        S129,280           $32,100          so          so         so          so          so          so          so          so         so         so           so    S97,180         so          so
ACQUISITION OUE DILIGENCE COSTS                                   S30,000         S30,000           $30,000          so          so         so          so          so          so          so          so         so         so           so         so         so          so
GROUND LEASE (THROUGH DEVELOPMENT)                             $1,728,182      S1,728,182          $598,Sn      $32,275     $32,275    $32,275     $32,275     $32,275     $32,275     $32,275     532,275    $32,275    $32,275     $32,27S     $32,275    S32,275     $32,275


HARD COST                                                     $29,631,180     $29, 638, 180              $0          so          $0         $0          $0          so          $0          so          so         $0         $0           $0         so         $0    $123,989
HARO COST                                                     $26,943,800     $26,943,800                so          so          so         so          so          so          so          so          so         so         so           so         so         so     $11,723
HAR O COST CONTINGENCY (10%)                                   $2,694,380      $2,694,380                so          so          so         so          so          so          so          so          so         so         so           so         so         so    S112, 266


SOFT COST                                                     $10,523,146     $10,523,846         $1,074,745   $110,229    $110,229   $110,229    $110,229    $110,229    $110, 729   $110,729    $114,062   $124,515   $124,515    $541,011    $414,643   $414,643    $UI0,169
ARCHITECT; MEP & STRUCTURAL ENGINEER.ING                       $1 ,225, 527    $1,225, 527         $192,000     $27,933     $27,933    S27,933     S27,933     $27, 933    $27,933     S27,933     $27,933    $27,933    $27,933     S27,933     S27,933    S27,933     $27,933
HOME TECHNOLOGY & LIGHTING DESIGN                                 $50,000         SS0,000                so          so          so         so          so          so          so          so          so         so         so           so         so         so          so
LANDSCAPE ARCHITECT                                               s20,000         $20,000                so          so          so         so          so          so          so          so      S3,333     $3,333     $3, 333     $3, 333     $3,333     $3, 333         so
INTERIOR DESIGNER (GYM + COMMON AREAS+ POOL DECK)                $200,000        $200,000                so      $8,333      $8,333     $8,333      $8,333      $8,333      S8,333      $8,333      S8,333     $8,333     $8,333      $8,333      $8,333     S8,333      SB,333
CIVIL ENGINEER                                                    s20,000         S20,000            $4,000       $889        $889        $889        $889        $889        $889        $889        S889       S889      S889         $889       $889        ssa,        $889
INSPECTIONS & TESTING (THIRD PAR.TIES• CONSTRUCTION AOMIN)       S247,000        $247,000           $61,750      S5,007      SS,007     $S,007      $5,007      S5,007      SS,007      SS,007      SS,007     SS,007     S5,007      SS,007      $5,007     $5,007      $5,007
SOILS                                                                   so              so               so
PERMITS (CITY OF MIAMI PROCESS)                                  $250,000        $250,000           $25,000          so          so         so          so          so          so          so         so         so         so      S75,000     S75,000    $75,000          so
PERMIT RUNNER                                                      $5,000          SS,000              ssoo          so          so         so          so          so        ssoo        S500       ssoo       ssoo       ssoo         ssoo       ssoo        ssoo        ssoo
IMPACT FEES (COCONUT GROVE FEE7)                                 $250,000        $250,000                so          so          so         so          so          so          so          50         so         so          so     $83, 333    $83,333    $83, 333         so
WATER & SEWER FEES                                               $250,000        $250,000                so          so          50         so          so          so          so          so         so          so         so     $83,333     $83,333    S83,333          so
FF&E !COMMON; UNITS; POOL AREA )                               $2,500,000      $2, 500,000               so          so          so         so          so          so          so          so          50         so         so           so         so         so          so
DEVELOPER ADM INISTRATION; PROJECT MGT                         $2, 500,000     $2,500,000          $486,111     $54,429     554,429    $54,429     $54,429     $54,429     $54,429     $54,429     $54,429    $54,429    SS4,429     $54,429     $54,429    S54,429     $54,429
MARl(ETING & RENDERS                                             $336,798        $336,798           $33,680          so          so         so          so          so          50          so          so    Sl0,452    $10,452     $10,452     $10,452    $10,452     $ 10,452
SEPTIC TANI( · PUMPOUT HRS                                              so              so               so          so          so         so          so          so          so          so          so         so         so          so          so         so          so
ACCOU N TING/ AUDITS                                              $30,000         $30,000                so          so          so         so          so          so          so          so          so         so         so          so      $1,154     $1,1S4      Sl,154
MISCELLANEOUS/ AOMIN                                              $30,000         $30,000                so          so          so         so          so          so          so          so          so         so         so          so      $1,154     $1,154      Sl ,154
UTILITIES (THROUGH DEVELOPMENT)                                  $200,000        $200,000                so          so          so         so          so          so          so          so          so         so         so          so      $7,692     $7,692      $7,692
SUSTAINABILITY PROGRAM                                         $1,000,000      $1,000,000                so          50          so         so          so          50          so          so          so         so         so          so     $38,462    $38,462     $38,462
LEASING OFFICE/ MODEL                                                   so              so               so          so          so         so          so          so          so          so          so         so         so          so         so          so          so
BUILDERS RISK                                                   $269,438        $269,438                 so          so          so         so          so          so          so          so          so         so         so          so         so          so     Sll,227
FLOOD INSURANCE                                                         so              so               so          so         so          so          so          so          so          so          so         so         so          so         so          so          so
 ENERAL LIABILITV INSURANCE                                     5269,438        $269,438            $89,804      S4,8SS      S4,8SS     S4,8SS      $4,855      $4,SSS      $4,SSS      $4,855      $4,855     $4,BSS     S4,8SS      S4,BSS      $4,855     $4,855      54,SSS
REAL ESTATE TAXES (UNTIL CONSTR UCTION COMPLETE)                5545,700        $545,700           $181,900          so         so          50          so          so          so          so          so         so         so    $181,900         so          so          so
  FT CO ST CONTINGENCY                                          $324,945        $324,945                 so      $8,782     $8,782      $8,782      $8,782     $8,782       $8,782      $8,782      $8,782     $8,782     $8,782      $8, 782     $8,782     $8,782      $8,782



 OTAL CONSTRUCT       N       • PRE-INTEREST RESERVE & FEES   $53,123,917     $53,123,987       $12,109,916    $142,503    $142,503   $142, 503   $142, 503   $142,503    $143,003    $143,003    $146,337   $156,7&9   $156,719    $580, 356   $544,097   $446,917    $337,133




TOTAL CONSTRUCT)ON COSTS                                      $61,561,613     $61,S61,683       $14,027,566    $232,060    $232,060   $232,060    $232,060    $232,060    $232,560    $232,S60    $23S,893   $246,345   $246,34S    $671,111    $631,6SS   $544,652    $437,420
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$102,956   $105,172    $109,267    $113,519    $177,721      $103,911      $114,220     $126,347      $129,123     $141,146      $170,242      $194,099      $211,116      $240,622      $260,334     $276,594                   $299, 244      $309,619    $318,569     $326,627     $334,214     $772,306
      so          so          so         so           so            so           so           so            so            so            so           so            so            so            so            so           so            so            so           so           so           so           so
 $89,556    $89,556     $89,556     $89,556     $89,556             so           so           so            so            so            so           so            so            so            so            so           so            so            so           so           so           so           so
      so         so           so         so    S754,131             so           so           so            so            so           so            so            so            so            so            so           so            so            so           so           so           so    S430,932
      so         so           so         so           so      S62,300       S62,300      $62,300       $65,076       S84,099     Sl06,195      $130,052     $154,069       $176,575      S196,287     $212,547      $225,355     $235,196       $245,572    $254,522     $262,580     S270, 167    S277,327

 $13,400    $16,316     $19,710     $23,962     $34,034       $41,611       SSl,920      $64,047       $64,047       $64,047      S64,047       $64,047       S64,047       $64,047       $64,047      S64,047       S64,047      S64,047        S64,047     $64,047      S64,047       S64,047     $64,047

 $32,275    $32, 275    $32,275     $32,275     $32,275       $32, 275      $32,275      $32, 275      S32, 275      $32,275      $32,275       $32,275       $32, 275      $32, 275      $32,275      $32, 275      $32,275      $32,275        $32,275     $32, 275     $32,275            so           so
      so         so           so         so           so            so           so           so            so            so           so            so            so            so            so           so            so            so            so           so           so           so           so
      so         so           so         so           so            so           so           so            so            so           so            so            so            so            so           so            so            so            so           so           so           so           so
      so         so           so         so           so            so           so           so            so            so           so            so            so            so            so           so            so            so            so           so           so           so           so
      so         so          so          so           so            so           $0           so            so           so            so            so            so            so            so           so            so            so            so           so           so           so           so
      so         so          so          so          so            so            so           so            so           so            so            so            so            so            so           so            so            so            so           so           so           so           so
 $32,275    $32,275     $32,275     SJZ,275     S32,275       S32,275       S32,275      $32,275       S32,275      $32,275       $32,275       $32,275      S32,2 75      S32,275        S32,275      $32,275      $32,275       $3 2,2 75     S32,275      $32,2 75     S32,275            so           so
$141,956   $111,361    $260,064    $402,774    $637,021      $983,365    $1,441,164   $1,975,339    $2,512,661    S2,954,442   $3, 204,947   $3, 204,947   $2,954,442    $2,512,661    $1,975,339   $1,441,164     $913,365     $637,021       $402,774     $260,064     $181,368     $141,956     $123,989
 $29,691    S69,102    S147,798    S290,508    $524,755      $871,099    $1,328,898   $1,863,073    SZ,400,395    SZ,842,177   SJ,092,681    $3,092,681    S2,842,177    $2,400,395    $1,863,073   $1 ,328,898    $871,099     SS24,755       5290,508     $147,798      S69,102      S29,691      $11,723
S112,266   S112, 266   S112,266    S112,266    $112,266      Sl12,266      $112,266     $112,266      $112,266      $112,266     $112,266      S112,266      S112,266     Sl12,266       Sl12,266     SllZ,266     SllZ,266     $112,266       $ 112,266    $112,266     $112,266     $112, 266    S112,266

$180,369   $180,369    $180,369    Sll0,369    $179,480      $179,480      $179,480     $361,380     $179,410      $179,480     $171,147      $171,147      $171, 147     $171, 147     $171,147    $171,147    $171,147        $587,814       $597,814     $597,114     $597,114     $597,114     $597,114
 $27,933    $27,933     527,933     527,933     SH,933        527,933       527,933      $27,933      $27,933       $27,933      S27,933       S27,933       S27,933       S27,933       S27,933 27933.16757 27933. 16757        $27,933        527,933      $27,933      $27,933      527,933      S27,933
      so         so          so          so          so            so            so           so            so           so            so            so            so            so           SO            so         $0               so      $10,000      $10,000      $10,000      510,000      Sl0,000
      so         so          so          so          so            so            so           so            so           so            so            so            so            so           so            so           so             so            so           so          so            so          so
  SB,333     $8,333      $8,333      SS,333      SB,333        SB,333        $8,333       $8,333        $8,333       SS,333            so            so            so            so           so            so           so             so            so           so          so            so          so
    S889       $889        $889        $889          so            so            so           so            so           so            so            so            so            so           so            so           $0             so           so            so          so            so          so
  $5,007     $5,007      $5,007      $5,007      SS,007        SS,007        $5,007       $5,007        $5,007       $5,007        SS,007        SS,007       SS,007        SS,007         SS,007       $5,007       $5,007        $5,007         SS.007      SS,007       SS,007       SS,007       SS,007


      so         so          so          so          so            so            so           so            so           so            so            so            so            so           $0            so           so             so           so            so          so           so           so
      so         so          so          so          so            so            $0           $0            $0           so            so            so            so            so           $0            so           so             so           SO           so           so           so           so
      so         so          so          so          SO            SO            so           $0            SO           so            so            SO            SO            so           $0            so           so            so            so           so           so           so           so
      so         so          so          so          so            so            so           so            so           SO            so            SO            so            $0           so            so           so           $0             so           so           so           so           so
      so         so          so          $0           $0           so           so           SO             so           so            so            so            so            so           so            so           so     $416,667       S4 16,667    S416,667     S416,667     S416,667     S416,667
 SS4,429    $54,429     $54,429     SS4,429     $54,429       $54,429      S54,429      SS4,429       $54,429       $54,429      SS4,429       $54,429       S54,429       SS4,429       SS4,429      SS4,429       SS4,429      S54,429        $54,429      SS4,429      SS4,429      S54,429      SS4,429
 Sl0,452    $10,452     $10,452     $10,452     Sl0,452       $10,452      Sl0,452      Sl0,452       Sl0,452       $10,452      $10,452       Sl0,452       Sl0,452       Sl0,452       Sl0,452      Sl0,452       Sl0,452      Sl0,452        Sl0,452      Sl0,452      Sl0,452      $10,452      Sl0,452
      so         so          so          so           $0            $0          $0            SO            so           so            SO            so            so            so           so            so           so            SO            so           so           so           so           so
  Sl,154     Sl,154      $1, 154     $1,154      $1, 154       Sl,154       Sl,154       Sl,154        $1,154        Sl,154       $1,154        $1,154        $1,154        Sl,154        Sl,154       Sl ,154       Sl,154       $ 1,154        $1, 154      Sl,154       $1,1 54      $1,154       Sl,154
  $1,154     $1,154      $1,154      $1,154      $1,154        $1 ,154      Sl,154       Sl,154        S1,154        Sl,154       $1,154        $1,154        Sl ,154       Sl,154        Sl,154       Sl,154        Sl,154       $1,154         St,154       Sl,154       St ,154      Sl, 154      Sl, 154
  $7,692     $7,692      $7,692      $7,692      $7,692        S7,692       S7,692       S7,692        S7,692        S7,692       $7,692        $7,692        $7,692        S7,692        S7,692       S7,692        S7,692       $7,692         $7,692       $7,692       $7,692       $7,692       S7,692
 S38,462    $38,462     $38,462     $38,462     $38,462       S38,462      S38,462      S38,462       S38,462       S38,462      $38,462       $38,462       $38,462       $38,462       S38,462      $38,462       S38,462      S38,462        S38,462      SJB,462      S38,462      S38,462      S38,462
      so         so          so          so          so            so           so           so             $0           so            so            so           so            $0            so            so           so            so            SO           so           so           so           so
 $11,227    Sll,227     Sll,227     Sll,227     $11,227      Sll,227       $11,22 7     Sll,227       $11, 227      Sll,227      Sll ,227      $11,227       Sll,227       $11,227       $11,227      $11,227       Sll,22 7     Sll,227        Sll,227      Sll,2 27     Sll,227      $11,227      $11 ,227
      so         so          so          so          so            so           so           so             so           so            so            so           so            so            so            so           so            so            so           so           so           so           so
  $4,855     $4,855      $4,855      $4,855      S4,855        S4,855       S4,855       $4,855        S4,855        $4,855       $4,855        $4,855        $4,855        S4,855        S4,85S       S4,855        $4,855       S4,855         $4,855       $4,855       $4,855       $4,855       S4,8SS
      so         so          so         so           so            $0           SO     $181,900            $0            so            SO            so           so            so            so            so           so            so            so           so           so           so           so
  $8,782     $8,782      $8,782      $8,782      $8,782        $8,782       SS,782       SS,782        SS,782        $8,782       $8,782        SS,782        S8,782        SS,782        SB,782       SB,782        SB,782       $8,782         $8,782       $8,782       $8,782       $8,782       SS,782



$354,600   $394,012    $472,701    $615,411   $&48,776     $1,195,120    $1,652,919   $2,361,994    $2,724, 416   SJ,166,197   $3,401,368    $3,401,368    $3,157,864    $2,716,083    $2,178,760   $1,644,536    $1,186,717   $1,257,109     $1,032,862    $190,153     $111,456     $739,770     $721,803




$457,556   $499,184    SSll,975    $728,936   $1,726,497   $1,299,031    $1,767,139   $2,495,341    $2,853,539    $3,314,344   $3,578,610    $3,602,461    $3,375,980    $2,956,705    $2,439,094   $1,921,180    $1,476,189   $1,556,353     $1,342,481   $1,201,722   Sl,131,083   $1,073,985   $1,494,109
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                          EXHIBIT F - ORGANIZATIONAL CHART




      ( W0570503.2 }
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                                                                                                                                     See Exhibit 3
                                                                                                                                                                                          Rishi Kapoor
                                                     See Exhibit 3                                                                                                                            50%

                                                                                                                                  Location Ventures, LLC
                                                                                                                                          100%
                                               Location Ventures, LLC
                                                        100%
                                                                                                                                                                                                 All Other Members
                                                                                                                                 Location GP Sponsor, LLC           Kapoor Capital, LLC
                                                                                                                                                                                                         54.54%
                                                                                                                                        36.369%                           9.091%
                                                                                                                                                                                                     See Exhibit 2


                                                 Location Equity                 All Other Class A Investors
                                                  Holdings, LLC                           71.43%
                                                        28.57%                         See Exhibit 1




                                                                                                                                                                             URBIN Founders Group, LLC
                                                                        Class A Investors                                                                                      Rishi Kapoor, Manager
                                                                              70%                                                                                                       30%




Halpern Family Trust               Thomas J. Tharrington                                                         URBIN, LLC
      7.428%                             4.456%                                                                  88.116%%



                                                                                                                                                            URBIN, LLC
                                                                                                                                                             (Class A)
                                 Class B Investors                                                                                                             37%
                                        63%




                                                                                         URBIN Coconut Grove Partners, LLC
                                                                                                               100%



      URBIN Commodore SPE, LLC                               URBIN Ventures, LLC                                   URBIN Commodore Residential SPE, LLC     URBIN Commodore Restaura _
                                                                                                                                                                                     n t SPE, LLC
               100%                                                100%                                                         100%                                     100%



      3138 Ground/Office Lease                                   3166 + 3170/Yoga                                                Condo Units                     3120 Ground Lease/Restaurant
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                                      EXHIBIT 1

                     Name of Member               Membership Units/%
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     7.14%/Class A
                                                     0.268% Class A
                                                     0.89%/Class A
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                                  EXHIBIT 2




                                               Membership Units/%
                                                     9.09%
                                                     9.09%
                                                     9.09%
                                                     9.09%
                                                     9.09%
                                                     9.09%
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                                      EXHIBIT 3
                        (Ownership of Location Ventures, LLC)




                                                                                                    Rishi Kapoor          Brij Kapoor
                                                                                                        50%                   50%



                                                                                                          ~/
                                                                                                           Kapoor Capital, LLC
                                                                                                           Rishi Kapoor, Manager
                                       Daniel Motha            Rishi Kapoor            Jan Kapoor          Brij Kapoor, Manager
                                           45.05%                  45.05%                1.25%                     8.65 %

                                              I                       I                                             I
                                                                      I
                    See Exhibit 3A                             Patriots United, LLC
                                                               Rishi Kapoor, Manager
                       50.14%
                                                                       49.86%

                                     ---------/
                                     Location Ventures, LLC
                                       Rishi Kapoor, Manager


                                                  I
                            I Continued from Organizational Chart I
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                                 EXHIBIT 3A

               Name of Member                     Membership Units/%
                                               3.00 Membership Units/2.515%
                                               5.00 Membership Units/4.191%
                                               2.00 Membership Units/1.677%
                                               0.75 Membership Units/0.629%
                                               0.50 Membership Units/0.419%
                                              0.625 Membership Units/0.524%
                 Vivian Bonet                  1.00 Membership Units/0.838%
                                               2.50 Membership Units/2.096%
                                               6.00 Membership Units/5.030%
                                             36.002 Membership Units/30.180%
                                              0.120 Membership Units/0.101%
                                              0.180 Membership Units/0 .151%
                                              0.180 Membership Units/0.151%
                                              0.500 Membership Units/0.419%
                                              0.971 Membership Units/0.814%
                                              0.485 Membership Units/0.407%
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                  PROJECT SUMMARY
                   OVERV I EW • DEAL SUMMAR Y • DEAL STRUCTURE
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3120 & 3138 COMMODORli PJ,AZA - CO - WORKING BUILDING




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WE NEED A
NEW URBAN
LIVING
SOLUTION
URBIN OFFERS AFFORDABLE GLOBAL MOBILITY
THROUGH RESPONSIBLE GREEN LIVING AND
WORKING IN URBAN CENTERS


URBIN offers a solut ion for the lack of mobi lity,
affordab ility, and sustainab ility experienced in h igh
demand urban centers g loba lly. The vision fosters
c reativity and ign ites connections t hrough small un its,
big amenit ies, and peer-to-peer socia lization. We are
a c ircular community that provides a responsible,
authent ic and portab le lifestyle a ligned with the gig/
free lance economy of today and tomorrow.




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THE PROGRAM                                 WORK SITE
                                            ADDRESS 3720-3138 COMMODORE PLAZA, M IAM I, FL 33733
                                            The Work Site 1s a ground up development which consists primari ly of
                                            co-working space w it h ground f loor retai l. The rooftop wil l be act ivated as


SUMMARY                                     an amenity/breakout area for the bui ld ing's guests/tenants. The reta il at
                                            grade w ill offer a food market with a variety of food and beverage opt ions.




                                            LIVE SITE 7
                                            ADDRESS 3720-3738 COMMODORE PLAZA, MIAMI, FL 33133
                                            The Live Site 7 project is a renovat io n of an existing mixed-use bui lding
                                            with traditiona l residentia l and commercial uses to a co-living and
                                            extended stay operation The bui ld ing w ill include curate d amenities
                                            along with an activated rooftop deck.




                                            LIVE SITE 2
                                            ADDRESS 3766-3770 COMMODOR E PLAZA. M IAM I, FL 33133
                                            The Live Site 2 proJect is a ground up deve lopment which cons ists of
                                            reta il at grade, co- livi ng and extended stay uses. The bui ld ing wil l inc lude
                                            curated amenities along w it h an act ivated rooftop deck.




                                            SF BREAKDOWN
                                                WORK SITE
                                                GROSS SF 125,000                RENTABLE SF 53,000


                                                LIVE SITE 7
                                                GROSS SF 28,000                 RENTABLE SF 18,000


                                                LIVE SITE 2
                                                GROSS SF 49,000                 RENTABLE SF 20,000



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                        THE PROJECT
                         LOCATION   • ARCH ITECTURE & DESIGN
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THE VISION

                                             Central to the concept is to create an UR BIN habitat of furn ished monthly

 AFFORDABILITY                                bedrooms where young professionals, students, and se rv ice professionals can
                                              live and work in a prime location that wi ll no longer cost upwards of half of
                                             the ir monthly inco me. The ultimate objective is to offer one easy subscription
                                              price for our members to cove r persona l overhead costs for living, working,
                                             and so much more.




 SUSTAINABILITY                               Further more, we aim to introduce sustainability measures as a commitment to
                                             our brand mission of environmen t ally respons ible developmen t that wi ll offset
                                             carbon impact through renewable energy and water strategies




                                              Freed by technology, our requirements to live in a spec if ic place are changing. W ith

           MOBILITY                          th is in mind, we aim to become a global platform al lowing ou r members
                                             the opportunity to relocate & travel from location to locat io n throughout the
                                             company's network.




                                              URBIN HABITATS wi ll be located in prime neighborhoods of major metro markets.
                                              UR BIN RETREAT resorts wi ll be found in vacation-oriented locations.
                                              UR BIN CAMPUS wil l be found in cities with a strong co llege and
                                              university-oriented cultu re.

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THE PROJECT
The ProJect is ant icipated t o del iver 202,000 gross
SF, comprised of co- liv ing, co-work ing, extended
st ay lodg ing and reta il at grade situat ed in t he
heart of Coconut Grove. Act ivat ion on the ground
f loor w ill primarily inc lude F&B opt ions. The rooftop
of al l sites wil l be act iva ted fo r soc ial gatherings.
U RBIN Coconu t Grove is situated on Commodore
Plaza, an act ive thoroughfare wh ich is also home to
p o p ular shops of some of the areas most wel l known
restaurants. Cocowa lk, one of the most popu lar ret ai l
dest inat ions in the City of M iami , is loca ted wi t h in a
few b locks of the Project. To add, parks and mar inas
are also located w it h in a wa lking dist ance.




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WORI<SITE
3120 -3138 COMMODORE PLAZA

The Work Site is an assemb lage of two contiguous
sites. The business p lan for t he Work Site is to
demo lish both ex ist ing structures and develop an
off ice bu ilding dedicated to coworking space with a
food market along w ith dry goods focused retail on
the ground leve l. The co-working space w ill feature
an array of uses including creat ive/art ist ic spaces, a
technology incubator along with co -working space
for sma ll bus iness including execut ive offices. The
g round floor area w ill house a col lect ion of spaces
cu rated around a market concept, serving a variety
of foods beg inning at breakfast and cont inuing
through late evening wh ile also provid ing retail
offer ings that comp liment da ily life




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LIVE SITE 1
3162 COMMODORE PLAZA

Th is si te is currently operating as a six-story condom in ium
bu ilding cons isting of residentia l and commerc ial un its.
Live Site l w ill inc lude co- living and extended stay lodging.
Amen ities include an act ivated rooftop deck. The bu ilding wi ll
offer purpose bu ilt co-l iving su ites in which each bedroom wi ll
have its own bathroom and closet space wh ich is the pr imary
differentiator between our offering and other deve lopments
in the co- living space Unrelated individuals sharing a su ite are
provided the comfo rt and privacy of their own room and the ir
own bathroom whi le sharing the common areas within the
unit such as kitchens, liv ing rooms and washers/dryers Al l co-
living units wi ll include prem ium furn ishings and amen ities.
The intent is to provide our targeted end-users an opportuni ty
to move- in t o a met icu lously curated space with j ust their
essentia ls that offers upscale f in ishes and programm ing
without commensurate upsca le pric ing .


The extended-stay su ites measure 337 to 627 SF and are
effic ient ly designed with h igh-end f in ishes. The sui tes offer
end users a longer term stay opt ion si t uated d irect ly on
Com modore Plaza, w h ich is lined w ith Coconut Grove 's most
pop ular rest aurants and within wa lking d istance of many of
the ne ighborhood 's amen it ies. In total, the Live Site l wi ll offer
44 co- liv ing beds and 78 extended stay su ites.




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LIVE SITE2
3162 COMMODORE PLAZA

The site is currently under contract and currently
operating as reta il space. The business plan is to
demo lish the existing structures and develop a
complimentary bui lding to the adjacent Live Site l
p roject. Live Site 2 is slated to include ground floor
retai l t ha t is anticipated to be food and beverage
centric, with co- living and extended stay lodging
su ites in the upper floors. Li ke Live Site l, the co-
living offering wi ll be purposed built de livering all
ratio of bedroom to bathrooms. The rooftop of the
building wi ll be activated and designed to create
a social atmosphere for the building's guests and
residents. The bus iness plan of this site is the same
as Live Site l the primary difference being Live Site
2 w il l inc lude mtail at grade.


Said retail wi ll be structured as a condominium
and is under contract to be purchased by a 3rd
party upon construction comp letion reducing the
Project's cost basis.




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                                                                               "Established in 1825, Coconut
                                                                               Grove is one of Miami's oldest
                                                                               neighborhoods; rich in history and
THE                                                                            a sense of place that attracts people
                                                                               from all over the world."
RIGHT                                                                          LOCATED ON A CENTRAL COCONUT GROVE THO ROUGHFARE



NEIGHBORHOOD                                                                   ONE BLOC K TO NEW LY D EV ELOPED COCO W AL K

                                                                               D IRECT ACCESS TO OUTDOO R PARKS AND ACTIVI TIE S SUCH
                                                                               AS SAI LI NG

                                                                               S MINUTES TO MAIN HIGHWAYS

                                                                               70 MINUTES TO OTH ER POPULAR DAD E COU NTY AREAS
M iam i's o rig inal neighborhood was founded in 7873                          SOUTH MIAM I. CORA L GAB LE S. A N D BRICKE LL
by an ec lect ic m ix of p ioneers, artists, inte llectua ls
an d adventu rers and is known for its w arm, la id-back
atmosphere w ith charming bout iques, galleries, gou rmet
rest aurants, an d sidewalk cafes. A nchored by th e bay, the
ne ighbo rhood is a dist inct enclave that is a favorite for
loca ls and visitors alike.


A perfect locat ion fo r UR BIN , Coconut Grove has t he
structure of an established ne ighbo rhood w ith the
spi rit of one t hat is experiencing a renaissance, an d it's
already attract ing the right aud ience that is in need of
off ice, reta il and resident ial space all in walking dist ance.
We ll-priced in t he heart o f a vibran t scene, the UR BIN
deve lop m ent site w ill be the new home for the Coconu t
Grove changem akers.




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THE AREA
 The established downtown Coconut Grove
 area is one of South Florida's most popu lar
 neighborhoods and one that is currently
 experiencing a birth of new developments


 The area is home to long-standing cu ltural
 institutions, a diverse banking and business
 district and vibrant dining and entertainment
 scene. It's a place peop le want to be, and demand
 fo r affordable new living options is o n the rise.
 W ith exp losive growth happening al l around it,
 Coconut Grove is experiencing its own reb irth.


 The neighborhood is rough ly bound by South
 Dixie Highway (US l) to the north and Biscayne
 Bay to the east. Centrally located to major pockets
 of M iami , t he location puts occupants in close
 proximity to Brickell/Downtown , Cora l Gab les, and
 South Miami as wel l as major transpo rtation hubs
 like the M iami Internatio nal Airport




                                                                      AERIAL VIEW OF PROJECT SUBMARKET
                                                                      COMPARED TO THE MIAMI METRO AREA




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WORK SITE - 3120-3138 Commodore Plaza
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LIVE SITE 1 - 3162 Commodore Plaza
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LIVE SITE 2 - 3166-3170 Commodore Plaza
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BUILDING DESIGN                                      Everything we do is meant to provide a place for a life well lived,
                                                     meaning our bui ldings reflect their environment, emphasize green
                                                     space, natural light, and are fu ll of common areas that enhance our
                                                     philosophies of live, work, and wellness.


& LAYOUT




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WORI<
INTERIOR                                                                     !2                      ROO F TE RRACE


DESIGN &                                                                     "      CORPORATE                  L[V[L 05




LAYOUT                                                                       ~      TECH & SMALL BUSINESS


                                                                                    COWORKING
                                                                                                               LEVEL 04



                                                                                                               LEVEL 03
                                                                    ro
The work site is designed to accommodate                                      ;:!   CREATIVE STUDIO & WORK     LEVEL 02
mu ltip le types of business, from artists and
solopreneurs to tech startups and estab lished
co rporate companies. Spaces and offices
are t houghtfu lly-planned Lo max imiLe space,                                "'
                                                                              N     MARKET                      LEVEL 01

p rovide mu ltip le break out areas and ensure
a n d have high- leve l services that address
                                                                             ~           BASE ME   T PARK ING LEVEL l
var ious operative needs.

                                                                             ~           BASEME N T PA RKI N G LEVEL 2




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WORI<SITE                   The fol lowing are mood images tha t illust rate the
                            style and mood of the exterior of the bui lding .




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WORI<SITE
ELEVATION




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ELEVATION




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                                                BUILDING



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WORI< SITE PLANS LEVELS4-5

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LIVING SPACE                                               From the moment you wa lk in the door, you know you're
                                                           home. Our unit layouts arc thoughtful ly p lanned and ma ke
                                                           use of eco-fr1end ly bui lding finishes, maxim ize space and


DESIGN & LAYOUT                                            ensure that everything you need 1s provided for .




 SAMPLE RENDt:RING OF CO - LIVE RESIDEN CE INTt:RIOR                                                                      43
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BEDROOM DESIGN
&LAYOUT




 SAMPLE R ENDf,'RfNC OF CO - LTVE RESIDENCE TNTER IOR

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LIVE SITE 1 - LEVEL 4




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LIVE SITE 1 - LEVEL 5




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LIVE SITE 1 - LEVEL 6

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LIVE SITE 1 - ROOF

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LIVE SITE 2 - BASEMENT

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LIVE SITE 2 - MEZZANINE


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LIVE SITE 2 - LEVELS 2-3


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LIVE SITE 2 - LEVELS 4-5


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LIVE SITE 2 - ROOF PLAN


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RESIDENCE
DESIGN
                                                                      8'-   M
                                                                                                                 9'-6"                             6'-2"
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LAYOUT                                     LO
                                           t'-'
                                                                     BATH
                                                                                    X         Joo
                                                                                                                LIVING/DINING
                                                                                                                          1[ X ~ - b "
                                                                                                                                             ~
                                                                                                                                             BEDROOM
                                                                                                                                               12' X 6' 2"
                                                                                                                                             jOUEEH SIZE IIEO I            I
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                                                                                                                                                                                  .'
 Every unit has its own
 bat hroo m, laundry, and
 k itchenette. Floors dedicated
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 kitchen, dining and living areas                                           ~                             3,                                                            ,..11.,
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                                                       SAMPLE LAYOUT & DESIGN OF 350 SF COLIVE RESIDENCE




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SUITES
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DESIGN                                                                                             I
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                                    SAMPLE LAYOUT & DESIGN OF 4 BEDROOM SUITE

LAYOUT
 Su ites are designed as a pod
 of three, four or six residences
 sharing a common kitchen.
 dining and living space.
 Each bedroom has its own                                    0            0
 bathroom .                                                      0000                                  I
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                                    SAMPLE LAYOUT & DESIGN OF 3 BEDROOM SUITE
                                                                                                                                 57
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                                                      188




STUDIOS
DESIGN
&
LAYOUT                                                                                 12' •


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 Studios are designed for those
 who wan t all the benefits of                   0                                 1
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 co- livin g with a b iL more space.                                               I
                                                       IVI GJOIN ING
 Res id ences are pr ivate w ith a
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                                                                             W/D         BEDROOM
 living area, kitchen, la un dry and                                               I
 bathroom .                                                                        I
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                                          SAMPLE LAYOUT & DESIGN OF STUDIO




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A COMMUNITY                                                                      CO -LIVING
                                                                                   70+ BEDROOMS


FOR LIFE
OUTSIDE                                                                          CO -WORKING
                                                                                   800+ DESKS



THEHOME
                                                                                 EXTENDED -STAY
URBIN offers a space to deepen connections to self and commun ity-a
                                                                                   38 SU IT ES
p lace for engaging with others, growing professional ly, explor ing the c ity
an d having authentic experiences. As a niche, mixed-use opportun ity,
we are bui lding a brand and product dedicated to addressing real-world
concerns of community and connection in all aspects of life

                                                                                 PARKING
                                                                                   200+ SPACES




                                                                                 OPERATIONS
                                                                                   MANAGED IN-HOUSE




                                                                                                            60
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WORK INSPIRATIONS
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                             TAILORED FOR THE NEEDS OF TODAY'S FLEX WORKERS
                             We offer a modern, co llaborative co-wo rking environment curated around

WORI<                        a community of entrepreneurs and crea t ive early-stage companies tha t
                             appeals to today's forward-thinkers. Our spaces are flexible, furnished, and
                             meet a variety of needs at affordab le rates, all while maintaining a sense of
                            community




SHARED CO -WORKING SPACE
  DESKS, SHARED OFF ICES, SHARED MEETING ROOMS,
  CALL ROOMS AND BREAKOUT SPACE

                                                                                                              OFFICE FEATURES

                                                                                                                MODERN STYLE REFLECTIVE OF O U R MEMBERS
RESERVED DESKS                                                                                                  SUPER-FAST WI RED AND W IRELESS IN TER N ET
  DED ICATED PR IVATE SPACE FOR l - 2 MEMBERS, MEETI NG ROOM ACCESS
                                                                                                                EXPANSIVE FLOOR -TO -CE ILIN G W INDOW W ALLS

                                                                                                                EXCLUSIV E OPEN -AIR OUTDOOR COMMON AREAS

                                                                                                                LOUNGE AREA W ITH COFFEE A N D TEA BAR

                                                                                                                OPEN KITCHEN AREAS ON EACH FLOOR
PRIVATE OFFICES
                                                                                                                STORAGE SPACE
  DES IGNED FOR EARLY-STAGE COMPANIES W ITH 15 EMPLOYEES OR LESS
                                                                                                                SMALL AND LARGE CONFERE NCE ROOMS
  FOCUSED OFF ICES DES IGNED FOR SMALL COMPAN IES AND EARLY-STAGE STARTUPS
                                                                                                                MEETING AND BREAKOUT SPACES

                                                                                                                CALL ROOMS

                                                                                                                EVENT SPACES
OFFICE SUITES
 LARGER OFFICE SPACES AVAILABLE FOR COMPANIES
 WI TH MORE SPACE NEEDS

  EXECUTIVE OFF ICE SPACES AVA ILABLE FOR FOR W ARD TH INKING GROWING COMPAN IES


                                                                                                                                                              62
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LIVE INSPIRATIONS
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                      DESIGNED TO ADDRESS THE LIFESTYLE NEEDS OF TODAY'S URBAN RENTERS


LIVE                  They love design, bu t don't want to furnish, c lean and maintain a large space. And forget
                      the b ig k itchen- they regularly eat out o r use ready-made meal services. They want a
                      cozy, convenient, stress-free living space that meets their needs for a comfortable price.




PRIVATE BEDROOMS
  AVERAG E 300+ SF

  EACH WIT H PRIVATE BATH, KITCH ENETTE AND LAUND~Y

  COMMON AREA, DIN ING, COMMERC IAL KITCHEN
                                                                                           RESIDENTIAL FEATURES

                                                                                               FULLY FUR     ISHED

                                                                                               U PGRADED UN IT FINISHES

SHARED SUITES                                                                                  ENERGY STAR STA INLESS APPLIANCES

  1,200 TO 2,400 SF // 4 TO 6 PRIVATE BEDROOMS                                                 GREEN AREAS ON EVERY LIVING LEVEL

  EACH W ITH A PRIVATE BATHROOM                                                                OPEN LIVING AND LOUNGE AREAS

  SEMI-PR IVATE LAUNDRY, COMMON AREA, D ININ G, KITCHENETTE                                    W ELLNESS AMEN ITIES, SUCH AS POO L, GYM AND SPA




                                                                                                                                                  64
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EXTENDED STAY INSPIRATIONS
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EXTENDED STAY
A DESTINATION FOR A TEMPORARY HOMEBASE
An extended stay home for wanderers with purpose, looking to re lax, rew ind and reconnec t.




STAY
    ROOMS HAVE COMFY FULL OR QUEEN BEDS, ENSU ITE
    BATHROOMS AND IN ROOM SERVICES




FEATURES

    FULLY FURN ISHED WITH BEAU ITFUL FINISHES

    SMART LOCK ENTRY

    PLUSH DUVETS AND COMFY COTTON LINENS

    WALK -I N RA IN SHOWER

    FLAT SCREEN HDTV W ITH FULL CABLE AND ACCESS TO
    FREE STREAM ING APPS INC LUDING NETFLIX & HULU

    FUR IOUSLY FAST & FREE W I-F l

    MULTIPLE USB PORTS & POWER OUTLETS

    INDIVIDUAL CLIMATE CONTROL

    HAIR DRYER AND GARMENT STEAMER

    IN-ROOM PERSO NAL SAFE

    PET FR IENDLY

    DAILY HOUSEK EP ING AVAILABLE
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ENGAGE                        AN AMENITY PROGRAM FULL OF OF OPPORTUNITIES FOCUSED ON INTERACTION
                              A home to a mindful mix of services and amenities. The below list is a sample of what we have in store.




   SHOP       CURATED GROUND-FLOOR RETAIL                           LOCAL BOUTIQUES. H IP NATIONALSHOPS . PRESTIGESERVICES



   TASTE      D ESTI NATION DIN ING            HEALTHY FAST CASUAL CAFE· LO UNGE • ROOFTOP DEC K



  SHARE       PERKS FOR CREATIVE CO-LIVING                       EN TER TAINM ENT DECK WITH BAR • OUTDOOR LOUNGE AR EA
              FULL PROGRAM OF COMMUN ITY EVEN TS         • COMMUN ITY MOB I LE APP




WELLNESS      PLACES TO RE LAX AND RETREAT POO L · SPA • GYM W ITH STRENGTH, CARDIO,                             UTR ITION & MOBILITY • BICYCLES




UPGRADE       NEXT-LEVEL LIFESTYLE SERVICES                      TECHNOLOGY PACKAGES. LAUNDRY . DRY-C LEANING. HOUSEKEEPING
              COOKING & GROCERY • DELIVERY OPTIONS· PARKING /VALET • CAR & B IKE-SHARE SERVICES • COMMUN ITY MANAGERS
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                                   SUSTAIN
                               SU STA I NABI L ITY • RES I LIENCY
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                                             UR BIN is thoughtful ly-planned with elegant solutions for food, wel lness, technology, transpo rtation and work.


SUSTAIN                                      The sustainabi lity program inc ludes plans for passive cooling, on-site water cap tu re and t reatment and the use of
                                             rooftop solar and on-site gardens food sources follow ing the Cradle to Cradle philosophy of William McDonough.




CRADLE TO CRADLE IS CHARACTERIZED BY                                                                   CRADLE TO CRADLE CONCEPT
THREE PRINCIPLES DERIVED FROM NATURE
                                                                                                       MATERIAL HEALTH
l Everyth ing is a Resource for Something Else                                                         IN BIOLOGICAL AND TECHNICAL METABOLISMS
2. Use Ren ewab le Energy
3. Celebrate Diversity


                                                                                                       CIRCULAR ECONOMY
                                                                                                       MATERIAL REUTILIZATION AND CONTINUOUS ASSETS




                                                                                                       RENEWABLE ENERGY
                                                                                                       CLEAN ENERGY AND RESTORATIVE CARBON BALANCES




                                                                                                       WATER STEWARDSHIP
                                                                                                       CLEAN WATER IN PRODUCTION AND USE CYCLES




                                                                                                       SOCIAL FAIRNESS
                                                                                                       SHARED ABUNDANCE




                                                                                                                                                                      69
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                                                                      URBIN adheres Lo a responsib le suslainab il ity plan thaL is design posiLive. To do th is, we t hink

DESIGNING                                                             of UR Bl N like a t re e - energy positive, economy positive, water positive, people positive, and
                                                                      material positive. By im p lement ing structures for these systems we work towards a circu lar
                                                                      economy that works at eve ry leve l


LII<EATREE
                                                                                       SOLAR ENERGY CAPTURE
                                                    FOG HARVESTING                     leaves cap ture so lar ene rgy
                                                    morning dew on leaves              through photosynthesis             HABITAT CREATION
                                                    drips Lo waler unde rs tory                                           other flora and fau na live 1n
                                                                                                                          ecosystem created by t he Lree

            NUTRIENT RECAPTURE
            falling leaves rev italize soi l                                                                                                EVAPORATIVE COOLING
                                                                                                                                            transpi ration inc reases hum id ity
                                                                                                                                            and coo ls the air



 FOOD PRODUCTION                                                                                                                                             SHADING
 acorns feed loca l fau na                                                                                                                                   leaves b lock
                                                                                                                                                             sola r rad1at1on




                                     RAINWATER CAPTURE

 METABOLISM                         roots absorb rainwa ter
                                     and nutrien ts                                                                                             NATURAL VENTILATION
 convect ion o f energy                                                                                        THERMAL MASS
                                                                                                                                                tree shape channe ls w inds
 and nutrients into an                                                                                         shaded eart h stays coo l        underneath boughs
 ecosystem
                                                                                                                                                                                   70
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                                               ENERGY POSITIVE
                                               Living things thrive on energy and can uti liLe renewab le energy
                                               in many forms - such as so lar, wind, geothermal and gravitationa l

POSITIVE                                       energy. Energy strategics inc lude reducing east and west
                                               exposures, utilizing natu ral ventilation when possible, inc reasing
                                               shade open ings, and reducing humidity


STRATEGIES                                     MATERIAL POSITIVE
                                               Throughout the project, we will prior1t1ze the use of products and
                                               materia ls considered to be 'biologica l nutrients' or 'technological
                                               nutrients' Bio log ical nutrients are those that are biodegradable and
                                               improve soi l hea lth, while technologica l nutrients are those that can
                                               be ful ly recyc led .


                                               ECONOMY POSITIVE
                                               To remain economy positive, construction practices wi ll facilitate
                                               materia l reuse and bui lding assembly We plan on bu ilding long-
                                               term relationships with product manufacturers lo bring them into
                                               the ecosystem of maintaining, reusing and refurbish ing mater ials.


                                               WATER POSITIVE
                                               The symbiotic nature of using both industrial and natural systems
                                               in our plan wil l create a new model for regeneration of air, water, soil
                                               and UR BIN . Using an integrated system of green roofs, vegetated
                                               swales, and porous paving structures captures, cleanses and
                                               releases clean water




                                                                                                                           71
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                                                    AVERAGE CLIMATE

THE IDEAL
CLIMATE                                                                                                                                                      I
Coconut Grove is located 1n one of the most
solar-friendly parts of the United States,
allowing UR Bl N to use solar as a main resource
                                                                 Sunny   hlll\l daudy   •   0Yt<U11   ,rulp1t.11<on d.1y,
                                                                                                                                                             I
of energy. W ind speed 1s cited as 70 mph, so
it does not make a use case for wind power,
so wind will instead be considered in passive       TOTAL PRECIPITATION
coo ling strategies emp loyed throughout
th e property Since re lative humidity is at 60
percent and below in the afternoon from
December to May, passive coo ling will work best             Tota l Preclpttatlon Yearly

during these months.                                    8                                                                                •   Tot Sumof
                                                                                                                                             Preclplta on
                                                                                                                                             per Yea r
                                                        60                                                                               -   Average for
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                                                                                                                                             of Record
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CLIMATE
CHANGE
                                                                         SITE AND BUILDING STRATEGIES
RESILIENCE                                                                  ENERGY AND WATER INDEPENDENCE
                                                                            BU ILT FOR LESS RELIANCE ON FOSS IL FUELS
                                                                            FLOOD PROTECTION AT GROUND FLOOR
We can't discuss sustainab ility, without d iscussing the future
                                                                            SITE ENERGY STORAGE IN GRID SCALE BATTER IES
effects of climate change. In the greater Miami area, the effects
                                                                            A D VEH ICLE BATTERIES
of cl imate change can be seen throughout the city and local
                                                                            HURR ICANE RES ILIENT
an d state governments are imp lementing programs and
infrastructu re to combat these changes and limit the damage.               UTILIZATION OF STORM RES ISTANT ENVELOPE
We wi ll go steps beyond thi s by planning for resi lience against          BU ILT TO SERVE THE NE IGHBORHOOD IN
cli mate change, natura l d isasters, and other incidental acts.            CASE OF DISASTER




                                                                                                                           73
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                                                                 ENERGY EFFICIENCY & WATER CONSER VATION
                                                                    ENERGY-CONSERVING BUS INESS PRACT ICES THROUGHOUT

                                                                    ENERGY-E FFICIENT INTERIOR FLUORESCENT LIGHTING



DESIGN                                                              ENERGY-EFFICIENT LIGHTING THROUGHOUT THE COMMUNITY

                                                                    ENERGY STAR APPLIANCES
                                                                    WATER-CONSERVING SHOW ER HEADS, FAUCETS & TOI LETS


POSITIVE                                                         SUSTAINABLE BUILDING


AT EVERY
                                                                    GR EE N BU ILDING C ERTIFICATION FROM FLOR IDA GREEN BU ILD ING
                                                                    COALITION (FGBC) AND NATIONAL GREEN BUILD ING STANDARDS
                                                                    (NGBS) SILVER FOR ZONE l
                                                                    RECYCLED MATER IALS US ED DURING CONSTRUCTION


LEVEL                                                               ELECTR IC VEH ICLE CHARG ING STATIONS



We are comm 1tLed to our susta inab ility prog ram
                                                                 AIR QUALITY
at every level and have listed add itiona l features
t hat w ill be impleme nted throughout the                          LOW-VOC PAINT USE D IN APARTM ENT HOMES
property to ensure we are working toward s our                      DOUBLE-PANED WINDOWS & THE USE OF LOW-E GLASS TO REDUCE
goa l of being complete ly carbon-neutra l.                         SOLAR HEAT GAIN & IMPROVE ENERGY EFFICIENCY
                                                                    FR ESH AIR C IRCULATION SYST EM
                                                                    PROGRAMMABLE TH ERMOSTATS TO HELP IMPROVE ENERGY EFF ICIENCY



                                                                 LANDSCAPING
                                                                    MU LCHED LANDSCAPING FOR MO ISTUR E RETEN TION
                                                                    NATURAL STATE LAWNS DUR ING ALL SEASONS

                                                                    LANDSCAP ING AND IRR IGATION SYSTEM INCORPORATED TO
                                                                    LIMIT WATER & ENERGY USE

                                                                    EROS ION CONTROLLED SITE PLANNING



                                                                 RECYCLING
                                                                    C LOSED- LOOP RECYCLING PROGRAM THROUGHOUT BU ILDING
                                                                    ECO-FRIENDLY CLEAN ING PRODUCTS

                                                                    CHLOR INE-FREE SALINE POOL TREATMENT                              74
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                        THE EXPERIENCE
                     LIFESTYLE   • CULTURE • COMMUN ITY • CONNECTION
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bIFES+YLE


                        UR BIN aims to reflect t he lifestyle of the future: a forwa rd-thinking structure packed
                        with e legant so lutions fo r food, we llness, techno logy, transportation and work.




                                                                                                                    76
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CULTURE
UR BIN is a place to live, a p lace to work,
and a place to engage. Focused on
p ositive impact in community, URBIN
offers an oppo rtunity to live better for
anyone and everyone who interact with
touchpoints in the platform . The p latform
is warm, fr iend ly and open to everyone
who is looking for a place to be cu ltu rally
minded, thoughtfu l and make an impact
in t heir lives and the lives of others.




                                                                                                              77
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COMMUNITY
The URBIN community is a diverse group
of freethinkers, enterprising creatives, and
entrepreneurs trying to change the world
and push the status quo. The community
is d igita lly active but the true bonding
experience comes from interactions within
the physica l space. From introduct ions on our
app to enjoying pizza n ig ht in the common
lounge or sharing startup business ideas, t here
is a variety of community activities that our
m embers can partake in.




                                                                                                             78
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CONNECTION
URBIN offers a unique living
experience that reflects how
people today really live. Our un its
provide all the expected modern
conveniences 1n a design-forward,
efficient space wh ile offer ing a
wide variety of exterior bu ilding
amen it ies that encourages
connect ion Lo the commun ity
and to the outdoors for a more
engaged, nature-filled experience.




                                                                                                             79
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                             OPERATIONS
                            I NTEGRATED MANAGEMENT SERV ICES
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                                              Our in -h ouse operating and leasing company wi ll provide integrated
        36O -DEGREE                            property management and leasing services to all URBIN branded
                                              developments. Rather than give th is role away to an outside operator, we
INTEGRATED SERVICES                            be lieve that the best people to execute our community vision are right here
                                              with our in-house team.




              LEASING&                         UR Bl N manages the leasing and operations of the entire UR Bl N property, from
                                               resident spaces to our commercial and community fac ing areas. In addition to

           MANAGEMENT                          back-of-house, day-to-day uti lities and ma intenance, we also manage front- desk
                                              service and employ a group of engaged community managers thal embody
                                              the UR Bl N philosophy and p lan an array of in-house events and neighborhood
                                              activities that nurture our com mu nity.




                                              To provide a smooth end-to-end experience we have partnered with a tech no logy
             TECHNOLOGY                        p latform that facilitates operations at every touch point, faci litating every interaction
                                               between residents, members, staff, visitors, and the back-of-house




                                               'For more about operat ions, please see our operations deck.
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                      MARI<ET OVERVIEW
                  COCONUT GROVE MARKET· COCONUT GROVE RENTAL MARKET
          DEMOGRAPH IC TRENDS· COCONUT GROVE OVERVIEW· COMPARABLE PROJECTS
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THE
CHANGING
FACE OF                                                          FLORIDA
                                                                    TH IRD MOST POPULOUS STATE IN THE NATION


MIAMI                                                               SINCE THE 2010 CENSUS, THE POPULATION HAS INCR EASED BY 12.8%.




                                                                 SOUTH FLORIDA
MIAMI IS A RESILIENT
                                                                    THE 4TH LARGEST URBAN AREA IN THE US
MARKET THAT THRIVES ON
CONSTANT REINVENTION AND                                            6 .l MILLIO   PEOPLE

EXPERIMENTATION .                                                   4,400 PEOPLE/SQUARE M ILE

                                                                    335,405 NEW JOBS ADDED IN TH E PAST 5 YEARS
Our ever-changing city attracts thriving and diverse
people from a ll over the world, and the norma l ru les
simp ly do not apply here. The area has changed
d ramati cal ly over the past 10-15 years, fue led by the
fo rces of g lobalization, an influx of wea lth and rapid ly
                                                                 MIAMI DADE COUNTY
chang ing consumer t astes.                                         POPULATION                     2.7 MILLION

                                                                    POPULATION% CHANGE 2010-7019   8.8%

                                                                    UNEMPLOYMENT                   2.4% (PR E-PANDEM IC ANNUAL AVG)




                                                                                                                                      83
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SHIFTING
DEMOGRAPHICS
                                                                              WHO ARE MIAMI MILLENNIALS?
URBIN is the re sult of a re ac tion to a growing change in the
popu lation's habits and l ifestyle needs. As more people rent and              23-38 YEAR OLDS
tr a f f ic inc reases, the re is a focus on livin g and working in an area     RECEN TLY PASSED BABY BOOMERS IN TOTAL SIZE
th at suits both budget and daily life . Miami now tops the list of
                                                                                D IGITAL NATIVES-GREW UP ONLINE
cost-burdened American rental markets and the county is one
of the top for M i llenn ia ls, at 27% of the popu lation and growing           27% OF MIAMI 'S POPULATION AND GROWING

                                                                                M ED IAN INCOME $20,000 (33% BELOW OVERALL
                                                                                MED IA MIAMI INCOME)




                                                                              MILLENNIALS ARE LOOKING FOR
                                                                              URBAN LIVING SOLUTIONS
                                                                                46% OF M ILLE NNIALS PREFER CITIES BUT CITE
                                                                                AFFORDABILITY AS AN ISSUE

                                                                                54% RANKED WA LKAB ILITY AS IMPORTANT

                                                                                39% RANKED CONVENIENT PUBLIC TRANSPORTATION H IGHLY

                                                                                44% RANKED ACCESS TO SHOPP IN G AND ENTERTAINMENT
                                                                                AS ONE OF THE IR TOP PR IOR ITIES




                                                                                                         Worst Case Housing Needs: 2017 Report To Congress   84
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OUR AUDIENCE
UR Bl N 's aud ience 1s a n exceptiona l b lend of people,
p e rspectives and pu rsuits. The thread is the desire to
li ve i n an u r ban envi ronment, the need for affo rdab le
h ousing , access to flexible worki n g space, and a
li festy le that ho lds community, engagement , and
wellness as a priority




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WORI< AUDIENCE
The UR Bl N work community is an exceptional mix of peop le, perspect ives, and pursu its w ith
common characterist ics, inc luding the need for flexible workspace, the abi lity to fee l comfortable in a
soc ial environment and a want for an enriched li festyle where work, life, and wellness are a priority.




          NOMAD                            HIGH FLYER                          ENTREPRENEUR                   CORPORATE                 COMPANY


        For free lancers,                    Fo r workers who                      For corporate users            For serious         For companies sma ll
     te lecommuters, and                    have a second job                      who need to travel          companies tha t        and large, our space
       those w it h a smal l               or a pass ion proJect,                    to M iam i fo r an       requ ire privacy but      accommodates
      footprint, access to                 URBIN is a space to                      extended pe riod          want the benefits       growing teams. Al l-
        work ing space,                     focus on the work,                      of t ime, we offer        of shared, flexible      inc lusive rates and
      meet ing rooms and                    envision the future                      a seamless live/          workspace and         turn-key services allow
     a community of like-                   and connect with                       work solut io n at an        a community           companies to focus
      m inded individua ls                  other like-minded                     affordable price w it h     envi ronment, we        on the business-we
      is the perfect p lace                     individua ls.                    the comforts of home.         offer a seam less       manage the rest
         for prosperity.                                                                                        work solution.




                                                                                                                                                         86
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  LIVE AUDIENCE
Our live aud ience wants both the privacy of t heir own home and a commun ity at
the ir doorstep. By offering flex ib le terms to suit un ique schedules, both long and
short, UR BIN offers a living solut ion tha t al lows res idents to fe12I right at home.




     YOUNG                                       STUDENTS                                    SERVICE                     CORPORATE                      THE
 PROFESSIONALS                                                                              COMMUNITY                                                  NOMAD

   For young professionals                   Perfect for students who                        For service workers         For corporate users      For freelancers, dig ita l
    who are looking to live                want to live off campus but                        who have income           who need to travel to      nomads or travelers,
   their lives outside of the                st ill have a sma ll budget                   const rain t s but want to   Miam i for an extended     the sma ll footprin t ,
  home, the affordab ility of               and a sma ll footprint. The                    avoi d long commutes           period of time, we        access to work ing
   a singl e bedroom space                    lifestyl e of the concept                    and stay c lose to work      offer a seam less live/    space, and access to
 and the socia l commun ity                  d irect ly ali gns with how                    and the commun ity            work solut ion at a      working space and
   perfectly f its the lifestyle           many students are already                       they service, we offer a     afford ab le price with     commu n ity make
  needs of an ear ly to m id-                 accustomed to living,                        so lution that f its their   the comforts of home.       Coconut Grove an
   20s profess iona l look ing                surrounded by fe llow                         needs fo r affordable                                   att ra ctive p lace to
  t o experience culture an d               co ll egiates and in need of                   housing whi le offering                                touch down for awhi le.
     engage w ith others.                   spaces tha t fac ilitate their                    access to lifestyle-
                                             home and stu dy needs.                         enrich ing amen ities.




                                                                                                                                                                        87
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EXTENDED STAY AUDIENCE
By offering extended stays with hoLe l amenities and apartmenl comforls, URB IN
offers a living so lut ion that allows trave lers to ease righ t in to liv ing like a local.




                            TRAVELERS                                               CORPORATE                    THE NOMAD


                       For trave lers looking                                       For corporate use rs        For free lancers and
                      for the quintessen t ia l                                      trave ling to Miami          d igital nomads
                    Miami Beach experience,                                        for an extended stay,         looking for a sma ll
                     URB IN offers affordab le                                    URB IN offers a seam less     footprint, access to
                   hospita lity with a standout                                    al l-in-one home away         workspace, and a
                      socia l community that                                        from home solution         community to plug in
                      b lends the guest and                                       with the conveniences       to at touchdown , URB IN
                       resident experience.                                        of the office, and just      Retreat is the ideal
                                                                                    steps to the beach.        p lace to stay a whi le.




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COCONUT
GROVE
DEMOGRAPHICS

URBIN Coconut Grove 1s right place, right time. It's a
cutting-edge product in the perfect locat ion that stands
to be a major win-win for investors and tenants alike. Our
project offers a premium co -l ive/cowork experience in a
prem ie r destination to a growing popu lation of renters.




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DEMOGRAPHICS
 Population                                                                                               Income
                                                                      2 mile     5 mile        10 mile                                                    2 mile      5 mile    10mile

 ,,, 1 F                   )         j   ,r                           59 ,530   391 .092     1,133.572    4,; ~     1vvSt                   )1         $114.553     $83 .728    S79,584

 '1            r~ P                  ,. r                             66 ,649   448,740      1,263,373    M1.<l1 IP             J. <   r         'TI    $80,892     S52.611     S51 .722

 '>()>                                   >r f                r,       69 .172   467.101      1.309,216         :,        ~))                              4,335      47.476     125.444
              '                 ''
     r·                                                                 1.2%       1.5°1<.       1.1 °0   5.,                                             4.584      36.463     101 ,429

 Ar           ,a C                                                     0.8'}o     0.8°0          0.7°/o   ~·    (   I(                 K                  3.76 1     26,034      74.774

 Me..;lld!             K~t                                              43.2       41 .7          41 .7   ~,h ()(Jl            1')()000                   2.798      16,904      48,111

 B-,cn             0'                    :J"P r H qt                    47%        32%           29%      !,1()0 ()(}(j         1:>'.JJOO                 2,784      12.515      31.9 11

 l, C         ~rP t (j ~                                                  25         187          445     S '>S 0'              150000                    1,315       6.675      18.060




 Households                                                                                               Housing
                                                                      2 mile     5 mile        10 mile                                                   2mile        5 mile    10 mile

 'C 1 H                     hE.t"         CJ                          25 .072   154,777       421 ,505    •,,1, 11 vi He Tc V,             i€          $622 ,246   $416 .891   $366,012

 )[               ii        ,.£·I         ff                          26.678    173,870       465,218     M         ll    l    tr Kr t                     1967        1972        1973

                                                                      27.445    180,324       481.073
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          f Uu             lf    ,,1r                   "(        I      0%       0.5%           0.4%

 .-l )r ua. brnv\t1                           )   )' (, ')()   .,      0.6%       0.7%           0.7%

 ( WI ( f \.                     ur Lli                               14,068     68,381       217,206

 it Ille               )        l,U~     ,ed                          12.610    105,488       248,013

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THE HOME OF
TOMORROW
Location, th ey say, is the most important thing in real
estate. But for us, this isn't where the story ends . It's only
the first step in a unique Journey. Rather than replicate the
same product on every site, we craft one-of-a-kind living
experiences that make the highest and best use of unique
development locations.


For some projects, this means an ultra-luxury single-family
home. For others, it may be a hip urban tower where young
professionals live and work at one address. The common
thread woven through all Location Ventures projects is our
relentless desire to build one thing - the home of tomorrow.




                                                                                                             2
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 BUSINESS
 AREAS




                          LOCATION                         LOCATION                               LOCATION
                           CAPITAL                       DEVELOPMENT                             PROPERTIES


                  A private real estate investment and    Focused on developing             A full-service real estate sales and
                   asset management division that        architecturally signifi cant   marketing team that offers comprehensive
                  raises capital to invest in premium    living experiences to key      buyer, seller, and investor services to both
                   locations and premier developers.     markets in South Florida.          property owners and developers.




SPON'SOR ,~ SUM                                                                                                                        3
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                                                                URBIN

                                                                A forward-thinking co-live, co-work and
                                                                well ness platform focused in the urban core.




                                                                MU LTI - FAMI LY

                                                                Our multi-family projects range from boutique
                                                                condos with niche targets to luxury high-rises.


DIVERSIFIED
DEVELOPMENT
                                                                SINGLE - FAMILY
DIVISIONS                                                       Location Development is active in the residentia l space with
                                                                a focus on ultra-luxury single-family homes. Current projects
                                                                include homes designed by Cesar Mo lina and Max Strang.




                                                                RENOVATIONS

                                                                Part of our development ethos includes the
                                                                rehabil itation of existing property to ma rket standa rd
                                                                through thoughtful design and well executed plans.




                                                                                                                                4
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                                                                  Our development process starts from acquiring property and extends through the design

 OUR PROCESS                                                      process to construction, while remaining on schedule, minimizing risk and maximizing
                                                                  value. From end-to-end construction and management, Location Development does it all.




 01                                      02                                                                                               04




 ACQUIRE                                 DESIGN                                           BUILD                                           MANAGE

 We identify market opportunities       Our experienced project                           Construction is closely overseen                Location Development is a fully-
 in premium locations while             managers work a with our                          to ensure quality, on-time delivery             integrated build-manage operator
 striving to practice financial         partners to create a design and                   and cost-effectiveness, and to                  and we take an active management
 discipline, conservative risk          program for projects that add                     maximize owner investment while                 role of multi-family and commercial
 assessment, and flexibility to         value to the property and align                   also taking into consideration of               projects, ensuring that investments
 deliver value to our projects .        with our core philosophy.                         the project's needs                             are optimally performing long after
                                                                                                                                          they are constructed .




SPONSOR Rl SUME                                                                                                                                                                 5
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    1234-1260 WASH INGTON AVENUE, MIAMI BEACH, FL


                                                                                             PURCHASE PRICE


    UR BIN                                                              MIAMI
                                                                        BEACH
                                                                                             $20.0M or $597 per lot SF.




                                                                                             PROJECT CAPITALIZATION
                                                                                             $58.0M (Incl. purchase, hard, soft and interest cost)


              ASSET         1234-60 Washington Avenue (the "Property") is comprised
                            of two income-producing commercia l properties situated
           SUMMARY                                                                           ENTITLEMENTS
                            on a 33,493 SF lot. The property is improved with 27,012
                            square feet of leasable space spread between two                 The City of Miami Beach recently approved the
                            buildings utilized as traditional office and strip retail that   project Per architectural plans, subject to change,
                            houses food and beverage businesses.                             the project Is anticipated to be 6 stones with a
                                                                                             gross area of I.) 19,200 SF of existing space; and 11.)
                                                                                             82,622 SF of new construction.


  TRANSACTION               Off market opportunity to acquire an income producing
                            property situated on a premier corner in the heart of South
     SUMMARY
                            Beach offering upside via a redevelopment opportunity.
                            The asset is currently under contract and is anticipated to
                            close in Nov. 2020 .




           BUSINESS         1.) Repositioning the existing office building from
                            traditional to co-working use with wellness oriented retail
               PLAN
                            at grade and rooftop break out space; and 11.) redeveloping
                            the existing retail building to co-living and extended stay
                            use with F&B options located at grade and on the roof
                            deck that includes a pool amongst other activations.



                                                                                             ------------ ------------

SPc)NSOR RE ~U"1>                                                                                                                                      8
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1 2 34 - 1 2 60 WASHINGTON AVENUE , MIAMI BEA C H , F L




UR BIN                                                            MIAMI
                                                                  BEA C H




         WORK                  Renovation of an existing traditional office building to
                               coworking space, with ground-floor retail and rooftop
          SITE
                               breakout space The building is anticipated to comprise of
  PROGRAMMING
                               139 revenue generating desk spaces The ground floor will
                               house a robust wellness program that will be accessible to
                               co-living residents and extended stay guests.




    CO-LIVE/EXT.               Ground-up development consists of co-live and extended stay
                               lodging units with micro-retail and F&B at grade along with a           STATUS
      STAY SITE
                               rooftop pool and bar or restaurant. Levels two (2) and three (3)        Approved project In the des ign development phase
  PROGRAMMING
                               are dedicated co-living floors Level four (4) can be utilized as        of the arch1tectural/des1gn process . The project Is
                               either co-living or extended-stay lodging and levels five (5) and six   ant1cIpated to break ground in the 3rd qtr of 2021
                               (6) are strictly dedicated to hotel use. Tota l revenue-generating      with completion slated for 3rd qtr of 2023 .
                               units, including co-living and hotel rooms, equates to a tota l of
                               107 units The ground floor will house F&B options inc luding a
                               cafe, grab and go mea ls/snacks and a bar fronting Washington           VALUATION
                               Avenue offering entertainment to guests and residents .                 Estimated value of $98 .8M
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1234- 1260 WASHINGTON AVENUE , MIAMI BEACH , FL                        THE NEXT GENERATION IS EVOLVING WHAT IT WANTS
                                                                         TO CALL HOME , PRICES ARE PROHIBITIVE IN MANY
                                                                       CORE URBAN MARKETS , AND WE NEED TO REDUCE OR



UR BIN                                            MIAMI
                                                  BEACH
                                                                        ELIMINATE THE ENVIRONMENTAL IMPACT OF DENSE
                                                                       HOUSING . THESE ARE THE THREE GREAT CHALLENGES
                                                                           OF OUR TIME , AND URBIN OFFERS A SOLUTION .


                                                                                              R I S HI K AP O O R




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    3120, 3138, 3162, 3166, 3170 COMMODORE PLAZA, COCONUT GROVE, FL


                                                                                                        PURCHASE PRICE


   UR BIN                                                              COCONUT
                                                                       GROVE
                                                                                                        $23 .3M




                                                                                                        PROJECT CAPITALIZATION
                                                                                                        $88 .6M


          ASSET          3120-3170 Commodore Plaza (th e "Property") is comprised of five
                         conti guous properties situated on 45,788 SF of land The exist ing
       SUMMARY
                         parcels are comprised of various uses including, a closed vocational           ENTITLEMENTS
                         schoo l, retai l, and mixed use (offi ce/ multi fam ily). 3162 Commodore       The entitlement process has commenced .
                         Pl aza is currently bei ng ut il ized as extended stay lodgi ng with offi ce
                         use and said revenue is being utilized to offset predevelopment cost.




TRANSACTION              Sponsorship has closed on 3120, 3138, 3162 Commodore
                         Plaza . 3166, 3170 Commodore Plaza are under contract
   SUMMARY
                         including an option to close as early as Dec. 2020.




        BUSINESS         I.) 3138, 3120 Commodore Plaza : The property will be redeveloped
                         into an offi ce building with ret ail at gra de. The specifi c use wi ll be
            PLAN
                         co-working space with market/food hall located at grade including
                         roof deck activation offering F&B options . 11.) 3162 Commodore
                         Plaza : The property will repositioned to co-living and extended
                         stay use with commercial uses on lower levels including roof deck
                         activation . 111.) 3166, 31 70 will be redeveloped as a multifamily
                         property with co-living and extended stay uses with retail uses at
                         grade along with roof deck activation .




SPONSOR RESUME,                                                                                                                                   11
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3120, 3138, 3162, 3166, 3170 COMMODORE PLAZA, COCONUT GROVE, FL




UR BIN                                                        COCONUT
                                                              GROVE




       WORK            Ground up development of co-working and
                       F&B oriented retail on the ground floor. The
        SITE
                       building Is ant1c1pated to comprise of 754
PROGRAMMING
                       revenue generating desk spaces Rentable SF
                       Is forecasted In the amount of 50,672 SF with
                       13,000 of retail bifurcated between the ground
                       level and the rooftop.                               STATUS
                                                                            The redevelopment of the Property is in the
                                                                            planned stages meaning architectural plans are in a
  CO-LIVE/EXT.         The live component of this project is bifurcated     position of meaningful percentage completion . The
                       between two buildings. The first building Is an      entitlements regarding co-living legislation continues
    STAY SITE
                       existing asset that will be repositioned to co-      to undergo the legislative process with the City of
PROGRAMMING
                       living use with a combination of studios and co-     Miami. During said process Sponsorship continues to
                       living suites. Building two, will include extended   move forward with predevelopment work.
                       stay lodging along with co-living suites and
                       stud ios apartments . Both assets will include
                       retail on the ground floor and rooftop activation    VALUATION
                                                                            Estimated Value of $1 87 2M




                                                                                                                                     12
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3120, 3138, 3162 , 3166, 3170 COMMODORE PLAZA, COCONUT GROVE, FL
                                                                               WE NEED A NEW URBAN LIVING

                                                                            SOLUTION . URBIN OFFERS AFFORDABLE




UR BIN
                                                                                GLOBAL MOBILITY THROUGH
                                                 COCONUT
                                                                              RESPONSIBLE GREEN LIVING AND
                                                 GROVE
                                                                                WORKING IN URBAN CENTERS .




                                                                                                                 n
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 299 ALHAMBRA CIRCLE, 255-273 MINO RCA AVENUE, CORAL GABLES, FL


                                                                                              PURCHASE PRICE


 UR BIN                                                         CORAL
                                                                GABLES
                                                                                              Phase 1 $12.SM; Phase 2 $11 .SM (Target)




                                                                                              PROJECT CAPITALIZATION
                                                                                              $110.4M (Incl. purchase, hard, soft and interest cost)


      ASSET          The Project 1s comprised of two phases . (1) 299 Alhambra Circle is an
                     existing 52,000 SF office building A subsidiary of the Sponsor, Forum,
   SUMMARY
                     which is a co-working operation, has opened on the ground floor the      ENTITLEMENTS
                     remainder of the building 1s currently traditional office use There 1s   The entitlement process has commenced.
                     also retail use on the ground floor. (2) 255-273 Minorca Avenue 1s
                     28,000 SF land assemblage to be developed into ground floor retail,
                     parking for both phases, and co-living residential use.




TRANSACTION          Sponsorship has closed on 299 Alhambra Circle
                     Sponsorship holds an option to purchase Phase 2, which
   SUMMARY
                     will be acquired at a future date




   BUSINESS          The Project 1s comprised of two phases and across the two
                     phases, Sponsorship ant1c1pates the creation of ~300 bedrooms,
       PLAN
                     ~600 desks, 355 parking spaces and retail dedicated to health and
                     wellness Together, the combined ~250,000 SF project is located in
                     one of the most desirable areas of Downtown Coral Gables within
                     walking distance of Miracle Mile and the area's best amenities .




                                                                                                                                                       14
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299 ALHAMBRA CIRCL E, 2 55 -2 73 MINORCA AVENU E, CORAL GABL ES, F L




UR BIN                                                           CORAL
                                                                 GABLES




            WORK         Phase 1 • The Work Site, which Is anticipated
                         to provide 600 desks, is designed to
              SITE
                         accommodate multiple types of business, from
PROGRAMMING
                         artists and so lopreneurs to tech startups and
                         establish corporate companies . Spaces and
                         offices are thoughtfully-planned to maximize
                         space, provide multiple break out areas and
                         ensure that everything is provided for.

                                                                          STATUS
                                                                          Phase 1 • The ground floor has been repos1t1oned to co-working space and the

                         Phase 2 Programming includes private             remainder of the building will be converted from traditiona l use to co-working
  CO - LIVE/EXT.
                         bedrooms, in a co-living setting, and            use via phased process . Phase 2: This project Is in the planned phase
      STAY SITE
                         studios and micro studios . Bedrooms
PROGRAMMING
                         in shared suites each have a private
                         bathroom. All studios have their own             VALUATION
                         laundry, common area and kitchenette .
                                                                          Estimated Value of $7 35.9M




                                                                                                                                                            15
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299 ALHAMBRA CIRCLE, 255-273 MINORCA AVENUE , CORAL GABLES, FL           URBIN OFFERS A COMMUNITY FOR LIFE

                                                                       OUTSIDE-ENGAGING WITH OTHERS, GROWING

                                                                       PROFESSIONALLY, EXPLORING THE CITY AND



UR BIN                                          CORAL
                                                GABLES
                                                                         HAVING AUTHENTIC EXPERIENCES . AS A

                                                                       NICHE MULTI - FAMILY OPPORTUNITY, WE ARE

                                                                       BUILDING A BRAND AND PRODUCT DEDICATED

                                                                          TO SOLVING REAL - WORLD PROBLEMS .




                                                                                                                  lb
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501-525 VALENCIA AVENUE , CORAL GABLES , FL




VILLA VALENCIA

           ASSET           501-525 Valencia Avenue (the "Property") is a
                           45,299 SF site with an approved FAR of 135,687 SF
        SUMMARY
                           with an additional 50,000 SF of garage space c




         BUSINESS          Ground-up development of boutique condominium
                           building with 39 luxury units. Sizes range from 2300
             PLAN
                           - 6000 SF (ac) + terraces up to 3000 SF. Zoning &
                           Land Use approvals & entitlements are in place with
                           the City of Coral Gables.




        PURCHASE           $16 .0M or $353 per lot SF

            PRICE



      PROJECT              $95 2M (Incl. purchase, hard, soft and interest cost)

CAPITALIZATION



  ENTITLEMENTS             The City of Coral Gables has approved the Project.




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501-525 VALENCIA AVENUE, CORAL GABLES, FL
                                                                         STATUS
                                                                        The Property is under construction and the 6th level
                                                                        has been poured . Top of is anticipated with February

VILLA VALENCIA                                                          of 2021 and TCO is expected in October of 2021 .




                                                                        VALUATION
WEBSITE   VILLAVALENCIA.COM
                                                                         Projected Gross Sell out of $123.0 M




                                                                                                                                19
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501 - 525 VALENCIA AVENUE , CORAL GABLES , FL
                                                                                                  <(
SITUATED ON THE PRIVATE SIDE OF CORAL CABLES,
VILLA VALENCIA FEATURES THIRTY-NINE LUXURY                                                        u
CONDOMINIUM RESIDENCES THAT OFFER A RICH CITY
LIFESTYLE WITH THE PRIVACY OF BOUTIQUE LIVING.
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  BAYSHORE DRIVE , FORT LAUDERDALE, FL




  537
  BAYSHORE
         ASSET        537 Bayshore Drive Is a 67,000 SF site currently undergoing the entitlement
      SUMMARY         process. Based on the latest architectural drawings the project will consist of
                      384,000 gross square feet with 174,000 sellable square feet of space spread
                      between two buildings that 11 levels in height including an activated roof deck.



      BUSINESS        Ground-up development of a boutique condominium bui lding comprised of 65 units
          PLAN        with an average size of 1,200 SF per lower level villas and 2,800 SF per condominium



PURCHASE PRICE        $25 OM or $373 per lot SF



      PROJECT
                      $100 .2M (Incl. purchase, hard, soft, and interest cost)
CAPITALIZATION


 ENTITLEMENTS         Currently in progress



         STATUS       The project is undergoing the entitlement process
                      with approvals expected in the near term


     VALUATION        Projected Gross Sellout of $7 63 2M .




                                                                                                             2'
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 8 0 0 S OUTH DIXIE HIGHWA Y, C ORAL G ABL ES, FL




 ORDUNA
 CO U RT

        ASSET             Orduna Court, a 24-unit modern co-living property in a boutique
                          setting located within wa lking distance to the prestigious
     SUMMARY
                          University of Miami. The residences are eq uipped with smart
                          technology and thoughtful amenities . The property is made up
                          of 24 spacious 2- and 3-bedroom newly renovated apartments,
                          which feature generous balconies This four-story bu1ld1ng
                          was constructed in 1982 and recent ly was renovated and
                          modernized . In addition, the building has one level of covered
                          parking . The property includes 42 surface parking spaces with
                          a resort style swimming pool.


                                                                                            PURCHASE PRICE
TRANSACTION               The Property was purchased In 2017 based on value add
                                                                                            $7 .8M or $304 per gross SF
                          strategy to convert traditiona l rental apartments to co-living
   SUMMARY
                          use. Said use aligned with the asset's location across the
                          street from the University of Miami.
                                                                                            PROJECT CAPITALIZATION
                                                                                            $11 .0M (Incl . purchase, hard, soft and interest cost)

      BUSINESS             The Property Is an existing asset that was repos1t1oned from
                           traditional apartments to co-living use. The residences were
          PLAN
                           renovated to include technology packages and thoughtful
                           finishes The renovations have been comp leted and the
                           property was recent ly stabilized and recapitalized .
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800 SOUTH DIXIE HIGHWAY, CORAL GABL ES, FL
                                                                         STATUS
                                                                         Business plan comp leted project, currently stabilized



ORDUNA                                                                   VALUATION

CO U RT                                                                  $18.0M
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800 SOUTH DIXIE HIGHWAY, CORAL GABLES, FL
                                                      MODERN LIVING IN THE HEART OF THE GABLES . WELCOME TO

                                                     YOUR TROPICAL - MODERN BOUTIQUE BUILDING EQUIPPED WITH


ORDUNA                                               SMART TECHNOLOGY AND THOUGHTFUL AMENITIES LOCATED IN

                                                     THE HEART OF CORAL GABLES NEAR THE UNIVERSITY OF MIAMI.

CO U RT
                                                                            WEBSITE


                                                               ORDUNACOURT.COM
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     3162 COMMODORE PLAZA, COCONUT GROVE, FL




                                          OD




                   Commodore Inn The Grove in Miami, Florida, is
                    the primary choice for extended-stay housing.
                        Located in the heart of Coconut Grove, we
                   offer long-term and short-term apartments in a
                      relaxed, full-service environment you'll love.


                       Our warm and friendly staff are on hand to
                 welcome you for your stay, where rentals include
                  on-site parking, maid service, mail and package
                    storage, secure access, balcony space and so
                  much more. At Commodore Inn the Grove you'll
                      have all you need so you feel right at home.




                                      WEBSITE


     CO\ l l\1 0 DORE I                  r NT I I E GR O VI~. COM




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3162 COMMODORE PLAZA, COCONUT GROVE, FL




FEATURES & AMENITIES


•   Studios, 1 and 2-bedroom furnished apartments

•   Parking inside covered secure garage

•   Complimentary weekly housekeeping

•   Full-Size Equi pped Kitchens

•   High Speed WIFI

•   Flat Screen TV and Stereo System

•   Pet Friendly up to 25 pounds. a non-refundable fee applies

•   Mail receiving and package delivery service

•   Washer & Dryer In Unit




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8325 CHERYL LANE , CORAL GABLES, FL

                                                                 LISTED AT       $12.9M
                                                                 DESIGNED BY     CMA DESIGN STUDIO
                                                                 WEBSITE         8325CHERYLLANE.COM

CHERYL LANE
Cheryl Lane is a luxury personal resort
located in Ponce Davis, Miami, and
designed by CMA Design Studio . This
truly exceptional, high-quality residence
embodies the South Florida lifestyle,
inside and out. Spanning two fl oors, th e
home features 6 bedrooms, including a
master suite and three guest suites, 7
bathrooms, 3 half bathrooms, a media
room, and suite of thoughtful-amenities . A
singular blend of the natural environment
and sophisticated timeless design,
Cheryl Lane offers residents the ultimate
personal resort in a private setting .




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8325 CHERYL LANE, CORAL GABLES, FL




CHERYL LANE

FEATURES & AMENITIES


•   Integrated Indoor/ Outdoor Lifestyle

•   Lush Landscaping and Gardens

•   Elegant European Fixtures & Finishes

•   Subzero and Wolf appliances

•   Designer Vanities and Custom Closets

•   Customized Savant Home Technology System

•   Hurricane Impact Resistant, Energy-Efficient Windows

•   Temperature-Controlled Wine Room

•   Outdoor Entertainment Area

•   Home Spa Program with Hammam and Hydrotherapy Pool

•   Gym & Fitness Area with Massage Room

•   360-Master Suite Program




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3620 STEWART AVENUE , CORAL GABLES, FL




                                                                   DESIGNED BY   STRANG DESIGN
STEWART
AVENUE
Stewart Avenue is an four-floor luxury
personal resort in a gated area of
Coconut Grove in Miami, Florida .
Spanning 10,000 square feet, the home
has 4 bedrooms and 4 bathrooms
alongside open plan living and dining
as well a media study and master
apartment. On the ground level, the
hydrotherapy program includes a
hammam, wet spa, and resort-style
pool. The multi-level home is ideal
for entertaining with indoor/ outdoor
spaces on every living level - a rooftop
sky terrace places residents in the
treetops for a truly unique home living
experience. The home was designed by
modernist and leading architect Max
Strang of [STRANG] architecture .




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3620 STEWART AVENUE, CORAL GABLES, FL




STEWART
AVENUE

FEATURES & AMENITIES


•   Integrated Indoor/ Outdoor Lifestyle

•   Lush Landscaping and Gardens

•   Elegant European Fixtures & Finishes

•   Subzero and Wolf appliances

•   Designer Vanities and Custom Closets

•   Customized Savant Home Technology System

•   Hurricane Impact Resistant, Energy-Efficient Windows

•   Rooftop Entertainment Area

•   Home Spa Program with Hammam

•   Gym & Fitness Area

•   360-Master Suite Program




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650 LEUCADENDRA DRIVE , CORAL GABLES FL




LEUCADENDRA
DRIVE

     LOT SIZE        37,696 SF




   PURCHASE          $6M

       PRICE


  ARCHITECT          STRANG Design




   EXPECTED          12,423 SF Gross
                     8,757 SF A/C
             SF



   EXPECTED          $19 SM

  LIST PRICE
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THE TEAM

RISHI KAPOOR                 Rishi has spent the last ten years focused on residential real estate, primarily in the luxury sector with a strong background in sales
                             & marketing, prior to focusing on sponsoring development. Upon founding Location Ventures, he set out to create awesome living
FOUND E R & CEO
                             experiences in premium locations centered around nature and technology. To date, Rish, is responsible for leading the development of a
LOCATION VENTURES
                             $ I B portfolio including: high-end, custom single-family homes; rehabilitation of multi-family properties; development of boutique
                             condominiums; and is the Managing Partner of URBIN, a company dedicated to co-living, co-working and wellness.


                             Rishi first and foremost takes great pride in fostering close relationships with the company's partners & team . His day-to-day role
                             centers around identifying unique opportunities, capital formation and setting the product vision for our projects while working
                             closely with the development team on proper execution. He received business degrees in Finance, Marketing & Management from the
                             University of Miami, and is also a non-practicing attorney, having graduated from UM Law. Rish, comes from a real estate family that has
                             developed & invested in hotels, SFHs, and offices throughout the Southeast United States and New Delhi, India over the last 40 years .




DANIEL MOTHA                 Daniel "DJ" Matha CFO + Partner, Location Ventures. Darnel is responsible for the financial management, capital formation and
                             acquisitions/ dispositions for Location Ventures . Prior to becoming Partner at Location Ventures, his investments in real estate
PARTNER & C F O
                            included renovating and leasing units in Coconut Grove, FL, renovating and leasing multi-family properties in the Boston area, as well
LO C A T ION V E NTUR ES
                            as the development and sale of single family homes. Previously as an employee of LNR, he managed non-performing CMBS assets
                            of all property types across the US, underwrote and acquired loan pools of performing and non-performing loans, and helped create
                             a lending platform for customers to borrow funds to purchase properties on Auction .com. As an employee of BF Group, LLC, Daniel
                            lead the acquisitions team, managed property development and re-development focusing on SFH and TH development, condo
                            conversions, and other opportunistic deals. Daniel received a business degree in Finance & Accounting from the University of Miami.




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THE TEAM
                              Partner and Chief Development Officer V1v1an Bonet is responsible for leading the company's design & construction efforts. With more
VIVIAN BONET                  than two decades of experience as an architect before focusing on development management, she is well-versed in the fu ll lifecycle
PARTNER , COO                 of a project from design to groundbreaking through completion . Vivian is responsible for GC management, consultant coordination,
LOCATION VEN T UR ES          permitting, product specifications, contract documents and construction administration for the company's projects . Prior to joining
                              Location Ventures, Vivian worked for Ocean Land Investments, The Y Group and CM Consulting Group. She has designed and developed
                              more than 20 complex projects throughout her career, including a variety of luxury residential buildings, commercial projects and
                              educational facilities. With res1dent1al development credits including AquaV1ta, AquaLuna, AquaMar, AquaBlu, Infinity at Brickell, the W
                              Fort Lauderdale Hotel and Residences, and Ocean House, Vivian has a strong understanding of what drives buyers to South Florida's
                              luxury market. Vivian earned her Bachelor of Architecture from the University of Miami. She is bilingual in Eng lish and Spanish.




                         PROJECT    W FORT LAUDERDALE HOTEL & RESIDENCES                                                            PROJECT    AQUAVITA

                         PRODUCT    5-STAR HOTEL AND 171 LUXURY RESIDENCES                                                          PRODUCT    BOUTIQUE 22-UNIT ULTRA-LUXURY CONDO

                         LOCAT!O    FT LAUDERDALE, FL                                                                               LOCATION   EAST LAS OLAS ISLES, FT. LAUDERDALE, FL



                         PROJECT    INFINITY AT BRICKELL                                ~
                                                                                       .....,. _
                                                                                                   ~-. -   ri·~
                                                                                                            - .. •,"HJ
                                                                                                                                    PROJECT    AQUALUNA

                         PRODUCT

                         LOCATION
                                    452 LUXURY CONDO BUILDING

                                    BRICKELL/ MIAMI, FL
                                                                                       ff - -11 ~f.        ,.          ~
                                                                                                                           ;1,,
                                                                                                                            ~   .
                                                                                                                                    PRODUCT

                                                                                                                                    LOCATION
                                                                                                                                               BOUTIQUE 16-UNIT ULTRA-LUXURY CONDO

                                                                                                                                               EAST LAS OLAS ISLES / FT. LAUDERDALE, FL
                                                                                       ..-,-
                                                                                               .                . .'
                         PROJECT    RIVA RESIDENCES                                                                                 PROJECT    AQUABLU

                         PRODUCT    99 LUXURY CONDO BUILDING                                                                        PRODUCT    BOUTIQUE 16-UNIT ULTRA-LUXURY CONDO

                         LOCATION   FT LAUDERDALE, FL                                                                               LOCATION   FT LAUDERDALE, FL



                   .,.   PROJECT    OCEAN HOUSE

                         PRODUCT    BOUTIQUE 18-UNIT ULTRA-LUXURY CONDO

                         LOCATION   MIAMI BEACH, FL




                                                                                                                                                                                          36
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 THE TEAM

  CLAUDIA MEZERHANE               Claudia Mezerhane is Ch ief Operations Officer of Locati on Ventures . As the mastermind of th e day-to-day operations of our
                                  company and our developments, Claudia is directly involved with our single-family home developments. She coordinates
  CHIEF OPERATIONS OFFICER
                                  with our partners and ensures projects are on schedu le and on budget. She holds an MBA from the University of Miami and
  LOCATION VENTURES
                                  is bilingual in Spanish and English .




 JOANNA DAVILA                    Chief Marketing Officer Joanna Davi la leads all marketing and brand strategy and initiatives for the company and projects. With
                                  over 10 years of sales and marketing experience in the luxury and lifestyle sector, she ensures that our development vision
  CHIEF MARKETING OFFICER
                                  resonates with the public . She has managed multi-million dollar businesses and has overseen global marketing campaigns
  LOCATION VENTURES
                                  for global luxury brands . Joanna Is active in th e Miami cu ltural scene and Is working on several projects meant to engage loca l
                                  community. She is a graduate of the University of Miami and holds a B.A. in Journalism with a minor in Anthropology.




  RAYMOND GONZALEZ                Our Chief Technology Officer, Raymond Gonza lez has over 15 years In the tech field with a focus on web development and
                                  digital marketing. As a full-stack web developer and web system administrator, he has worked on over 100 websites for
  CHIEF TECHNOLOGY OFFICER
                                  sma ll businesses to multi-million doll ar corporations Ray's current work also includes developing immersive 360-degree
  LOCATION VENTURES
                                  virtual experiences for our developments. He is also well-versed in digital marketing, using modern analytics to make data
                                  driven marketing decisions with continuous optimization. At the age of 13, Ray bu ilt his first computer and at 15, was the
                                  youngest person in the state of Florida to be Oracle PL/S QL certified . He is continual ly learning new programming frameworks,
                                  cryptocurrencies, machine learning, electronics and microcontroller programming




Sr>ONSOR tlrSUMt                                                                                                                                                        37
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 THE TEAM
  ROMY KAPOOR                 Romy K Kapoor is our active general counsel and go-to for all things legal. Romy Is a founding partner of Kapoor Luther &
                              Loftman Immigration Partners and has practiced U.S. immigration and nationa lit y law si nce 1992. He received his B.S. degree
  GENERAL COUNSEL
                              in management from Georgia Tech, and shortly after earned his J.D. attending Georgia State University Co ll ege of Law and th e
  LOCATION VENTUR ES
                              Atlanta Law School. He is listed as a Lead ing Business Immigration Lawyer in Chambers USA, Who's Who Legal of Corporate
                              Immigration Lawyers, and The Best Lawyers in America. He has been honored in Georgia Super Lawyers each year since 2006.




 FRANK ASTOR                  Frank Astor is Location Venture's Development Manager, overseeing and helping to implement at al l phases of
                              development. He has over 10 years of operational management experience and is PMP certified with several years of
  VP OF DEVELOPMENT
                              project management experience from Ericsson . He has a Bachelors of Business Administration from University of Miami
  LOCATION VENTURES
                              and holds a MBA from Texas A&M Mays Business School. Frank is bil ingual in Spanish and Eng lish.




 ANGEL GA RCIA                Angel Garcia leads the underwriting, acquisitions, market research and project management for Location Ventures. With an eye on company
                              growth objectives, Angel works closely with company leadership to establish Location Venture's expansion strategies . Prior to joming
 VP OF DEVELOPMENT
                              our firm, Angel was a senior acquisitions associate for BH3, a South Florida and New York City development firm . During his tenure, he
 LOCATION VENTURES
                              sourced opportunities that presented excellent financial opportunities, underwriting over $500 million in transactions. As an emp loyee
                              of LNR Property (now Starwood Capital), he was an asset manager responsible for managing a portfolio of distressed assets along with
                              underwriting note pools of non-performing notes. Angel has over 1 5 years of commercial real estate experience and earned a Master of
                              Science in Real Estate from Florida International University.




 SE LENA VENIZELOS            Selena Venizelos leads the Asset Management department for Location Ventures. She is responsible for financial management,
                              underw riting, and acqui sition/disposition of assets . She also oversees much of the day-to-day operations of our properties to
 VP, ASSET MANAG E M E NT
                              ensure funct1onal1ty and to maxImIze profitability. Prior to joining our team, Selena spent six years working in Asset Management
 LOCATION VENTUR E S          for Starwood Property Trust in Miami Beach. She holds a BA in Economics and Political Science from the George Washington University.




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OUR PARTNERS

                   We work alongside Miami's le;:iders 1n the real estate market from financiers to the fields of design
                  and architecture, to create a truly unique living experience seldom seen in the South Florida market.




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